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                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


                                           Case No. 1:17-cv-8457-JMF
SJUNDE AP-FONDEN and THE
CLEVELAND BAKERS AND TEAMSTERS             Hon. Jesse M. Furman
PENSION FUND, individually and on behalf
of all others similarly situated,
                                           CLASS ACTION
                      Plaintiffs,

            v.                             JURY TRIAL DEMANDED

GENERAL ELECTRIC COMPANY,
JEFFREY R. IMMELT, JEFFREY S.
BORNSTEIN, JAMIE MILLER, KEITH S.
SHERIN, JAN R. HAUSER, and RICHARD
A. LAXER,

                      Defendants.




   FOURTH AMENDED CONSOLIDATED CLASS ACTION COMPLAINT FOR
          VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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       Court-appointed Lead Plaintiff Sjunde-AP Fonden (“Lead Plaintiff” or “AP7”), along with

additional plaintiff The Cleveland Bakers and Teamsters Pension Fund (“Cleveland Bakers”)

(collectively, “Plaintiffs”), by and through their undersigned counsel, bring this federal securities

class action on behalf of themselves and a class (“Class”) consisting of all persons and entities that

purchased or otherwise acquired the common stock of General Electric Company (“GE” or the

“Company”) from February 27, 2013, through January 23, 2018, inclusive (the “Class Period”).

Plaintiffs assert claims for violations of Sections 10(b) and 20(a) of the Securities Exchange Act

of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b) and 78t(a), respectively, and the rules and

regulations promulgated thereunder, including United States Securities and Exchange Commission

(“SEC”) Rule 10b-5, 17 C.F.R. § 240.10b-5, against Defendants GE, Jeffrey R. Immelt

(“Immelt”), Jeffrey S. Bornstein (“Bornstein”), Jamie S. Miller (“Miller”), Keith S. Sherin

(“Sherin”), Jan R. Hauser (“Hauser”), and Richard A. Laxer (“Laxer”) (collectively,

“Defendants”). Defendants Immelt, Bornstein, Miller, Sherin, Hauser, and Laxer are collectively

referred to as the “Individual Defendants.”

       As set forth herein, Plaintiffs and members of the Class purchased GE common stock at

artificially inflated prices created and/or maintained by Defendants’ materially false or misleading

statements and omissions throughout the Class Period. When the truth concerning the Company

was belatedly revealed to the market, Plaintiffs and Class members suffered massive monetary

damages. Except as to allegations specifically pertaining to Plaintiffs, all allegations herein are

based upon the investigation undertaken by Plaintiffs’ counsel, which included, but was not limited

to, the review and analysis of: (i) public filings made by GE with the SEC1; (ii) press releases and

other public statements issued by Defendants; (iii) research reports purchased from securities and


1
  For the Court’s convenience, attached as Appendix A is a chart listing Defendant GE’s SEC
filings that are referenced herein.


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financial analysts; (iv) media and news reports related to GE; (v) transcripts of GE’s earnings and

other investor conference calls; (vi) publicly available presentations, press releases, and interviews

by GE and its employees; (vii) economic analyses of the movement and pricing of GE publicly

traded common stock; (viii) consultations with relevant consultants and experts; (ix) media reports

and other publicly available information concerning Defendants; and (x) interviews of former

employees (“FE”) of GE, several of whom, on information and belief, are known to GE and have

been provided counsel by GE. Plaintiffs believe that substantial additional evidentiary support

will exist for the allegations set forth herein after a reasonable opportunity for discovery.

I.     NATURE OF THE ACTION

       1.      On June 12, 2017, GE announced that John Flannery (“Flannery”) would succeed

Immelt as GE’s Chief Executive Officer (“CEO”) beginning on August 1, 2017. What followed

Flannery’s succession was a dismantling and unraveling of a multi-year scheme of fraud and

deception that Immelt and his senior management team, including his Chief Financial Officer

(“CFO”), Bornstein, had used to prop up GE’s reported financial results for more than a decade.

       2.      Flannery’s dismantling of GE’s fraud included revealing billions of dollars of

previously-concealed liabilities in GE’s insurance business, erasing several billions of dollars more

of illusory and artificially boosted profits in GE’s Industrials business, slashing GE’s dividend in

half, and acknowledging the weakness of GE’s core businesses that Immelt had concealed for

years. As the truth about GE’s financial condition has been revealed, the Company’s stock has

shed over $100 billion of market capitalization and has been eliminated from the Dow Jones

Industrial Average (“DJIA”) index, a position it occupied for over a century, the SEC has launched

two investigations, and GE has forced the resignation of numerous culpable senior executives.

       3.      GE is a New York Stock Exchange (“NYSE”) traded, multinational industrial

conglomerate, whose roots extend to Thomas Edison and the beginning of electrical energy


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production in the United States. In its over one-hundred years as a public company, GE was a blue

chip member of the DJIA index, until it was recently replaced given the plummet in its market

capitalization due to the fraud.

       4.      GE Power (or “Power”), GE’s largest Industrials segment, provides products and

services related to energy production to customers worldwide. GE’s financial arm, GE Capital,

was at one time, one of the world’s largest financing operations engaged in, among other things,

financing activities in commercial and residential real estate, auto loans, structured financial

products, and insurance. Although at times contributing more than half of GE’s earnings for much

of the two decades before the Class Period, GE Capital was crippled by the 2008 financial crisis

in part because of its aggressive expansion into subprime, auto, and other credit instruments. With

regulatory scrutiny into its GE Capital business, GE began to unwind its financial businesses and

wind down GE Capital.

       5.      Throughout its history, GE has been particularly revered as a company that pays

investors a meaningful and consistent quarterly dividend.        GE’s retail investors, including

countless retirees, have relied upon the Company’s stock dividend as a significant source of

income, considering it “sacrosanct.” Prior to the most recent dividend cut in late 2017, GE had

only cut its dividend once since the Great Depression. That cut came on Immelt’s watch in the

midst of the subprime mortgage crisis in 2008, when GE cut its dividend by more than half. Immelt

resolved that it would never happen again. Indeed, he would later tell investors during a July 21,

2017 earnings call:

       [E]verybody here [at GE] prioritizes the dividend at a very high level. And I just
       don’t want anybody to ever be confused about that . . . .




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          I was here the day we cut the dividend [in 2008]. It was the worst day of my
          tenure as CEO. And the dividend is really, I think, incredibly important for our
          investors . . . . 2

          6.     Following the mortgage crisis in 2008, GE’s dividend yield increased from

approximately 2.49% to 4.75% towards the end of 2017. To generate cash flow to pay the

dividend, GE relied principally upon dividends that were “upstreamed” from GE Capital to GE,

and cash from GE’s industrial operations, most significantly GE Power. In an era of historically

low interest rates, GE’s substantial dividend yield was a highly attractive source of income for GE

investors, more than 40% of whom are small “retail” investors and retirees who chose GE stock

for its consistent and reliable dividend payments. What investors did not know, however, was that

GE’s ability to pay those dividends depended upon unsustainable fraudulent practices designed to

prop up GE’s reported financial position in the short term, while imperiling GE’s long-term fate.

          A.     Defendants Conceal GE’s Massive Long-Term Care Insurance Liabilities

          7.     Notwithstanding the sale of most of GE Capital’s non-core assets from 2013

through 2015, GE Capital still sat on an undisclosed ticking time bomb that seriously threatened

GE’s long term health. In the 1990s and early 2000s, GE Capital expanded into writing and

reinsuring long-term care (“LTC”) insurance policies, amassing approximately 20% of the total

market by 2001. LTC insurance policies cover end-of-life care in, for example, nursing homes

and assisted living facilities. By the early 2000s, however, LTC insurers began to understand that

the pricing assumptions utilized in writing decades of policies were severely mistaken. As a result,

LTC insurers faced mounting unforeseen liabilities, and many insurers ceased writing new policies

altogether, determining that the LTC business was not profitable.




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    All emphasis is added and all original emphasis is omitted unless otherwise noted.


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        8.     In 2004, GE purportedly spun off the majority of GE Capital’s LTC insurance book

to a new public company called Genworth Financial, Inc. (“Genworth”). By 2006, GE Capital had

stopped writing new LTC insurance policies, and GE sold the vast majority of GE Capital’s

remaining insurance operations to Swiss Reinsurance Company Ltd. (“Swiss Re”). Investors were

unaware that what GE had retained following these transactions was approximately 300,000 of the

worst, high-risk LTC insurance contracts, or over 4% of the total toxic LTC market.

        9.     Despite this exposure, between 2006 and the start of the Class Period, GE

downplayed its insurance business in its statements to investors, characterizing the business as a

“run-off” operation. GE included its future expected yearly LTC liabilities in each of its 10-Ks as

part of an entry titled “Insurance liabilities,” set forth in a table of the Management, Discussion &

Analysis section titled “Contractual Obligations” (GE’s “Disclosed Insurance Liabilities”). The

table did not identify what specific portion of GE’s Disclosed Insurance Liabilities was attributable

solely to LTC. Instead, GE grouped its LTC liabilities together with its liabilities under, among

other things, guaranteed investment contracts, structured settlements, annuities, and life insurance

policies.

        10.    By the start of the Class Period, having promised to shrink GE Capital and focus

the Company’s capital efforts on Industrials, Defendants ramped up their efforts to conceal GE

Capital’s toxic LTC obligations from the market in a three-pronged scheme.

        11.    First, on February 26, 2013, the day before the Class Period begins, Defendants

altered their prior disclosure practices and removed GE’s LTC liabilities from the Disclosed

Insurance Liabilities in GE’s Form 10-K for fiscal year 2012 (“2012 10-K”) without any

explanation, in violation of Generally Accepted Accounting Principles (“GAAP”), as well as

various SEC regulations described herein. For each 10-K that followed during the Class Period,




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Defendants continued to exclude LTC liabilities from GE’s Disclosed Insurance Liabilities. Thus,

Defendants not only continued to shield the specific expected magnitude of GE’s LTC liabilities

from investors, but investors were now denied any ability to properly assess the Company’s cash

flow obligations going forward.

       12.     Moreover, by removing expected LTC liabilities completely from the Disclosed

Insurance Liabilities, Defendants sent the message to investors that GE’s LTC-related obligations

were immaterial. Indeed, throughout the rest of the Class Period, Defendants failed to disclose

any contractual liabilities for LTC, nor did they provide any other meaningful information

concerning the nature or extent of GE Capital’s LTC exposure. Instead, beginning on February

26, 2013 and continuing through the end of the Class Period, GE’s Disclosed Insurance Liabilities

decreased year-over-year, further suggesting that LTC obligations had been rendered immaterial

and that GE was winding down its remaining insurance exposures.

       13.     In addition, prior to excluding LTC payment obligations, GE’s Disclosed Insurance

Liabilities entry consistently exceeded the Company’s reported insurance reserves. Beginning on

February 26, 2013, however, the reserves suddenly exceeded the Disclosed Insurance Liabilities

each and every year through the end of the Class Period, suggesting to the market that GE was in

complete control of its future payment obligations.

       14.     Second, Defendants continued to represent to the market throughout the Class

Period that GE Capital had successfully exited the insurance business, insulating GE from the

deteriorating industry. For example, on May 31, 2013, Mike Neal (“Neal”), then Chairman and

CEO of GE Capital, told the market, “we have made [GE Capital] smaller. We have made it safer.”

On December 16, 2014, Defendants described GE’s “sell[ing] insurance before the storm” as a

“risk reduction” measure. Immelt added, “we exited insurance in time.” On April 10, 2015, Sherin




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stated, “we have done a lot over the last six years to shrink GE Capital while also making it much

safer.” Later, on June 1, 2016, Sherin boasted, “all of the insurance business is gone. That was a

huge change in the portfolio.” Again, Defendants made all of these statements despite knowing

that GE Capital still was liable for over 4% of all of the existing policies in the toxic LTC market.

           15.   Third, Defendants further concealed GE’s true LTC exposure by refusing to

quantify reserves directly attributable to LTC policies in GE’s financial statements. Defendants

grouped some non-discernable amount for LTC reserves in line items titled “Life insurance

benefits” and “Other.” Not until the fall of 2017 did investors learn any information concerning

the massive portion of the mislabeled “Life insurance benefits” that were actually reserves

attributable to LTC exposure. Further, even if Defendants had disclosed the quantity of the LTC

reserves, the market would have been unable to fully assess the adequacy of such reserves because,

as set forth above and herein, Defendants stopped disclosing GE’s LTC obligations as part of its

Disclosed Insurance Liabilities.

           16.   Making matters worse, throughout the Class Period, Defendants knew or recklessly

disregarded warning signs that GE had internally under-reserved for its LTC obligations, in

violation of GAAP, statutory insurance, and SEC regulations. For example, Defendants ignored

internal warnings from employees that the Company’s assumptions were stale by several years

and otherwise inaccurate, and ignored the results of internal audits that identified systemic failures

with respect to testing bearing upon the adequacy of LTC reserves. Likewise, Defendants refused

to increase GE’s LTC reserves despite having access to information demonstrating the Company

had flawed loss recognition testing, and lacked supporting details and explanations for reserve

testing.




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       17.     Thus, throughout the Class Period, in violation of GAAP, SEC regulations, and the

federal securities laws, Defendants intentionally concealed the Company’s mammoth LTC

liabilities and refused to properly account for such liabilities through adequate reserves. When it

came to GE’s LTC exposure, Defendants deliberately left investors completely in the dark.

       B.      Defendants Manufacture Illusory Earnings By Manipulating Long-Term
               Service Agreements

       18.     At the same time that Defendants were hiding a massive hole in GE’s balance sheet

caused by GE’s insurance liabilities, they were also propping up GE’s Power business—the “core”

of GE’s Industrials business—through a fraudulent revenue recognition scheme.

       19.     GE Power is the largest segment within the Industrials arm of the Company’s

business.    GE Power builds and sells industrial products like power plants, turbines, and

generators, and then services many of those products for customers through long-term service

agreements (“LTSAs”) that span between 5 and 25 years. As the Company sought to shrink GE

Capital prior to and during the Class Period, GE invested heavily in GE Power and its other

industrial businesses.

       20.     During the Class Period, however, Power’s businesses were suffering as a result of,

among other things, declining margins on its equipment sales, increased reliance on renewable

energy sources, and lower customer utilization rates. Yet, through 2016, GE Power reported

impressive results and appeared impervious to these negative market forces.

       21.     To mask the troubles in GE’s Industrials business, Defendants used a widespread

accounting fraud to prop up its results of operations. In particular, Defendants manipulated the

value of GE’s “Contract Assets”—a balance sheet entry that quantified expected profits for work

specified under LTSAs for which GE had not yet been paid—in order to generate non-cash revenue




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and meet earnings targets. GE’s Contract Assets ballooned from $9.4 billion in 2012 to $28.8

billion in 2017. By 2016 and 2017, more than 50% was comprised of expected LTSA earnings.

       22.     As numerous former employees have revealed, and as GE has now essentially

conceded in its post-Class Period disclosures, the vast majority of these purported LTSA earnings

were wholly manufactured through accounting gimmickry. Specifically, although claiming in its

Class Period disclosures that it relied on actual utilization rates of its services and other market

assumptions to estimate the profitability of its LTSAs, GE ignored its actual experience with

industrial customers and avoided writing down the value of its Contract Assets. Additionally, GE

actively sought to negotiate revised LTSA terms with its customers—on terms less favorable to

GE overall—to eliminate lower-margin services from existing LTSAs and then used the revised

assumptions to generate immediate revenues, known as cumulative catch-up adjustments. Teams

of personnel within GE’s Industrials business were exclusively dedicated to identifying LTSAs

where such manipulations could generate these fake earnings.

       23.     Throughout the Class Period, GE Power increasingly relied upon cumulative catch-

up revenues to meet its earnings targets. And, as would be later revealed after the end of the Class

Period, GE abused cumulative catch-up adjustments to prop up its earnings by an astounding 13%

in 2016 and 44% in 2017.

       24.     GE Power’s reliance on cumulative catch-up adjustments to generate the

appearance of profitability created a growing cash flow problem. This is because GE had little

hope of turning the earnings generated from its accounting adjustments into actual cash because

the assumptions used to generate those earnings were simply false. Thus, while GE’s earnings

swelled because of increased Contract Assets, its cash flows stalled, thereby exposing a massive

chasm between GE’s earnings and cash flows towards the end of the Class Period.




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       25.     Compounding GE’s problem was that new accounting rules proposed in 2014

would eliminate GE’s ability to use cumulative catch-up adjustments to boost its Contract Assets.

As the rule change loomed, GE was compelled to increase its transparency over its Contract Assets,

beginning in 2017.

       26.     As investors began to perceive the increasing gulf between GE Power’s reported

revenues and its Industrial Cash Flow from Operating Activities (“CFOA”), which is a

measurement of cash actually received for goods and services provided, GE Power turned to

another accounting mechanism to extend the life of its scheme. Specifically, GE Power began

“factoring” its LTSA receivables, or selling them to GE Capital for immediate cash. In the short

term, factoring mitigated GE Power’s cash flow problem by transforming GE Capital’s cash-on-

hand into Industrial CFOA. But over the longer term, there were simply not enough LTSA

receivables for GE Power to factor in order to maintain this charade. As a result, Industrial CFOA

cratered and the scheme collapsed.

       C.      Defendants’ Fraud Unravels

       27.     Defendants’ frauds began to unravel in early-2017, and through a series of

disclosures between April 21, 2017 and January 24, 2018, GE blindsided investors by revealing

massive CFOA declines, billions of dollars in unexpected LTC exposures and reserve charges,

multiple SEC investigations, and a devastating 50% dividend cut.

       28.     On April 21, 2017, the Company shocked investors when it reported Industrial

CFOA of “negative $1.6 billion,” which was $1 billion less than projected, due in large part to

$1.9 billion in cash outflows on GE’s Contract Assets and, in particular, $1.4 billion in negative

cash flows related to its LTSAs. These revelations regarding GE’s inability to generate Industrial

CFOA due to its LTSA Contract Assets led to a 2.4% stock price decline, with analysts recognizing




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that “investors reacted to negative industrial cash flow” and, more specifically, “the contract asset

headwind.”

       29.     When GE disclosed its second quarter 2017 earnings results on July 21, 2017, it

revealed further cash flow shortfalls, disclosing to investors that it was now “trending to the bottom

end” of its Industrial CFOA guidance. In addition, GE revealed that due to “adverse claims

experience in a portion of our long-term care portfolio,” GE would be conducting a thorough

examination into “the adequacy of our premium reserves,” and committed to updating investors in

the fourth quarter of 2017. GE’s stock price fell by 5% in response to this news, as analysts

responded negatively to GE’s CFOA and LTC disclosures and recognized the risk that such issues

posed to GE’s beloved dividend.

       30.     On October 6, 2017, GE announced the sudden departures of numerous high-level

executives, including Immelt, who was slated to continue as a director on GE’s Board of Directors

(“Board”) until the end of 2017, Bornstein, who was supposed to continue on as CFO after

Immelt’s retirement, and Laxer, GE Capital’s CEO, together with other lieutenants of Immelt.

       31.     When Flannery convened his first earnings conference call as GE’s new CEO on

October 20, 2017, he delivered shocking news to GE’s investors. First, because of severe cash

flow issues, GE would be slashing its cash flow guidance in half, to $7 billion from the $12 to $14

billion that Immelt and Bornstein had emphatically confirmed just a few months earlier.

Moreover, GE revealing that, due to its ongoing in-depth LTC insurance review, GE Capital would

not be paying $3 billion in upstream dividends to GE. Analysts expressed shock regarding GE’s

LTC disclosures “considering GE supposedly exited [its LTC] businesses” years ago. Analysts

also expressed fear that these disclosures could lead to a dividend cut. GE’s stock price plummeted

nearly 10% in response to this news.




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       32.       Investors’ fears became reality on November 13, 2017. With GE Capital and GE

Power both ailing, GE announced that it was slashing its quarterly dividend in half, only the second

time since the Great Depression the Company would not pay its expected dividend. The dividend

cut, on a yearly basis, would cost investors $4.1 billion. According to S&P Global data, GE’s

dividend cut qualified as the largest dividend cut in history by a U.S. company outside of a

financial crisis, and the eighth largest dividend cut of all time. Further, going forward, GE

announced that GE Capital would not be able to contribute to the Company’s ability to make

dividend payments for the “foreseeable future,” casting a pall over GE’s continued ability to pay

what had been widely considered by the market as an untouchable dividend.

       33.       On January 16, 2018, GE disclosed the bombshell results of Flannery’s “deep dive”

into its LTC insurance exposures, revealing that it was increasing its LTC “future policy benefit

reserves by $8.9 billion,” resulting in “a $6.2 billion charge ($7.5 billion upon re-measurement

under tax reform) on an after-tax GAAP basis to GE’s earnings in the fourth quarter of 2017.” In

addition to this reserve charge, GE disclosed that “GE Capital will need to contribute

approximately $15 billion of capital to [its insurance subsidiaries] over the next seven years.”

Investors drove GE’s stock price down by more than 13% in response to this news, as analysts

roundly recognized that GE’s reserve charge “was far more severe than the market had been

anticipating.”

       34.       Finally, on January 24, 2018, in announcing the Company’s fourth quarter 2017

earnings results, GE disclosed that it had “been notified by the SEC that they are investigating the

process leading to the [LTC] insurance reserve increase and the fourth-quarter charge as well as

GE’s revenue recognition and controls for its long-term service agreements.” GE’s stock price

“tumbled” by more than 4% in response to this news, as analysts recognized that financial results




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reported by the Company “were quickly made irrelevant when management unexpectedly

disclosed” the SEC investigations to investors.

       35.     Post-Class Period events have shone further light on Defendants’ Class Period

deceptions. On February 24, 2018, GE filed its 10-K for fiscal year 2017 (“2017 10-K”), which,

among other things, reverted to the Company’s pre-Class Period practice of including GE’s LTC

liabilities in its Disclosed Insurance Liabilities. The inclusion of LTC liabilities caused its

Disclosed Insurance Liabilities to skyrocket from $11.1 billion in 2016 to $38 billion in 2017. In

addition, while GE had previously disclosed that it had used receivables factoring as a means of

managing its credit risk, it reported in the 2017 10-K that it also factored receivables to “manage

short term liquidity”—i.e., in an effort to mitigate the cash flow issues that had been caused by its

reliance on non-cash cumulative catch-up revenues.

       36.     Further, on April 13, 2018, GE “la[id] bare the truth of the actual economics” of its

LTSAs when, under the guise of a change in accounting standards, GE reported revised financial

statements for fiscal years 2016 and 2017 and quantified its prior reliance on cumulative catch-up

adjustments. Notably, the Company wrote down the value of its LTSA Contract Assets by a

staggering $8.7 billion, revised its 2017 Industrials profits downward by 17%, and disclosed that

cumulative catch-up revenues inflated GE’s reported earnings-per-share (“EPS”) by 13% and 25%

in 2016 and 2017, respectively. In stark contrast to GE’s increasing reliance on cumulative catch-

up adjustments to boost its revenues, its competitors—including Boeing, Lockheed Martin, and

United Technologies—have reported minimal, if any, reliance on the practice.

       37.     As set forth in great detail herein, Defendants’ admissions, the Company’s SEC

filings, GAAP and SEC regulations, and statements from former employees all demonstrate that




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Defendants knew or recklessly disregarded the problems at GE Capital and GE Power throughout

the Class Period, yet continuously misled GE’s investors.

        38.     This action seeks to recover the massive monetary damages that GE’s investors

have suffered on account of Defendants’ fraud.

II.     JURISDICTION AND VENUE

        39.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act, 15 U.S.C. §§ 78j(b) and 78t(a), and the rules and regulations promulgated thereunder,

including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5. This Court has jurisdiction over the subject

matter of this action pursuant to 28 U.S.C. § 1331, Section 27 of the Exchange Act,

15 U.S.C. § 78aa.

        40.     Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15

U.S.C. § 78aa, and 28 U.S.C. § 1391(b) because the Company conducts a substantial amount of

business in this District and a significant portion of Defendants’ actions, and the subsequent

damages, took place within this District. Further, GE’s common stock trades on the NYSE, located

within this District.

        41.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the U.S. mails, interstate telephone communications, and facilities of

the national securities markets.

III.    PARTIES

        A.      Plaintiffs

        42.     Lead Plaintiff AP7 is a Swedish public pension fund, established under law as a

Swedish governmental agency, with approximately $56 billion in assets under management as of




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July 22, 2018. As set forth in the certification attached hereto as Exhibit A, AP7 purchased or

otherwise acquired GE common stock during the Class Period and was damaged thereby.

       43.     Plaintiff Cleveland Bakers is a Taft-Hartley pension fund. Members participate in

the fund based upon a collective bargaining agreement between their employer and either Bakers’

Union Local No. 19 or Teamsters Local Union No. 507. As set forth in the attached Exhibit B,

Cleveland Bakers purchased or otherwise acquired GE common stock during the Class Period and

was damaged thereby.

       B.      Defendants

       44.     Defendant GE is incorporated in the State of New York and maintains its corporate

headquarters in Boston, Massachusetts. GE holds itself out as a global digital industrial company

with products and services ranging from aircraft engines, power generation, and oil and gas

production equipment to medical imaging, financing, and industrial products.

       45.     Defendant Immelt served as the Chairman of GE’s Board from September 7, 2001

to October 2, 2017, when he was replaced by Flannery. Flannery assumed this position three

months ahead of schedule because Immelt “resigned” earlier than expected. Immelt also served

as GE’s CEO from September 2001 through July 31, 2017, and was a member of GE Capital’s

Board from 1998 through 2015. Immelt’s total estimated compensation during the Class Period

was $119.5 million, with his annual compensation totaling approximately $19.8 million in 2013,

$37.3 million in 2014, $33.0 million in 2015, $21.3 million in 2016, and $8.1 million in 2017.

Immelt was a direct and substantial participant in the fraud, including through his making of the

false or misleading statements and omissions alleged herein and participation in the conference

and earnings calls described herein until his departure.

       46.     Defendant Bornstein was appointed Senior Vice President and CFO of GE,

effective July 1, 2013, replacing Sherin, and served in that role until October 31, 2017. Bornstein


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also served as a member of GE Capital’s Board from 2006 through 2015. In connection with

replacing Immelt with Flannery as GE’s new Chairman and CEO, GE’s Board also appointed

Bornstein as Vice Chairman of GE, effective June 12, 2017. But shortly thereafter, on October

10, 2017, GE announced that Bornstein’s term as Vice Chairman would abruptly conclude at the

end of the year. Bornstein’s total estimated compensation during the Class Period was $46.7

million, with his annual compensation totaling approximately $7.2 million in 2013, $16.3 million

in 2014, $13.3 million in 2015, and $9.9 million in 2016. Bornstein was a direct and substantial

participant in the fraud, including through his making of the false or misleading statements and

omissions alleged herein and participation in the conferences and earnings calls described herein

until his sudden, early-departure on October 31, 2017.

       47.     Defendant Miller has served as GE’s CFO since November 1, 2017. Miller joined

GE in 2008 as Vice President, Controller, and Chief Accounting Officer (“CAO”). She became

GE’s Senior Vice President and Chief Information Officer in 2013, and became President and

CEO of GE Transportation in 2015. In 2017, Miller’s compensation totaled approximately $5.1

million. Miller was a direct and substantial participant in the fraud, including through her making

of the false or misleading statements and omissions alleged herein in GE’s 2012 10-K (by signing

the report in her capacity as GE’s Principal Accounting Officer).

       48.     Defendant Sherin served as CFO of GE from 1999 until July 2013, when he became

GE Capital’s Chairman and CEO.         Sherin held both positions until he resigned, effective

September 1, 2016. Sherin also served as Vice Chairman of GE from 2007 until December 31,

2016. During the Class Period, Sherin’s total estimated compensation was $92.6 million, with his

annual compensation totaling approximately $11.5 million in 2013, $24.7 million in 2014, $26

million in 2015, and $30.4 million in 2016, the year he departed GE. Sherin was a direct and




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substantial participant in the fraud until he left GE in September 2016, including through his

making of the false or misleading statements and omissions alleged herein in GE’s 2012 10-K and

10-Q for the three months ended March 31, 2013 (the “1Q13 10-Q”) (by signing the report in his

capacity as Vice Chairman and CFO, and as the Company’s Principal Financial Officer) and

participation in the conferences and earnings calls described herein, until he resigned from GE and

GE Capital, effective September 1, 2016.

         49.     Defendant Hauser joined GE as Vice President-Controller and CAO, effective

April 15, 2013, and remained in that role throughout the Class Period. Hauser was a direct and

substantial participant in the fraud, including through her making of the false or misleading

statements and omissions alleged herein in GE’s quarterly and annual reports to the SEC on Forms

10-Q and 10-K during the Class Period (by signing the reports in her capacity as GE’s Principal

Accounting Officer).

         50.     Defendant Laxer was the President and CEO of GE Capital from September 2016

until his retirement from GE, which was announced in December 2017 and became effective on

March 31, 2018. Between 2009 and September 2016, Laxer held a number of senior roles within

GE Capital, and was the CEO of GE Capital International prior to becoming the President and

CEO of GE Capital. Laxer was a direct and substantial participant in the fraud, including through

his making of false or misleading statements and omissions through his participation in the

conference calls and earnings calls described herein.

         C.      Relevant Non-Parties3

         51.     FE-1 worked at GE as an Actuarial Controller at Employers Reassurance

Corporation (“ERAC”), a wholly owned indirect subsidiary of GE Capital, from July 2015 to



3
    All former employees are defined using masculine pronouns to protect their anonymity.


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September 2016. ERAC comprised the insurance and reinsurance operations of GE following the

spin-off of its insurance business to Genworth in 2004 (described in further detail below). FE-1

worked out of the Overland Park, Kansas office and reported to Clark Ramsey (“Ramsey”), Vice

President and Chief Actuary at ERAC. FE-1’s primary responsibility was governance over

experience studies, assumption setting, asset adequacy modeling, and loss recognition modeling.

       52.     FE-2 worked in various roles at GE, including as an A & H Valuation Actuary

(Senior Actuary) at ERAC from 2006 to 2012, a Senior Insurance Audit Specialist & SME at GE

Capital Audit from 2012 to 2014, and a Senior Vice President, Insurances & SME at GE Capital

Audit from 2014 through the end of his tenure (January 1, 2017). The SME designation refers to

being the Designated Insurances’ Subject Matter Expert. GE Capital Audit refers to the Internal

Audit department of GE Capital. From 2012 onward, FE-2 reported ultimately to the Chief Audit

Executive as part of GE Capital Audit—a position held by Christina Selby and, later, by Joseph

Pizzuto (“Pizzuto”). FE-2’s direct supervisor during the latter part of his tenure was Kevin

McCord, the current director of Internal Audit for GE Capital’s portfolio of insurance companies.

McCord also reported ultimately to Pizzuto.

       53.     FE-3 worked at GE from August 2013 through the end of 2016 in the Financial

Planning and Analysis (“FP&A”) Unit. In this role, FE-3 was involved in financial planning and

analysis and was tasked with reviewing Sarbanes-Oxley Act of 2002 (“SOX”) compliance in the

area of analytics controls. Specifically, he reviewed the SOX models for GE Capital, including

for the legacy insurance business. His role was to improve documentation, controls, and the

effectiveness of the controls.




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         54.    FE-4 worked in various roles at GE and, thereafter, Genworth, for years before the

Class Period through mid-2016, including as a FP&A Analyst for GE Capital during the Genworth

initial public offering (“IPO”), and as Director for Genworth Long-Term Care Insurance into 2013.

         55.    FE-5 worked in various roles at GE, including as a Commercial Manager in GE

Power Services from 2010 through the end of 2013, and was based in Milan, Italy. In this role,

FE-5 had responsibilities with respect to thermal power generation plants (i.e., gas and steam

turbines and generators, for example) and related LTSAs.

         56.    Intentionally omitted.4

         57.    FE-7 worked in various roles at GE, including as a Risk Finance Leader at GE

Power Services in Europe from early 2015 through early 2018. FE-7 reported to the Finance

Manager for GE Power Europe, who reported to the CFO of GE Power Europe, who then reported

to the CFO of Power Generation Services, Tim Donovan (“Donovan”).5

         58.    FE-8 worked in various roles at GE, including in sales as a Product Development

Manager from the summer of 2016 through April 2017. In this role, FE-8 was involved in LTSA

contract negotiations.

         59.    FE-9 worked in both the Power and Renewable Energy Divisions of GE from 2004

through August 2017. FE-9 was stationed in Schenectady, New York. During his tenure with GE

Power, FE-9 worked on the Enterprise Risk Team, which was tasked with identifying and

examining GE’s risk exposure. As a member of the Enterprise Risk Team, FE-9 worked with the

risk teams in GE Power to evaluate risks associated with renegotiated LTSAs.


4
    FE-6 has been removed from the Complaint at his request.
5
 Plaintiffs understand that FE-7 served as a consultant for prior counsel with respect to the Second
Amended Consolidated Class Action Complaint for Violations of the Federal Securities Laws
(ECF No. 83). Plaintiffs’ undersigned counsel has not retained FE-7 in any capacity, but has
verified the information provided to prior counsel.


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       60.     FE-10 worked in various roles at GE from the early 2000s through January of 2014,

including in Operations and Maintenance and as a Contract Fulfillment Manager within GE Power.

In this role, FE-10 was involved with GE Power’s LTSAs, and was involved in the use of GE’s

internal modeling tool, COSMOS, to forecast operations and earnings information on those

LTSAs.

IV.    COMPANY BACKGROUND

       61.     Founded in 1892 as an electrical generation and manufacturing company, GE has

grown over the last century to be one the world’s largest multi-national conglomerates with

business lines organized around various segments, including, among others, energy generation,

transportation, financial services, and medical technology.

       62.     Relevant to this Action are two of GE’s largest and most important business

segments, which historically have been principal drivers of its revenue: (i) GE Capital, once a

wholly-owned subsidiary and now a division of GE that operates GE’s financial services

businesses; and (ii) GE Power, the largest segment of GE’s Industrials businesses, which builds

industrial products including power plants, turbines, and generators, and provides, among other

things, services on such products through various contractual agreements.

       A.      GE Capital’s Expansion

       63.     Added in 1896, GE was one of the original twelve members of the DJIA index, and

a continuous member for over 110 years (since 1907), until it was removed from the index on June

26, 2018. Over time, GE’s common stock became a darling of investors due to its substantial and

reliable dividend. Prior to and throughout the Class Period, Defendants, analysts, and investors

recognized the importance of GE’s consistent dividends to its investors and to the market value of

GE’s securities. Indeed, during the Class Period, Immelt candidly acknowledged that he “view[ed]

the dividend as key” and “incredibly important for our investors.” Investor’s Business Daily noted


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as recently as 2017 that “investors have come to view GE’s dividend as sacrosanct, in part because

the Dow giant has paid it for years and consistently describes it as a top priority.”

       64.      Historically, GE’s success had been largely attributable to its renowned

manufacturing businesses, which included jet engines, locomotives, appliances, and light bulbs.

Over time, however, these businesses shrunk and, by as early as 2000, GE’s most important and

profitable segment became GE Capital, its financial services arm. Founded in 1932 as General

Electric Contracts Corporation to provide financing to enable consumers to purchase GE’s

consumer products, GE Capital grew into a sprawling international financial unit under Jack

Welch’s 20-year tenure with the Company (1981 to 2001), which provided financial services

ranging from credit cards to automobile and home loans to insurance.

       65.     After taking the helm of GE from Jack Welch in 2001, Immelt initially continued

to grow GE Capital. Indeed, by 2004, GE Capital held over $618.5 billion in assets and, at its peak

in 2001, accounted for nearly 60% of GE’s total profits. As GE Capital grew, GE became

increasingly more reliant upon flow-through dividend payments from GE Capital to fund its

dividend payments to investors.

       66.     Due to its “[in]adequate returns,” according to Immelt, in 2003, GE sought to exit

one of GE Capital’s primary lines of business and asset exposures: insurance. According to

Immelt, the Company was focusing its efforts on higher-return businesses, and insurance did not

fit within that strategy. GE spun-off Genworth, its primary reinsurance business, in 2004, and later

sold its remaining insurance operations to Swiss Re in 2006. While the Company continued to

hold a run-off insurance portfolio following these sales, Immelt’s February 10, 2006 Letter To

Stakeholders triumphantly announced that GE Capital had “exit[ed]” the insurance business,




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which had “dampened a strong performance by the rest of the Company” over the prior years. The

result of these dispositions, according to Immelt, was “a faster-growth, less-volatile company.”

       67.     But GE Capital was not as financially sound as Immelt had led the market to

believe. The subprime mortgage meltdown and resulting financial crisis of 2008 decimated GE

Capital’s business, which, as one Fortune article described in 2008, “put[] the future of the entire

Company at risk.” Specifically, because GE Capital was not regulated like a bank, it could—and

did—assume more risks than banks in the years prior to the subprime mortgage meltdown. Indeed,

in the run-up to the 2008 financial crisis, GE Capital had amassed a multi-billion dollar portfolio

of risky commercial real estate and other mortgage-related assets, and was funding nearly a third

of its assets through short-term borrowings. This strategy left GE dangerously exposed to adverse

changes in the real estate and credit markets.

       68.     This is precisely what occurred during the financial crisis—mortgage asset values

declined, the credit markets froze, and GE Capital’s liquidity disappeared as it was unable to roll-

over its short-term debt. GE Capital’s business model left GE so exposed that the Company needed

a $15 billion infusion of cash (with $3 billion coming from Warren Buffet), raised on just a week’s

notice, to stay afloat. In addition, to weather the financial crisis, GE cut its dividend by 68%—the

first time GE reduced its dividend since 1938.

       B.      In The Years Following The Credit Crisis, GE Vows To De-Risk GE Capital
               And To Re-Focus On Its Core Industrials Businesses

       69.     In the aftermath of the financial crisis, GE and Immelt vowed to de-risk GE

Capital’s balance sheet. Specifically, GE announced that it would be re-focusing on its “core”

lines of business and assets while divesting GE Capital of its “non-core” assets. Specifically, as

described by Neal on a December 2, 2008 conference call, GE planned to “segment[] GE Capital

into three segments”: (i) “a core finance company of about $350 billion, that is focused on mid-



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market customers that benefit from our domain knowledge in vertical markets”; (ii) “[a] second

business that we call GE Global Banking of about $90 billion that has attractive returns and

consists of many of our banks and joint ventures”; and (iii) “a collection of platforms that we plan

to exit, platforms that attract too much leverage for our conservative model and tend to compete

head to head with the banks.” With respect to the third bucket, Neal stated that “[t]hese platforms

will be restructured, sold or run off over time.”

       70.     In the years following the financial crisis, GE and Immelt repeatedly touted their

efforts to return the Company to its industrial roots, and to continue de-risking GE Capital, praising

in at least one press release the Company’s “redeployment of capital from non-core assets like

media, plastics and insurance to higher-growth-higher margin businesses in Oil & Gas, Power,

Aviation and Healthcare.” This plan, according to GE, made GE Capital, and thus GE, “safer”

because the assets that GE Capital retained were “very safe” and “our best stuff.”

       71.     GE accelerated its efforts to shrink GE Capital after it was designated a

“Systematically Important Financial Institution,” or “SIFI,” in 2013. In response to the financial

crisis, Congress enacted the Dodd-Frank Wall Street Reform and Consumer Protection Act in

2010, which created the “Financial Stability Oversight Council” and enabled it to designate banks

and other non-bank financial institutions as SIFIs. SIFIs were subject to, among other things,

increased capital requirements and heightened regulatory oversight.          In particular, the SIFI

designation limited GE Capital’s ability to use short-term borrowed money and forced it to operate

with more capital.

       72.     Immelt pursued plans to shrink GE Capital to shed its SIFI designation. To this

end, in April 2015, Immelt announced that GE was effectively restructuring and winding down

GE Capital. Pursuant to this plan, dubbed the “GE Capital Exit Plan,” GE would sell off most of




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GE Capital’s assets within 24 months. This downsizing effort was partly successful, as GE Capital

was merged with and into GE in December 2015 and shed its SIFI designation in 2016. In all, GE

Capital sold over $360 billion in assets in its quest to remove its SIFI designation. By the end of

2017, GE Capital retained only $154.7 billion in total assets, a far cry from the $500 billion in total

assets that GE Capital reported at year-end 2014, just prior to the announcement of the GE Capital

Exit Plan. Defendants continued to assure investors that this reduction in assets made GE Capital

“much safer.”

       73.      Between 2010 and 2014, as GE was winding down GE Capital and while oil prices

were at historic highs, the Company embarked on an oil and gas buying spree, purchasing at least

nine businesses in the oil and gas industry. In addition, in 2015, GE purchased Alstom Energy—

a company that manufactures coal-fueled turbines used by power plants, for approximately

$10 billion.

       74.      With these acquisitions and the Company’s continued efforts to wind-down GE

Capital, GE appeared well on its way to accomplishing its goal of returning to its industrial roots.

       C.       As Cracks Develop In GE’s Plan, Defendants Bury Them Rather Than
                Disclose Them

       75.      As GE’s plan to shrink GE Capital progressed following the financial crisis, the

Company encountered a huge roadblock—GE Capital’s multi-billion run-off LTC reinsurance

portfolio. As discussed herein, even though GE Capital had stopped generating new insurance

business in or around 2006, it continued to reinsure approximately 300,000 LTC insurance

policies. In the years following GE’s spin-off of its insurance operations, exposure to toxic LTC

insurance caused other insurers—including Genworth, which GE had spun off and which held

certain of the policies that GE continued to re-insure—to record billions of dollars in reserve




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charges. Though GE Capital had sold off hundreds of billions of dollars in assets in the years

following the subprime crisis, it was unable to sell its reinsurance exposure.

       76.     The future liabilities that GE would foreseeably incur in connection with these LTC

policies, and the large reserve increases it needed to record to account for those liabilities, were in

stark contrast to the Company’s statements to the market that GE Capital was now a smaller, safer,

and less risky Company. Thus, rather than disclose the extent of its future LTC liabilities to

investors with any clarity, GE deliberately removed them from its Class Period financial

disclosures. By concealing these liabilities from investors’ view, GE was able to, among other

things: (i) avoid recording massive increases in its LTC insurance reserves; and (ii) mislead

investors that GE Capital was a leaner, safer business than it had been in prior years. The truth,

however, was that at the same time Defendants were making these representations to investors,

GE Capital was sitting on a ticking time bomb of LTC risk, which exploded at the end of the Class

Period when the Company was forced to belatedly book a $9.5 billion reserve charge and commit

an additional $15 billion over the next seven years to shore up its insurance reserves.

       77.     Consistent with the plan announced by GE in the wake of the financial crisis to

focus its core business, GE’s wind-down of GE Capital coincided with the ramp-up of its Power

business. GE Power is the largest segment within GE’s Industrials unit. The Power business

builds industrial products including power plants, turbines, and generators, and serves power

generation, industrial, government, and other customers around the world with products and

services related to energy production. Power’s products and technologies harness resources, such

as oil, gas, coal, diesel, and nuclear to produce electric power and include gas and steam turbines.

Within the Power segment are a number of divisions that provide customers different product and

services offerings through LTSAs, including GE Power Services.




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         78.   However, shortly after Defendants determined to focus GE’s resources and capital

on Industrials, a global downturn in the power industries occurred, which impacted oil and gas

prices particularly hard. As a result, GE’s Power businesses saw fewer orders for equipment,

which negatively impacted organic growth. In addition, increased reliance on renewable energy

sources (coupled with falling renewable energy costs) drove customers away from GE’s oil and

gas businesses and into other sources of energy such as wind and solar.

         79.   Again, rather than disclose these problems to investors, Defendants concealed

them.     Specifically, Defendants masked GE Power’s disappointing revenues by secretly

renegotiating its existing LTSAs—oftentimes at less advantageous terms—for the sole purpose of

recording an immediate boost to revenues through an accounting adjustment known as a

“cumulative catch-up.”

         80.   By increasingly relying upon “cumulative catch-up” revenue, GE Power continued

to generate what appeared to be impressive revenues and profits during the Class Period. For

instance, Power generated $26.8 billion of GE’s overall revenue of $123.7 billion in 2016 and

$36.0 billion of GE’s overall revenue of $122.1 billion in 2017. Power also reported purported

profits of $5.4 billion in 2014 (which GE subsequently revised downward in its 2015 10-K), $4.5

billion in 2015, and $5.0 billion in 2016.

         81.   However, GE’s reliance on “cumulative catch-ups” to fill its revenue gap created a

liquidity and cash flow problem for the Company. Over time, in an effort to plug the cash flow

and liquidity hole that had been created by their scheme to fill GE Power’s revenue hole,

Defendants resorted to the unsustainable practice of selling LTSA receivables to GE Capital and

other third parties to generate much needed short-term cash, which cannibalized future revenues




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and profits the LTSA would have provided. Ultimately, there were not enough LTSA receivables

to sell, and GE’s reported CFOA suffered.

       82.     Although Defendants Bornstein and Immelt continued to hype Power’s ability to

generate revenues and cash at the start of 2017, projecting $12 to $14 billion CFOA in 2017, just

a few months later—as both executives were forced to take early “retirements,” and new

management took over—this guidance was slashed in half by new CEO, Flannery.

       83.     In October 2017, Flannery led a “deep dive” into GE Power’s financials and by

January 2018, the results of this deep dive led to troubling revelations including the disclosure of

the massive volume of LTSA that comprised GE Power’s balance sheet, the implausible increase

of these assets over the prior three years notwithstanding the decrease in the industry, an inability

to collect on these booked revenues, and a reversal of more than $8 billion of retained earnings

attributed to cumulative catch-up adjustments during the Class Period. Moreover, the Company

revealed an SEC investigation into its practices.

V.     DEFENDANTS’ LONG-TERM CARE INSURANCE FRAUD

       A.      Overview Of Long-Term Care Insurance

       84.     LTC insurance is intended to protect consumers from the high cost of home care,

assisted living care, adult day care, respite care, hospice care, nursing home care, and other

specialized skilled facility care required when an individual becomes unable to perform the basic

activities of daily living. These costs are typically not covered by health insurance, Medicare,

or Medicaid.

       85.     Insurance companies typically price LTC insurance premiums based on four

assumptions: (i) mortality rates (how long individuals who have policies are expected to live, pay

premiums, and collect benefits); (ii) lapse rates (how many insureds will stop paying their

premiums and let their policies terminate); (iii) morbidity rates (the chance someone will develop


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a condition requiring LTC); and (iv) interest rates (the rate of interest income earned on reserves

held against premiums collected).

       86.     Insurance companies began marketing and selling LTC insurance in the 1970s. At

that time, among other factors, insurers modeled LTC insurance pricing after Medicare supplement

policies, which projected high policyholder lapse rates, favorable interest rates, and assumed

mortality and morbidity rates beneficial to insurance providers. These assumptions projected that

LTC insurers would pay less in claims than the capital they accumulated from premium payments,

and fueled a boom in the industry. By the early 2000s, more than 100 carriers sold LTC insurance.

At the peak of the LTC market in 2002, these companies wrote approximately 750,000 new

policies annually. Reinsurance also played an important role in the LTC market, as primary LTC

insurers would typically enter into reinsurance agreements as a means of diversifying or reducing

their risk exposure to LTC liabilities. Through reinsurance agreements, a primary LTC insurer

transfers the risk associated with a pool of insurance policies to another insurance company.

During the Class Period, GE acted strictly as an LTC reinsurer. As a reinsurer, GE received

premiums and claims experience data from the original writers of the blocks of insurance it

reinsured.

       87.     In the years prior to the start of the Class Period, LTC insurers began to learn that

the major pricing assumptions that fueled the expansion of the LTC market in the 1970s and 1980s

were woefully inaccurate. Specifically, insurers had greatly overestimated expected lapse rates

and interest rates, and had dramatically underestimated the number of policyholders that would

file claims and the length of time that such claimants would require benefits.

       88.     For example, insurers initially assumed that 8% of policyholders would let their

policies lapse within one year, with an additional 4% thereafter. In practice, only 4% let their




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policies lapse in the first year, and just 0.5% thereafter. In addition, by 2007, insurers had reduced

their assumptions for mortality rates by 10% compared to the assumptions that were used to price

LTC policies in 2000, and by 2014 those rates had been reduced by an additional 20%. Likewise,

morbidity rates in 2014 were between 15 to 45% higher than they were in 2000. During this same

time period, interest rates were 2 to 4%, far lower than the 3 to 8% assumed by insurers.

         89.   As reflected above, the LTC industry experienced a proverbial perfect storm, where

mortality, morbidity, lapse, and investment earnings assumptions have each experienced adverse

actual experiences compared to initial pricing assumptions used in policies sold before the mid-

2000s.

         90.   LTC insurers’ use of flawed assumptions to price LTC policies meant that they had

significantly underestimated the extent of their liabilities under these policies. Each of these

miscalculations negatively affected an insurer’s or reinsurer’s ability to make payments due under

the policies and consequently, subjected insurers and reinsurers to large losses on their LTC

exposure. As discussed below, these miscalculations led most insurers, including GE, to abandon

writing LTC policies prior to the Class Period. Some insurers, like GE, however, still faced

massive liabilities from their existing LTC portfolios.

         B.    GE Touts Its Exit From The LTC Insurance Market But Continues To
               Reinsure The Worst Blocks Of That Business

               1.      The Genworth Spin-Off

         91.   In November 2003, GE announced its intention to spin-off most of its mortgage

and life insurance operations, including the bulk of its LTC insurance book, through the Genworth

IPO. This was disclosed as part of a larger strategy to exit its low-return businesses and redeploy

capital to refocus on higher-growth businesses. Specifically, GE spun off most of the life insurance

assets, and all of the mortgage insurance assets held by GE Financial Assurance Holdings Inc.



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(“GEFAH”), which had a book value of approximately $10 billion. GE retained the insurance and

reinsurance operations conducted through its principal insurance businesses, GE Insurance

Solutions, and its subsidiary ERAC. Among other things, ERAC reinsured LTC policies originally

written by Allianz, American United LLC, Berkshire Life, Jackson National Life, John Alden,

Lincoln Benefit Life, MassMutual, State Life, Trans America, and others.

       92.     In addition, as part of the spin-off, GE’s Union Fidelity Life Insurance Company

(“UFLIC”) subsidiary entered into agreements to reinsure portions of Genworth’s LTC portfolio.

Specifically, UFLIC agreed to reinsure 100% of a block of LTC policies that had been issued

originally by Travelers and reinsured by Genworth. The Genworth Prospectus for the IPO

described the reinsurance transactions as follows:

       Prior to the completion of this offering, we will enter into a number of arrangements
       with GE governing our separation from GE and a variety of transition and other
       matters, including our relationship with GE while GE remains a significant
       stockholder in our company. These arrangements include several significant
       reinsurance transactions with Union Fidelity Life Insurance Company, or UFLIC,
       an indirect, wholly-owned subsidiary of GE. As part of these transactions, we will
       cede to UFLIC, effective as of January 1, 2004, all of our in-force structured
       settlement contracts, substantially all of our in-force variable annuity contracts, and
       a block of long-term care insurance policies that we reinsured in 2000 from The
       Travelers Insurance Company, a subsidiary of Citigroup, Inc., which we refer to
       in this prospectus as Travelers. In the aggregate, these blocks of business do not
       meet our target return thresholds, and although we remain liable under these
       contracts and policies as the ceding insurer, the reinsurance transactions will
       have the effect of transferring the financial results of the reinsured blocks to
       UFLIC.

       93.     Thus, while GE superficially transferred this block of LTC policies to Genworth in

connection with its IPO, Genworth transferred the financial risks of these LTC blocks right back

to GE (via UFLIC) through the reinsurance agreements.

       94.     On November 19, 2003, during a call with investors, Immelt touted the portions of

the business that GE retained “as a piece low return, very stable, runoff block from [its] [GEFAH]

portfolio.” Immelt further claimed that GE strategically retained these assets, that they were


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“pric[ed] very diligently” and that they supplied “pretty safe earnings.” In addition, Immelt stated

that GE “maintained strong reserv[es]” against these assets.

       95.     In truth, GE had retained some of the worst blocks of this LTC business. As

reported by Bloomberg in January 2018 and in contrast to Immelt’s positive statements regarding

GE’s remaining LTC reinsurance, people familiar with the Genworth IPO indicated that the LTC

blocks that GE reinsured through the Genworth spin-off comprised the riskiest blocks of that

portfolio. In fact, as Bloomberg reported in January 2018, these individuals stated that GE was

informed by the Genworth IPO underwriters—Goldman Sachs Group, Inc. and Morgan Stanley &

Co. Inc.—that the IPO “could run into obstacles” if these LTC policies were included in the spin-

off. Accordingly, GE agreed to backstop them.

       96.     Former GE employees confirmed this. FE-2 understood, early in his tenure at

ERAC, that when GE spun off Genworth in the IPO it apparently pulled certain LTC policies out

of the IPO deal because “they are the bad ones.” FE-2 recalled first learning this as part of

relatively recent oral history of ERAC and GE soon after being hired, from at least three sources:

(i) Mr. Frank Knoor (currently retired ERAC Risk Manager, when FE-2 was being trained in the

particular responsibilities for the valuation of his own LTC blocks); (ii) Dale Filsinger

(“Filsinger”) (ERAC’s Chief Risk Officer (“CRO”)), and; (iii) Jim Berger (an LTC Valuation

Actuary and Economic Capital Actuary with GE during the Class Period), to whom FE-2 reported.

       97.     FE-2 explained that GE’s apparent original strategy was to divest as much of its

LTC book as possible to Genworth, but they could not divest it all. Including some of its riskier

LTC blocks would have made the Genworth IPO a less desirable investment. FE-2 recalls learning

from individuals at the senior management level within ERAC that individuals at GE (and likely




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Genworth) were worried that the Genworth IPO would fail if the riskier LTC blocks were included

in the deal.

        98.    According to Genworth in its IPO documents, the LTC reinsurance business

retroceded to GE in connection with the IPO was associated with $1.5 billion in reserves. GE,

however, did not provide its own investors with any information following the Genworth IPO

regarding the size, composition, or quality of this LTC exposure, or the risks associated therewith.

        99.    Instead, following the Genworth IPO, GE went to great lengths to assure investors

that it was exiting the insurance market and would continue to reduce its remaining insurance

exposure. For example, during a December 18, 2003 conference call, Immelt stated that GE had

“exited, or announced the exit, [of] a substantial portion of our insurance business,” and explained

that the Genworth IPO “takes the low return insurance business and makes it a much smaller

portion of the overall GE portfolio.”

        100.   Several months later, during an April 8, 2004 conference call, Sherin stated, with

respect to GE’s remaining exposure, that “[w]e’re seeing some good momentum in the life

business and long-term care segments.” A few months later, on July 9, 2004, Sherin assured

investors that “our plan is to sell down [the remaining insurance] position in an orderly manner,

but the plan to reduce capital insurance is on track.”

        101.   By October 8, 2004, when asked during a conference call whether GE’s higher

normalized dividend rate that period reflected “the lower capital intensity of the business with

insurance kind of shrinking as a percent of the total,” Sherin told investors that “we have exited

insurance.” During the same call, Sherin assured the market that GE had analyzed—and had

reduced the risks associated with—its remaining insurance position:

        The whole focus at our reinsurance business which as I said we call insurance
        solutions today, has been to re-underwrite the book from top to bottom and Ron



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       Pressman and his team have taken apart every single line of business. They write—
       every single decision is made based on what we think our return on equity is going
       to be based on the risk we’re taking. They’ve done a great job of reducing risk by
       isolating how much exposure we have and aggregating the exposure across the
       entire underwriting portfolio.

       102.    Three weeks later, on October 26, 2004, the Chairman of GE Capital, Dennis

Dammerman, represented that GE’s remaining insurance exposures in Employers Reinsurance

Corporation (“ERC”) (which subsequently was renamed Insurance Solutions) were high quality,

stating that it had “gotten out of, like $4 billion in premiums of business that didn’t have adequate

returns,” and that it had “the most sophisticated underwriting system . . . of anybody in the

industry.” During the same call, James Parke, Vice Chairman and CFO of GE Capital Services

and Senior Vice President of GE reaffirmed, “[w]e plan on continuing to downsize the insurance

business as we look forward, it’s going to be a much smaller part of our total financial services

businesses.”

       103.    On January 21, 2005, Bill Cary, GE’s Vice President of Investor Communications,

once again assured investors that GE was “absolutely executing a clear plan to redeploy capital

away from Insurance and we’re going to continue to shrink the Insurance business going

forward.”

       104.    Later that year, during a May 18, 2005 conference, Immelt praised the Genworth

IPO because it allowed GE to exit the insurance industry successfully. Immelt stated, “[w]e really

just didn’t belong where we were in insurance. We got out I think in as elegant away [sic] as

we could. And Genworth is running well and the balance sheet is great and we feel great about

where we are. And that’s kind of behind us now.”




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                2.     GE Sells Insurance Solutions To Swiss Re And Proclaims Its Exit
                       From The Insurance Market But Continues To Hold Significant LTC
                       Exposure

        105.    In 2006, GE disclosed that it had sold off the vast majority of its remaining

insurance operations to Swiss Re, including: (i) the June 2006 sale of GE Insurance Solutions (f/k/a

ERC) for $6.8 billion; and (ii) the December 2006 sale of all of the remaining operations of

subsidiary GE Life for $0.9 billion.

        106.    Following these dispositions, GE stated in its 10-K for the year ended December

31, 2006:

        In 2006, we substantially completed our planned exit of the insurance businesses
        through the sale of the property and casualty insurance and reinsurance businesses
        and the European life and health operations of GE Insurance Solutions Corporation
        (GE Insurance Solutions) and the sale of GE Life, our U.K.-based life insurance
        operation, to Swiss Reinsurance Company (Swiss Re).

        107.    As with the Genworth IPO, however, GE’s sale to Swiss Re did not include a

substantial portion of its remaining LTC exposure. FE-2 explained that GE retained the risk for

certain blocks of LTC policies in the Swiss Re deal because Swiss Re (like Genworth) did not

want those policies. At the time, Swiss Re had clearly expressed a desire to not underwrite LTC

reinsurance. FE-2 recalled first learning this as part of relatively recent oral history of ERAC and

GE soon after being hired by ERAC in 2006.

        108.    On numerous occasions following GE’s sale of Insurance Solutions to Swiss Re,

and leading up to the start of the Class Period, GE touted its purported “exit” from insurance,

praising the move as “strategically important” to GE and one that improved GE Capital’s

risk profile.

        109.    For example, during an April 11, 2008 conference call, Immelt told investors that

“what we’ve done over the last few years is try to de-risk financial services by exiting insurance,

reinsurance, mortgage insurance, and we want to continue to do that to get more of a debt spread


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and consistent model.” During a February 10, 2009 presentation at the Barclays Capital Industrial

Select Conference, Sherin stated more specifically that over “the last several years, we’ve exited

mortgage insurance, bond insurance, life insurance, long-term care insurance, reinsurance.”

       110.    Immelt likewise assured investors on a June 8, 2011 conference call that GE Capital

“sold all the insurance businesses, life insurance, bond insurance, reinsurance” and, after those

dispositions, had “a tremendously more focused portfolio.” Immelt repeated this statement during

a January 20, 2012 earnings call, telling investors that while GE previously “had significant

insurance operations,” it has since “sold all the insurance businesses.”

       111.    Defendants similarly assured investors that any remaining insurance exposures

would be reduced over time. Indeed, even as early as December 21, 2005, William Blair &

Company, L.L.C. analysts wrote after a meeting with GE executives that while “GE will continue

to own the U.S. life reinsurance portion of Insurance Solutions . . . this business will also continue

to be downsized over time.”

       112.    At no point in making these representations to investors did Defendants disclose

the vast size or risky profile of the toxic LTC portfolio that GE had retained following these

dispositions. Even though, as discussed herein, the Company’s run-off portfolio included billions

of dollars in risky LTC insurance policies, and that GE’s liabilities under these policies were

materially increasing over time, Defendants provided investors with no meaningful disclosures

regarding the extent of GE’s LTC liabilities or the burgeoning risks associated with its legacy LTC

portfolio during the Class Period.

       C.      Continued Deterioration In The LTC Insurance Market Leads Insurers To
               Exit The Market, Seek Premium Rate Increases, And Record Massive
               Reserve Increases

       113.    At the same time GE was touting its safe exit from insurance, its peers were taking

drastic steps to address negative market-wide developments in the LTC industry. In fact, due to


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the rising costs and liabilities associated with providing LTC insurance, most insurers chose to exit

the LTC market altogether. Indeed, following a peak of approximately 750,000 new LTC policies

issued in 2002, annual individual LTC policy sales declined sharply each year, to a low of roughly

only 172,000 policies sold in 2013 (the start of the Class Period). The number of carriers issuing

new policies likewise fell sharply, from over 100 insurers in the early 2000s to less than a dozen

by 2016.

       114.    Even the biggest players in the LTC market fell victim to these issues, and many

insurers stopped selling new LTC policies during this time period, including Unum Group

(“Unum”) and Allianz (an original writer of LTC policies reinsured by GE, via ERAC) in 2009,

MetLife (another original writer of LTC policies reinsured by GE, via UFLIC) in 2010, Prudential

in 2012, and John Hancock in 2016. In announcing its exit from the LTC market, MetLife

spokeswomen stated that “the financial challenges facing the [LTC] insurance industry in the

current environment are well-known” and “aren’t unique to MetLife.” Prudential similarly stated

that its exit “reflects the challenging economics of the individual long-term care market.”

       115.    As insurers exited the LTC market in droves, adverse claims experience and losses

mounted. To account for the dramatic increase in their expected future liabilities to LTC

policyholders, many insurance companies sought to increase LTC premiums. All told, between

2009 and 2017, LTC insurers sought premium rate increases on more than 4,500 occasions. Some

of the increases sought have been as high as 130% (Genworth) and have spanned multiple states

(e.g., Genworth and Unum’s rate increases in 2015, which spanned 17 and 21 states, respectively).

Notably, in approving rate increase requests by Genworth, MetLife, and John Hancock in 2016,

the Pennsylvania Insurance Department stated that “[t]he current policies in place are not

generating sufficient premium to pay future claims to policyholders. This is a common problem




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for a number of insurers nationwide because policyholders are keeping their policies longer than

expected and are living longer than projected.”

       116.    In addition to these premium rate increases, as reflected in the chart below, insurers

also recorded massive reserve charges to account for their increased future LTC liabilities:

   Year              Company                 Reserve Amount                    Explanation
                                                                       “long-term care business
                  GE Capital Life
                                                                       ha[d] sustained continued
              Assurance Company of
                                      $200 million reserve             losses due to the aging of
    July       New York (one of the
                                      increase (required by            the block and persistency,”
    2006      entities spun off by GE
                                      NYDFS)                           and that its reserves were
              in connection with the
                                                                       based on overly aggressive
                  Genworth IPO)
                                                                       assumptions
                                                                       “due largely to . . . its
                                         $573.6 million pre-tax
                                                                       strategic review of the
                                         charge ($456 million
  February                                                             long-term care business,”
                       Unum              after-tax), which resulted
    2012                                                               which resulted in “an
                                         in a $454.4 million net
                                                                       increase to long-term care
                                         loss for 4Q11
                                                                       policy and claim reserves”
                                         $698 million reserve
                                                                       “charge related to [its]
                                         charge; resulting in “a
                                                                       long-term care insurance
                                         pre-tax loss of $685
 November                                                              [portfolio] to reflect
                     Prudential          million from divested
   2012                                                                updates of actuarial
                                         businesses, primarily
                                                                       assumptions based on our
                                         related to long-term care
                                                                       annual review”
                                         insurance”
                                                                       Claimants staying on-
 November                                $531 million reserve          claim longer than expected
                     Genworth
   2014                                  increase                      and using more of the
                                                                       available benefits
  February                               $698.2 million reserve        Resulting from low interest
                       Unum
    2015                                 increase                      rates
                                                                       Resulting from completion
  February                               $700 million reserve
                     Genworth                                          of annual loss recognition
    2015                                 increase
                                                                       testing
 September                               $905 million reserve          Resulting from an annual
                     Genworth
   2016                                  increase                      review of assumptions
                                                                       Resulting from “updates to
                                         $455 million reserve          policyholder assumptions”
 November         Manulife (John         increase and a charge         and a “a downward
   2016             Hancock)             against earnings of $313      revision to our ultimate
                                         million                       reinvestment rate
                                                                       assumptions”


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       D.      As Other Insurers Increase Their LTC Reserves During The Class Period,
               GE Deliberately Conceals Its LTC Liabilities

       117.    For years leading up to the Class Period and as the LTC market sharply deteriorated,

GE conditioned the market to believe that it had improved its risk profile by exiting the insurance

business, and that its remaining exposures would be run-off in an orderly fashion. In making these

representations, Defendants failed to provide investors with meaningful information regarding the

Company’s remaining multi-billion dollar run-off LTC portfolio.          Defendants omitted this

information even though GE was fully aware of the risks posed by its remaining LTC exposure in

light of, among other things, its own experience with the LTC policies it reinsured from Genworth,

the massive reserve and premium increases taken by Genworth and others, and the decision by GE

and others to exit the LTC insurance business altogether.

       118.    Recognizing that GE Capital’s rising LTC risks and liabilities threatened to derail

their narrative that GE Capital had become less risky, Defendants took increased steps to conceal

them from investors’ view during the Class Period, including, as described below, intentionally

removing any disclosure from its annual SEC filings concerning the extent of its LTC liabilities.

       119.    Specifically, GE’s 10-Ks include a tabular breakdown required by Item 303(a)(5)

of Regulation S-K of the Company’s “Contractual Obligations,” which purported to disclose GE’s

“contractual obligations for future payments” as of each year-end. Prior to and throughout the

Class Period, GE included a line item in its “Contractual Obligations” table called “Insurance

liabilities” (defined herein as GE’s “Disclosed Insurance Liabilities”). This line item purports to

identify the total amount of money that GE expected to pay out in future insurance claims.

       120.    Prior to the start of the Class Period, GE regularly included future claims payments

on its run-off LTC portfolio within its Disclosed Insurance Liabilities line item. For example, in

its 10-K for the year-ended December 31, 2008, GE stated that its Disclosed Insurance Liabilities



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“[i]ncluded guaranteed investment contracts, structured settlement and single premium immediate

annuities based on scheduled payouts, as well as those contracts with reasonably determinable

cash flows such as deferred annuities, universal life, term life, long-term care, whole life and other

life insurance contracts.” As reflected below, this line item, one component of which was LTC

liabilities, totaled $22 billion as of December 31, 2008:




       121.    By 2011, GE’s Disclosed Insurance Liabilities had increased to $23.7 billion. The

table included in GE’s 10-Ks did not specify the quantity of Disclosed Insurance Liabilities

attributable to LTC, but purported to at least set forth GE’s comprehensive obligations related to

its run-off insurance operations.

       122.    When GE filed its 2012 10-K on February 26, 2013 (the day before the Class Period

begins), however, it altered the manner in which it presented its contractual obligations. In

particular, GE, without any explanation, began excluding LTC liabilities from its Disclosed

Insurance Liabilities. Indeed, in the 2012 10-K, GE reduced its reported insurance liabilities to




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$14.0 billion and, unlike prior 10-Ks, stated that this figure “excluded long-term care, variable

annuity and other life insurance contracts”:




       123.    GE excluded its LTC liabilities from its Disclosed Insurance Liabilities in the 2012

10-K and every 10-K it issued during the Class Period. In addition, GE did not otherwise quantify

this liability (or provide any other meaningful information concerning the nature or extent of its

LTC obligations) in the 2012 10-K or its Class Period SEC filings, thus misleading investors that

any remaining LTC-related liabilities were immaterial.

       124.    In each year of the Class Period, GE reported an annual reduction in its Disclosed

Insurance Liabilities. Indeed, by 2016, GE had reported just $11.1 billion in Disclosed Insurance

Liabilities, a 21% reduction from the $14.0 billion figure it reported on the day before the first day

of the Class Period, and a 53% reduction from the $23.7 billion in Disclosed Insurance Liabilities

it reported in the 10-K for fiscal year 2011.

       125.    Defendants had no basis (apart from concealing the true extent of GE’s insurance

liabilities from investors) to exclude GE’s LTC liabilities from its Disclosed Insurance Liabilities

during the Class Period. In fact, following the end of the Class Period, GE effectively conceded


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that the omitted LTC liabilities were material and should have been included in its Disclosed

Insurance Liabilities throughout the Class Period. Indeed, when GE filed its 2017 10-K—after

GE had belatedly revealed the true extent of its LTC exposure—it reverted to its pre-Class Period

practice of including in its Disclosed Insurance Liabilities “all contracts associated with [its] run-

off insurance operations,” including LTC liabilities. Once GE’s LTC liabilities were added back

into this line item, its Disclosed Insurance Liabilities more than tripled, increasing from $11.1

billion in 2016 to $38.0 billion in 2017:




       126.    As reflected below, Defendants’ deliberate omission of GE’s LTC insurance

liabilities misled investors into believing that the Company’s insurance liabilities were declining

throughout the Class Period when, in truth (and as Defendants revealed at the end of the Class

Period), they were alarmingly increasing:




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                       Disclosed Insurance Liabilites ($bn)

                                                                                          38




                          24.8
                                   23.7
         22
                  20


                                             14         13.5   12.6
                                                                       11.5     11.1




        2008     2009     2010     2011     2012        2013   2014    2015     2016     2017


       127.    By removing GE’s LTC insurance liabilities from its Class Period disclosures,

Defendants falsely conveyed to investors that GE’s LTC business had been run off to the point

that it was no longer a material exposure. In addition, erasing these liabilities from investors’ view

allowed the Company to fraudulently: (i) report decreasing insurance liabilities throughout the

Class Period; and (ii) avoid recording the massive reserve charges that other insurers were

announcing throughout the Class Period. In truth, as investors would belatedly learn, GE remained

exposed to billions of dollars in LTC liabilities throughout the Class Period, and its total insurance

liabilities had dramatically increased—not decreased—during this time period.

       128.    Given GE’s deliberate omission of its LTC liabilities, investors were unable to

meaningfully assess the extent of the Company’s LTC exposure or its total insurance liabilities.

Indeed, after reviewing GAAP financial performance, statutory LTC experience reporting forms,

premium rate filings and experience updates, Society of Actuaries and other industry data, reports

and presentations from industry consultants, and participating in calls with so-called LTC experts,

Credit Suisse Group AG (“Credit Suisse”) analysts noted as late as 2017 that “[d]espite all of the


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time and effort put into studying the long-term care product, history financials, reserving

methodologies, etc., we still find ourselves in a position of being unable to draw very specific

conclusions,” as company disclosures regarding LTC exposure was “still far short of acceptable.”

       129.    Moreover, even after GE began to make disclosures regarding its expected LTC

reserve increase, market experts were unable to accurately quantify its exposure. For example, on

September 15, 2017, after GE had announced that it had begun witnessing “adverse claims

experience” in its LTC portfolio, Evercore Group L.L.C. (“Evercore”) analyst Thomas Gallagher

issued a report that predicted, based on his “review of the GE owned regulatory insurance filings,”

that GE would report a reserve increase of approximately “$2.5B plus.” Months later, GE reported

a pre-tax reserve increase of approximately $9 billion, and committed to insurance regulators to

increase that reserve by an additional $15 billion over the next seven years. This was almost

ten times the size of Evercore’s estimate.

       130.    Accordingly, GE’s material misstatements and omissions related to its Class Period

disclosures denied investors any ability to understand the Company’s massive LTC exposure.

       E.      After Concealing GE’s LTC Liabilities, Defendants Continue Assuring
               Investors About GE Capital’s Reduced Risks

       131.    After removing GE Capital’s LTC insurance liabilities from GE’s Disclosed

Insurance Liabilities, Defendants continued representing to investors throughout the Class Period

that they had made GE Capital “safer” by selling its “non-core” assets and by running off its

remaining insurance exposures. At no point during their discussions about “de-risking” GE

Capital did Defendants disclose that GE had still retained a toxic LTC portfolio or had a crippling,

multi-billion dollar future liability. To the contrary, Defendants omitted any disclosure regarding

these massive liabilities even as: (i) the LTC market continued to crumble; and (ii) GE’s LTC

exposure became an increasingly large part of GE Capital’s remaining asset base.



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       132.    For example, on April 19, 2013, during the Company’s first quarter 2013 earnings

call (the “1Q13 Earnings Call”), Immelt stated, “GE Capital delivered a solid quarter, up 9% while

they continue to shrink their non-core assets, which were down $17 billion in the quarter versus

previous years.” Sherin similarly stated, “[w]e have got over $60 billion of noncore assets. We

continue to run those off.”

       133.    It is clear that analysts were interpreting these statements as Defendants desired.

For example, J.P. Morgan Securities Inc. (“J.P. Morgan”) analyst C. Stephen Tusa, Jr., CFA

(“Tusa”) stated in an April 22, 2013 report that “[w]e don’t think portfolio quality is an issue,” and

that “[c]ash has been a bright spot of the story, largely related to the continued wind down of non-

core GE Capital assets, a story that remains on track.”

       134.    On May 22, 2013, during an Electrical Products Group Conference, GE announced

it was entering into the second phase of its plan to liquidate GE Capital’s “non-core assets,” which

included “continu[ing] to do run-off of non-core assets.” Analysts seized upon these statements

noting that the Company is “committed to continued run-off of its non-core Capital assets.”

       135.    During the Sanford C. Bernstein Strategic Decisions Conference on May 31, 2013,

Chairman and CEO of GE Capital, Neal, stated that “we have made [GE Capital] smaller. We

have made it safer. We have made it more core.” Neal further described GE Capital’s remaining

portfolio as “our best stuff” and claimed that it “is very safe for us and we err on the side of being

safe and being secure.”

       136.    On November 15, 2013, GE Capital held an Investor Day Meeting where it

announced further reductions to its asset base and a continued reduction of its non-core portfolios.

For example, during the call, Sherin boasted that “[t]he team has done a fantastic job of reducing

the overall size of GE Capital, and more importantly, we’re exiting the non-core assets.” Sherin




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added that “we’ll still have about $50 billion in non-core assets that Bill’s going to show you, some

of what we’re doing to continue to run this off, and put the proceeds of that back into the core

business.” GE Capital Chief Operating Officer Cary further stated, “we entered the crisis with

almost a third of our portfolio activities that today we would define as non-core. We’ve really

shrunk that dramatically. And now over 85% of our book are in things, activities, places, markets,

products that we like a lot, that we think we can grow successfully.”

       137.    Analysts continued to buy into Defendants’ representations that GE Capital’s

portfolio was becoming safer. For instance, in a November 25, 2013 report, Barclays analysts

further stated that “the overall GE story is improving and at a faster rate than is generally perceived,

in our view; it is becoming lower risk and more shareholder friendly. Portfolio simplification

should continue to be a powerful stock driver. . . . GE has plenty of cash and B/S optionality. . . .

[And] an excellent core portfolio.”

       138.    During the Company’s December 18, 2013 guidance update call, Immelt

affirmatively represented that, as part of GE’s divestiture of “non-core” assets, it “sold reinsurance

business.” Yet in making this representation, Immelt failed to disclose that the Company continued

to reinsure hundreds of thousands of high-risk LTC insurance policies.

       139.    In September 2014, GE again represented to investors that it had divested—and

would continue to divest—non-core assets including, specifically, its run-off insurance portfolio.

Indeed, on September 8, 2014, GE issued a press release announcing the sale of its Appliances

business to Electrolux and noted that GE’s “2014 portfolio activity continues the Company’s

longer-term redeployment of capital from non-core assets like media, plastics and insurance to

higher-growth-higher margin businesses in Oil & Gas, Power, Aviation and Healthcare.”




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       140.    In connection with its December 16, 2014 guidance update call (the “12/16/14

Guidance/Update Call”), Defendants specifically stated that they had made GE Capital safer by

selling insurance assets. Indeed, in a presentation to investors, GE indicated that it had executed

on its “risk reduction” plan to “sell insurance before the storm.”             During the 12/16/14

Guidance/Update Call, Immelt further boasted that “we exited insurance in time.” Again,

Defendants made no mention of the significant LTC risks that GE continued to reinsure.

       141.    Moreover, as discussed above, following the announcement of GE Capital’s

designation as a SIFI in April 2015, the Company announced a plan to once again reduce

substantially the size of its financial services businesses, this time through the sale of most of the

remaining assets of GE Capital (i.e., the GE Capital Exit Plan). During a specially-convened call

with investors on April 10, 2015 to discuss this strategy, Sherin lauded the Company’s prior efforts

to de-risk GE Capital, stating, “[a]s you all know, we have done a lot over the last six years to

shrink GE Capital while also making it much safer.”

       142.    Defendants further suggested that the assets that would remain on GE Capital’s

books following the execution of the GE Capital Exit Plan would be safe and less capital intensive,

and would therefore generate a positive return for investors. For example, during the Company’s

April 22, 2015 Annual Shareholders Meeting, Bornstein stated that “the businesses that you’ll be

left with will be those businesses that are synergistically aligned to our industrial businesses and

provide real competitive advantage and, importantly, from a capital allocation perspective,

generate a return that’s well in excess of our cost of capital.”

       143.    As a result of the GE Capital Exit Plan, through the sale of assets, GE reduced GE

Capital’s total assets by 63% from $500 billion as of December 31, 2014 to $183 billion as of

December 31, 2016. Over this same time period, as discussed above, GE’s Disclosed Insurance




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Liabilities declined from $12.6 billion to $11.1 billion. Yet Defendants failed to disclose that GE

had retained a multi-billion dollar portfolio of deteriorating LTC insurance policies.

       144.    Instead, Defendants continued to tout the “strong,” “solid,” and less-risky nature of

GE Capital’s remaining assets. During the June 1, 2016 Sanford C. Bernstein Strategic Decisions

Conference, Sherin stated:

       So, we are a lot smaller. Assets are down 50% when we filed and even within that
       a third of the assets that are remaining are in cash and liquidity. That’s up
       substantially from where it was when we were designated. And we are not just
       smaller; we exited whole pools of risk.

       145.    In fact, during the same Conference, Sherin boldly represented that GE had gotten

rid of all of its insurance business. In response to an analyst request for Sherin to put GE’s

transformation over the last year and a half into context from a long-term perspective, Sherin

boasted that “[i]f you look at what the portfolio is today versus take it when Jeff [Immelt] started,

all of the insurance business is gone. That was a huge change in the portfolio. . . . It’s a cleaner

more synergistic portfolio. So we feel great about it.”

       146.    In July 2016, Defendants provided their first indication during the Class Period that

GE had any material exposure to LTC liabilities. Specifically, on July 22, 2016, Defendants

Immelt and Bornstein participated in a conference call with analysts and investors to discuss its

second quarter 2016 results (the “2Q16 Earnings Call”). During the call, Bornstein announced

that the “vertical business earned $452 million this quarter, down 15% from prior year including

higher base earnings offset by lower gains and higher insurance reserve provisions resulting from

updates to our models on our runoff long-term care book.” Bornstein assured investors,

however, that “[p]ortfolio quality remains stable.” Yet despite expressly discussing the topic of

LTC insurance and confirming that they were aware of—and had been reviewing—GE’s LTC

exposure, Defendants provided investors with no meaningful information regarding the extent of



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the Company’s LTC exposure. To the contrary, Defendants’ disclosures falsely suggested to

investors that GE’s remaining exposures were immaterial and that its LTC portfolio quality

remained stable.

       147.    In the Company’s quarterly report on its 10-Q for the three months ended for the

June 30, 2016 (the “2Q16 10-Q”) filed shortly thereafter, GE stated, “[w]ithin [GE] Capital,

Verticals net earnings decreased by $0.1 billion due to higher insurance reserve provisions ($0.1

billion) and lower gains, partially offset by core increases.” Given the multi-billion dollar reserve

increases that other LTC insurers like Genworth had taken during this time period, see ¶ 116, GE’s

reserve increase of just $100 million signaled to investors that its remaining LTC exposure was

small and posed no material future risk to the Company. Indeed, following GE’s disclosure of the

$100 million reserve increase, analysts at RBC reaffirmed their belief that “GE Capital’s balance

sheet and risk profile have been dramatically reduced over the past year as the company completed

sales and spins of +80% of its finance businesses.”

       148.    In addition, when analysts began to question management regarding the Company’s

run-off insurance exposure following the Company’s announcement of a $100 million reserve

increase, Defendants actively misled investors regarding the risks associated with that portfolio.

For example, during the February 22, 2017, Barclays Industrial Select Conference, Bornstein was

asked if GE would consider “sell[ing] the liability in that insurance; kind of write a check and get

rid of it?” In response, rather than disclosing the massive risk the portfolio still carried, Bornstein

falsely claimed that the “low interest rate environment” was the primary impediment to selling its

remaining insurance liabilities, “I think interest rates are a fundamental challenge and (inaudible)

long-term liabilities in a low interest rate environment is a challenge.”




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          149.   Laxer, CEO of GE Capital, made similar misstatements during the Company’s

March 13, 2017, J.P. Morgan Aviation, Transportation & Industrials Conference, telling J.P.

Morgan analyst Tusa that it would not be “attractive” for GE to sell its run-off insurance portfolio

“given the interest rate environment we are in right now.” Laxer went on to state, “we would like

to see a few increases before that would be attractive.” Tusa cited these representations in a report

he issued that day, stating, “[o]n the insurance liabilities assets, GE noted that it’s not attractive to

exit this business in the current rate environment and would need a couple more increases in rates

to start considering a move.”

          150.   In truth, and in stark contrast to the foregoing statements by Bornstein and Laxer,

it was not simply low interest rates were preventing GE from selling its LTC insurance portfolio.

Rather, GE could not sell its LTC portfolio because—as investors would learn at the end of the

Class Period—the “check” that GE would have had to write to “get rid of it” exceeded $20 billion.

Indeed, as discussed herein, GE’s Disclosed Insurance Liabilities increased by nearly $27 billion

when it began including LTC in its calculation at the end of the Class Period, and its LTC liabilities

were so massive that led to the Company booking a $9 billion reserve charge in 2017 and agreeing

to contribute an additional $15 billion in capital to its insurance subsidiaries over the next seven

years.

          151.   In light of the foregoing misrepresentations and omissions concerning GE Capital’s

reduced risk profile, and given Defendants’ failure to disclose GE’s LTC insurance liabilities

throughout the Class Period, investors were unaware of, and could not discern from GE’s false or

misleading disclosures, the grave risks facing the Company.




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       F.      Defendants Mislead Investors Regarding GE’s LTC Reserves Throughout
               The Class Period

               1.      Defendants Misrepresent The Extent And Adequacy Of GE’s LTC
                       Reserves

       152.    In a further effort to conceal GE’s outsized LTC insurance exposure from investors,

Defendants issued materially false or misleading statements during the Class Period regarding the

extent and adequacy of GE’s insurance reserves, including its LTC reserves.

       153.    By way of background, GE was required to hold two different reserves against its

LTC insurance exposures: “Benefit Reserves” and “Claims Reserves.” “Benefit Reserves” are

established for policies at the time they are issued and reserves against future claims not yet made

by policyholders. It is calculated as the present value of future benefits to be paid less the present

value of future net premiums payable. “Claims Reserves” by contrast, reserve against future

payments to be made on claims that have already been made on or before the end of a particular

reporting period. Claims Reserves are calculated as the present value of the amount needed to

provide for the estimated ultimate cost of settling such claims. When an insured event occurs,

Claims Reserves are incurred and Benefit Reserves are released.

       154.    GE did not expressly disclose Benefit Reserves or Claims Reserves in the

2012 10-K or its Class Period SEC filings, nor did it separately disclose the extent of its LTC

Benefit Reserves or Claims Reserves to investors throughout most of the Class Period. Instead,

GE disclosed to investors only a line item titled “Life insurance benefits,” which it described as

“obligations to annuitants and policyholders in our run-off insurance operations.” Though not

defined as such during the Class Period, GE’s post-Class Period SEC filings indicate that its “Life

insurance benefits” figures reflected the aggregated amount of GE’s Benefit Reserves relating to

all of its insurance policies, including its LTC insurance policies (even though LTC insurance is




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plainly distinct from life insurance in terms of expected premium receipts, claims payments

liabilities, and other risk characteristics).

        155.    In fact, as investors would learn at the end of the Class Period, none of the reserves

contained in GE’s “Life insurance benefits” disclosure actually related to life insurance policies.

        156.    Indeed, as reflected in GE’s 2017 10-K, the “Life insurance benefits” line item

actually consisted of: (i) LTC reserves (41% and 54% of the total in 2016 and 2017, respectively);

(ii) reserves for “[s]tructured settlement annuities with life contingencies and other contracts”

(49% and 31% of the total in 2016 and 2017, respectively); and (iii) “[s]hadow adjustments,”

which reflect “unrealized gains on specific investment securities” that would result in a premium

deficiency if realized (10% and 15% of the total in 2016 and 2017, respectively).

        157.     Calling the risk exposure from such policies “Life insurance benefits” was

materially false or misleading. Indeed, in FE-2’s view, GE’s inclusion of LTC reserves in an entry

titled “Life insurance benefits” cannot be a truthful statement since the characteristics and risks

associated with LTC (a type of health insurance with periodic incurred benefit payments structure)

is separate and distinct from those of pure life insurance (pure mortality products often paying a

single face amount), versus even of annuities (pure survival products). Such a statement misleads

investors reading it because it fails to communicate the correct characteristics of the risks

associated with GE’s LTC portfolio, a particularly important communication in light of the

negative conditions within the LTC insurance marketplace during the time period the statements

were made.

        158.    In addition, prior to mid-2017, GE did not separately disclose its Claims Reserves

to investors. Instead, GE subsumed those reserves in an “Other” line item that also included non-

reserve items like “claims adjustment expenses.” As investors would learn at the end of the Class




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Period, over 70% of GE’s Claims Reserves were actually reserves held against its undisclosed

LTC insurance liabilities. Indeed, GE’s 10-Q for the three months ended September 30, 2017 the

(“3Q17 10-Q”) disclosed that $3.4 billion of its $4.6 billion Claims Reserves was related to LTC

insurance contracts.

       159.    Because GE did not separately disclose its LTC reserves to investors during the

Class Period, but instead bundled those LTC reserves within its disclosure of “Life insurance

benefits” and “Other” reserves, investors could not discern the extent that GE had reserved for its

exposure to the toxic LTC insurance market—which constituted the vast majority of its insurance

exposure throughout the Class Period.

       160.    Relatedly, Defendants’ decision to remove GE’s LTC liabilities from its Disclosed

Insurance Liabilities, as discussed above, but bundle GE’s LTC Benefit Reserve in its line item

described as “Life insurance benefits” created a deception that its reserves were more than

adequate to satisfy its contractual insurance obligations.

       161.    As reflected below in ¶ 162 below, prior to excluding LTC payment obligations

from its Disclosed Insurance Liabilities, GE’s Disclosed Insurance Liabilities exceeded its

disclosed “Life insurance benefits”—i.e., its Benefit Reserves. Beginning on February 25, 2013,

however, when GE filed the 2012 10-K that omitted its LTC insurance liabilities, and continuing

into and throughout the remainder of the Class Period, the trend reversed and GE began

representing to investors that its reserves exceeded its future insurance liabilities.

       162.    Tellingly, after GE came clean regarding the true extent of its LTC exposure, the

trend reversed once again:




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                               Disclosed Insurance Liabilities vs.
                                "Life insurance benefits" ($bn)
     40

     35

     30

     25

     20

     15

     10

      5

      0
             2008       2009   2010         2011       2012         2013       2014          2015   2016   2017

                                      Insurance Liabilities        Life Insurance Benefits



          163.      Thus, Defendants’ removal of GE’s LTC liabilities from its Disclosed Insurance

Liabilities in its Class Period 10-Ks, in violation of GAAP and applicable SEC regulations falsely

indicated to investors that GE had more than adequately reserved for its remaining insurance

payment obligations.

          164.      Defendants’ deception concealed from investors that, in truth, GE’s insurance

reserves were materially inadequate throughout the Class Period. Indeed, while the LTC market

continued to deteriorate between 2008 and 2016, GE’s reported “Life insurance benefits” figure

remained relatively flat, fluctuating by an average of just 6.2% annually. In 2017, however, after

the Company’s disclosure of its true LTC exposure, GE’s reported Benefit Reserves skyrocketed

by over 63%, from $18.74 billion to $30.55 billion:




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                Reported "Life insurance benefits" ($bn)

                                                                                           30.55




                                              20.43                20.69   19.98
                                      19.26                18.96                   18.74
                 16.85        17.64
        16.26




        2008         2009     2010    2011    2012         2013    2014    2015    2016    2017


       165.     GE’s LTC reserve figure—which it disclosed for the first time on October 20, 2017

to represent roughly $12 billion or 50% of its insurance reserves—ballooned to over $20 billion

by the end of 2017. Contractual liabilities against these reserves, which were disclosed to be $11.1

billion at year-end 2016, spiked to $38 billion as of December 31, 2017.

                2.          Defendants Lacked A Reasonable Basis For Concluding GE’s LTC
                            Reserves Were Adequate

       166.     Contrary to Defendants’ representations concerning the extent and adequacy of

GE’s reserves for its remaining insurance liabilities, unbeknownst to investors, there were

crippling issues with the models, assumptions, and periodic testing utilized by GE to purportedly

assess and affirm the adequacy of those reserves during the Class Period. These issues, of which

Defendants knew or recklessly disregarded, rendered GE’s reported “Life insurance benefits”

figures and statements concerning the Company’s insurance exposures and reserves materially

false or misleading and without a reasonable basis in fact.




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       167.    As a general matter, the required amount of Benefit Reserves and Claim Reserves

is determined through actuarial accounting methods that project an insurer’s future payment

obligations under its policies. The assumptions used to project these future payment obligations

have a direct and material effect on the amount of required reserves. As described above,

assumptions typically used to determine future payment obligations, and thus calculate required

reserves, include mortality rates, morbidity rates, lapse rates, and interest rates.

       168.    GAAP requires the ongoing application of the original liability assumptions in

subsequent periods unless a potential reserve deficiency is identified (ASC 944-40-35-5)—in other

words, the assumptions used to determine Benefit Reserves are “locked in” at the time an insurance

obligation is entered into or acquired. Deficiencies occur when policyholder premiums and current

reserves are inadequate to satisfy contract benefits and expenses, as well as enable recoverability

of deferred acquisition costs (AAG, 7.46, 9.85-.93).

       169.    To test for a potential reserve deficiency, GE conducted periodic testing, as required

by GAAP, such as loss recognition testing, which is a formalized process utilized to determine if

a particular company is able to align certain assets and liabilities within a particular line of

business, FE-2 explained. If a deficiency is identified, GAAP requires insurers to “unlock” their

assumptions and determine their liability for future policy benefits using assumptions revised to

consider then-current experience. Any resulting loss is recorded in the current period.

       170.    As a reinsurer, GE was also required to perform statutory cash-flow testing to assess

the adequacy of their Benefit Reserves. Cash flow testing involves determining whether an entity

has sufficient reserves to cover expected future payment obligations under its policies. Where

cash flow testing identifies a reserve margin that is less than zero, reserves must be increased. In

accordance and conformity with Statutory Accounting for Insurance Companies, as set forth in the




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NAIC Accounting Practices and Procedures Manual, as well as state laws, regulation, and general

administrative rules, GE was similarly required to make a good faith estimate of their reserves

based on certain enumerated factors. According to the Insurance Information Institute, “actuarial

estimates of the amounts that will be paid on outstanding claims must be made so that profit on

the business can be calculated. Insurers estimate claims costs . . . based on their experience.

Reserves are adjusted, with a corresponding impact on earnings, in subsequent years as each case

develops and more details become known.”

       171.    At GE, assessing the adequacy of its insurance reserves was purportedly a product

of actuarial analysis at the insurance subsidiary level (ERAC and UFLIC), followed by subsequent

review through GE’s Internal Audit function and/or Corporate Audit Staff (“CAS”). During the

Class Period, the actuarial process included the following: (i) the creation of an experience study

by the lead actuary, which compares the actual experience on a block of business with a model of

how the insurer expected that experience to look at some earlier point in time (often at inception

of the policy); (ii) an assumption governance phase in which assumptions to be used in subsequent

stages of the process, including mortality rates, morbidity rates, lapse rates, and interest rates, are

proposed and set, usually by comparing GE’s actual experience with its expected experience; (iii)

an asset adequacy phase, wherein cash flow testing for assets and liabilities is conducted; and (iv)

loss recognition testing, which, as noted above, is supposed to analyze whether GE was sufficiently

reserved for its LTC exposure within ERAC and UFLIC (and, more globally, North American Life

and Health).

       172.    All aspects of these processes, including the models, methodologies, and

underlying assumptions utilized, are then subject to review by GE’s Internal Audit, which

identifies and prioritizes audit issues for remediation, and reports those findings to the Company’s




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senior management and relevant Board committees. FE-2 explained that audit findings and work

papers, and summaries thereof, are stored in a central system within GE Capital called Audit

Works, which is a system of record for all issues. CAS also participate in audits of GE’s business

lines.

          173.   As noted above, for fiscal year 2017, in concert with GE’s change of management

and new CEO Flannery’s “deep dive” into GE’s fundamentals, GE’s Benefit Reserves were

increased to an astounding $30 billion. Bornstein’s explanation for the 2017 increase was

purportedly the fact that GE had “recently experienced elevated claim experience for a portion of

[its] long-term care insurance contracts.”

          174.   This explanation was false. As discussed below, prior to 2017, Defendants ignored

a host of red flags, including Internal Audit and actuarial findings identifying critical issues with

the models, assumptions, and testing relating to GE’s LTC exposure, and elevated, adverse claims

experiences from the direct writers of policies GE was reinsuring, and the market as a whole. As

shown below, these and other adverse facts indicated that GE had no basis on which to rely on the

adequacy of its reported “Life insurance benefits,” or the accuracy or veracity of outputs generated

from periodic testing using any model under ERAC or UFLIC.

                        a.     Defendants Knew That All Models Used By ERAC And
                               UFLIC Were Fatally Flawed And Were Not Validated Or
                               Approved By GE Capital’s Model Validation Group

          175.   Model risk management at ERAC and UFLIC was a major problem through the

Class Period. Indeed, during this time period, none of the models used by those business lines

were validated or approved by GE’s Model Validation group, but all were flagged with serious

audit issues. Evidence of these major challenges was documented as audit issues and in audit work

papers, as were all issues identified by GE Capital’s Internal Audit from at least 2012 through the

beginning of 2017, according to FE-2.


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       176.    By way of background, in or around late 2012, after ERAC and UFLIC were placed

under GE Capital’s umbrella, GE’s Internal Audit group performed its first audit of ERAC and

UFLIC, which included a review of all models owned by those lines of business. FE-2 explained

that before ERAC and UFLIC were placed as subsidiaries under GE Capital, they had not been

subject to either internal auditing of GE Capital Audit or GE Capital’s governance requirements,

which included requirements that all models be reviewed, validated, and approved for use. Thus,

up to and including 2012, ERAC’s and UFLIC’s models were not independently reviewed,

validated, and approved in accordance with an appropriate formal model risk governance policy,

which required an independent and functioning second-line-of-defense model validation function.

FE-2 further explained that it was expected that ERAC and UFLIC would be complying with the

governance requirements of GE Capital and/or seeking temporary approvals for exemptions within

a reasonable amount of time after the organizational transfer.

       177.    In addition, there were documented GE Capital audit issues surrounding ERAC’s

and UFLIC’s models not being a part of the single model inventory held and approved by GE

Capital’s Model Validation group. To this end, FE-2 noted that prior to 2013 there was not a single

inventory of models for ERAC and UFLIC. A single inventory of models is a very strongly

suggested model risk management requirement appearing in SR 11-7 (Supervisory Guidance on

Model Risk Management by the Board of Governors of the Federal Reserve System, Office of the

Comptroller of the Currency), to which GE Capital—and, by extension, ERAC and UFLIC—were

subject.

       178.    In his auditing reviews of models used by ERAC and UFLIC, FE-2 identified that

there appeared to be an overarching issue in several examples of models lacking sufficient

supporting or explanatory documentation. FE-2 denotes this type of exception as a “first step




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failure”—meaning no further audit review could/should be performed with respect to any such

model as it did not meet the requirements of the model governance policy of GE Capital, nor those

of SR 11-7. Once this type of failure has been remediated, then further model validation

examination and further Internal Audit examination can be made. In other words, until such

remediation is complete, models cannot be adequately validated, and an audit of those models, or

their outputs, cannot occur.

       179.    FE-2 identified examples of model risk associated with using Excel-based models

at ERAC and UFLIC, explaining that while Excel is a useful tool for complex calculations, often,

documentation for the spreadsheet is not imbedded into the spreadsheet. As well, critical historical

information and support for the model, its control and testing of inputs, links, internal calculation

techniques chosen, length and complexity of formulas in a single cell, and control of outputs may

not be available at all in Excel form. As a result, it would be nearly impossible for anyone other

than the original programmer to review, test, or validate those models with their inputs and outputs.

       180.    Hard-coding of values into formulas is another example FE-2 explained was an

issue at ERAC and UFLIC. Hard-coding of an assumption value (e.g., valuation interest rate for

calculating present values) into a formula rather than by using a variable increases model risk. Not

only is it hard to find all of the places in all of the cells that use the new assumption value, but

there is also the manual risk of incorrectly inputting the new value where it is needed. Generally,

the spreadsheet controls are improved by establishing variables where needed in formulas rather

than specific assumption values that are subject to change. This type of infirmity renders models

highly susceptible to error.

       181.    FE-2 likewise explained that some models can become “stale” over time,

particularly where inputs or assumptions are susceptible to frequent change (like interest rates or,




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for LTC policies, lapse rates). Therefore, a good model risk governance policy will incorporate a

process of periodic, independent validations on a model to ensure the model is currently

appropriate, operating accurately for its intended purpose, and generating reasonable outputs. It is

critical that a good model risk governance policy address and attempt to mitigate the effects of the

many possible model risks

       182.     Despite these critical issues, FE-2 does not believe that any of the models used by

ERAC or UFLIC were validated or approved by GE’s Model Validation group during his tenure

with the Company. The GE Capital Model Validation group is able to provide a complete history

of validation of specific models presented for validation and/or exemption. The history is stored

electronically. The status and issues surrounding the models of ERAC and UFLIC appear in this

system. When periodically checking on the status of models and modeling at GE Capital, FE-2

recalled seeing rejections of ERAC models, which were sent back for explanations, corrections, or

remediations.

       183.     These debilitating issues were well known within GE. In addition to Audit Works,

FE-2 explained that audit issues identified as “Schedule II” are considered “huge issues” of

significant importance, “Priority 2” issues are medium issues, and “Priority 3” are lesser issues.

Each issue is prioritized by the audit team; a Schedule II is discussed with the Audit Director and

the Chief Audit Executive prior to being issued to the business. Schedule IIs are reported quarterly

to the Risk Committee at GE Capital. For purposes of tracing the reporting of the issue through

the Risk Committees, a Schedule II would first be issued to ERAC/UFLIC. Then, Filsinger, the

CRO at ERAC, as part of his normal practice, would report the risk issues he was aware of to the

CRO of GE Capital (Anne Kratky, who served as the deputy CRO until Ryan Zanin (“Zanin”)

assumed the position). The CRO of GE Capital, in turn, presents that information to the Risk




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Committee of GE Capital’s Board of Directors. The senior management at GE (including the

CEO, CFO, CRO, and COO) would be made aware of the formal issue through the written audit

reporting. FE-2 believes that audit issues were presented independently to the Audit Committee

via the Chief Audit Executive. FE-2 also believes that issues relating to model validation were

required to go up to GE Capital and GE since many were Schedule II issue. Therefore, Immelt,

Sherin, and Zanin were all aware of these issues. The Chief Audit Executive’s presentation

includes information on issues, trends, and remediation efforts on open issues.

       184.    Concerns about the lack of documentation for ERAC and UFLIC models were also

raised during a review of Internal Audit’s 2015 audit, in which FE-3 participated. At the time, FE-

3 was involved in the review of models within GE Capital for SOX compliance, and explained

that Internal Audit had looked at all of the SOX models in the legacy insurance business, raised

concerns, and recommended that the models be “overhauled.” FE-3 further explained that his

review of the models within GE’s legacy insurance business also found a lack of documentation

for the models, and that that the insurance models were very large, and were not written using a

professional program such as SAS or C++, but rather maintained in Excel. FE-3 also flagged as

an issue the fact that the SOX Controller did not own the models, and that the insurance models

each had an owner and second owner in the same business unit (i.e., the creator and “independent”

reviewer were housed in the same unit). FE-3 was told during the course of his review that the

business unit was going to re-write the models, and recalled that by the summer of 2016, the new

analytical models were drafted. FE-3 believes that the SOX analytic problems with the models

were not cleared up until (or around) December 2016.

       185.    Given the foregoing issues, Defendants had no reasonable basis on which to rely

on the accuracy or veracity of outputs generated from periodic testing using any model within




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GE’s legacy insurance business lines and, in turn, on the adequacy of their reported “Life insurance

benefits.” Indeed, in January of 2018, Flannery admitted that when GE finally “open[ed] up the

model back to its core fundamental assumptions,” the result was the need for a “complete overhaul

of the model and the risk assessment.”

                       b.      Internal Audits Informed Defendants That Assumptions For
                               Blocks Of LTC Policies Were Stale

       186.    Internal audits conducted during the Class Period on blocks of LTC policies within

GE’s legacy insurance business lines also found that GE was relying on stale assumptions when

conducting critical, periodic deficiency testing that assessed the adequacy of GE’s LTC reserves.

       187.    In the summer of 2014, FE-2 was imbedded with a team of GE’s CAS for the

purposes of auditing at ERAC and UFLIC in the Overland Park, Kansas home office. In one

specific block case of valuation, FE-2 and his team found that the assumptions ERAC was using

were “stale by several years” and needed to be updated. As discussed above, differences in actual

versus expected lapse rates and morbidity rates (among other assumptions) typically change the

status of an insurance policy or block and result in increased or decreased future liabilities, which

can trigger, among other things, reserve increases.

       188.    FE-2 stated that ERAC’s senior management agreed with his audit findings. The

exception was presented to the actuary responsible, and was quickly confirmed. The actuary

reported the corrected amount, thus the magnitude of the exception was made known. The actuary

reported the exception to ERAC management. The correction was an increase in reserves for the

block. FE-2 noted that the Audit Manager independently reported on status of audit exceptions

and progress to ERAC management. As noted above, all audit issues were entered into Audit

Works, and reported as described in ¶¶ 172, 183.




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                       c.      Actuarial Analyses Concluded That Assumptions Used In
                               Periodic Testing Bearing On The Adequacy Of GE’s LTC
                               Reserves Were Susceptible To Results-Driven Manipulation

       189.    Despite assuring investors that GE maintained adequate controls over its financial

reporting, including with respect to its reported “Life insurance benefits,” multiple witnesses

confirmed that testing conducted to assess the adequacy of those reserves could be—and, in fact,

was—manipulated to avoid generating negative events (i.e., events indicating that LTC liabilities

exceed LTC investments (i.e., incoming premiums and interest earned thereon)).

       190.    FE-1 explained that after assumptions were approved and locked in during the

assumption governance phase, discussed above in ¶ 171, they were loaded into models by ERAC’s

Chief Actuary, Ramsey, and David Benz (“Benz”), the LTC Managing Actuary. These models

were used to test cash flow liabilities and assets in the asset adequacy and loss recognition phases.

Importantly, both FE-1 and FE-2 explained that once assumptions are proposed, debated, and

approved in the assumption governance phase, any subsequent changes made to the approved

assumptions must be supported by detailed reasons and back-up documentation.

       191.    On numerous occasions during the Class Period, however, assumptions impacting

the results of GE’s cash flow testing and loss recognition testing were inexplicably altered without

any justification. To this end, FE-1 explained that in late 2015 (November and December),

Ramsey and Benz stopped providing FE-1 with the documentation necessary to back-up the

changes in assumptions they had made—changes FE-1 recalled were “really big changes.” Indeed,

after Thanksgiving 2015, FE-1 started to receive updated liability cash flow results from Benz

“without adequate justification or explanation as to what had changed in the liability cash flow

model.” FE-1 suspected that Benz and Ramsey were looking at the liability cash flows and making

changes to the liability assumptions. They would then ask FE-1 to run those updated liability cash

flows in the asset adequacy process. But, FE-1 was never given the actual liability assumptions;


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instead, he was only given the results of the liability cash flow test. When FE-1 requested from

Ramsey and Benz the underlying model through which the results were generated, it was never

provided. Instead, he was told, among other things, that certain assumptions had been changed.

       192.    FE-1 recalled that he started receiving “much larger” changes with very little or no

justification—changes “so big, I couldn’t reconcile them [with prior cash flow testing results], get

comfortable with them.” According to FE-1, if the difference made by a change was over $50

million, he would dig deeper into the different line items such as premiums and expenses to try

and understand the change. FE-1 recounted how there were a couple instances where the

difference from one iteration of a cash flow test to another was hundreds of millions of dollars and

he could tell that it was coming directly from claims, which are the result of two assumptions

(morbidity (or frequency) and utilization (what percentage of the total benefit is being used)). FE-

1 was told by Benz that the changes were requested by Ramsey.

       193.    FE-1 further recalled long, closed door sessions between Benz and Ramsey after

which FE-1 would get a new iteration of liability cash flow without explanation. FE-1 suspected

assumptions were being changed with a predetermined cash flow target in mind. By November

2015, FE-1 suspected he was being excluded from the assumption-setting process. FE-1 expressed

his concerns about the model changes to Ramsey, William Steilen (ERAC’s CFO at the time), the

CEO of ERAC, and to GE’s auditors (KPMG).

       194.    During the loss recognition testing phase of the actuarial process in May to June

2016, which followed the asset adequacy phase, FE-1 calculated a “loss recognition event” of

around $200 million. FE-1 believed that GE Capital would “need to come up with” this amount

and hold additional GAAP reserves. After FE-1 presented this information to Ramsey and others

though, Ramsey went up to Steilen’s office and came back down hours later showing that they had




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a $78 million surplus because they changed the way they were doing loss recognition testing. FE-

1 recalled how Ramsey and Steilen claimed to be “calculating this in a much better way.” When

FE-1 received one of the last iterations of liability cash flows from Benz, Benz let FE-1 know that

he was “very uncomfortable” with what he had received from Ramsey.

        195.    FE-2 explained that the GE Capital Audit team, FE-1, and KPMG were “all in

agreement” about FE-1’s concerns regarding liability cash flow and loss recognition testing (in or

around the summer of 2016). According to FE-2, KPMG confirmed understanding the concerns

related to loss recognition testing that were raised in a detailed memo written by FE-1 during the

time of this audit. FE-2 recalled that the memo was reported by FE-1 to be sent to Mr. Ramsey.

        196.    Despite these glaring and obvious flaws in the actuarial process used to test the

adequacy of GE’s Benefit Reserves, Defendants nonetheless continued to rely on the results of

such testing throughout the Class Period, as GE continued to reaffirm the adequacy of its reserves

against insurance liabilities.

                        d.       Defendants Were Aware Of The Adverse Claims Experiences
                                 Of The Direct Writers Of LTC Policies GE Reinsured

        197.    As discussed above, well before the beginning of the Class Period, across the LTC

industry, claims were significantly higher than insurers had expected, due to increased longevity,

low lapse rates, and increases in healthcare costs.

        198.    The industry experience of the LTC insurers that GE reinsured should have been

well-known to GE as reinsurer of these policies. As set forth in the chart below, since at least

2010, the direct writers of the LTC policies that GE reinsured through its ERAC and UFLIC

subsidiaries had actual-to-expected claims ratios that exceeded 100%, meaning that the dollar

value of claims they actually incurred exceeded the dollar value of claims that insurers had

expected to incur based on their assumptions regarding lapse, mortality, and morbidity rates:



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   Summary Of Actual-To-Expected Incurred Claims Of Direct Writers Reinsured By
   GE’s Insurance Subsidiaries
                         Actual Incurred  Expected Incurred    Actual/Expected
          Year
                              Claims           Claims          Incurred Claims
              2010              $933,348,253           $769,416,073              121.3%
              2011             $1,015,285,925          $822,131,849              123.5%
              2012             $1,134,956,979          $889,907,347              127.5%
              2013             $1,163,070,256          $947,562,692              122.7%
              2014             $1,315,692,123         $1,001,765,149             131.3%
              2015             $1,371,258,779         $1,176,457,386             116.6%
              2016             $1,550,652,840         $1,127,639,021             137.5%

       199.     Analysts have noted that actual-to-expected claims ratios of 116% or greater “paint

an alarming picture.” As reflected in the preceding chart, six of the seven years were significantly

worse than 116%, presenting a catastrophic miss from a statistical point of view.

       200.     In fact, on September 15, 2017, after GE first alerted investors to the potential for

a reserve charge on its LTC portfolio, Evercore analysts issued a report expressing their belief that

some of the LTC blocks that GE reinsured were experiencing “actual to expected claims

performance” as high as 162%.

                       e.      Defendants Knew GE’s LTC Portfolio Contained Over 300,000
                               Policies With Substantial Risk

       201.     Despite purporting to “exit” the industry, Defendants knew prior to and throughout

the Class Period that GE’s over 300,000 LTC policies exposed the Company to a number of risks,

none of which were disclosed to investors. As stated above, in both the Genworth IPO and GE’s

sale to Swiss Re, GE was forced to retain a substantial portion of its remaining LTC exposure,

including many of the most high risk blocks. As multiple former employees explained, Genworth

and Swiss Re refused to take on the “bad ones” because of the policies’ “long-term unknown risk.”

       202.     Miller served as a controller during the Genworth IPO. According to FE-4, Miller’s

responsibilities preparing for the Genworth IPO were such that she did “almost everything except


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actuary work,” including analyzing what business stayed and went in the IPO and consolidating

financial information related to affected businesses. Miller would have been “intimately” involved

with the Genworth IPO and related reinsurance of the three product lines by UFLIC, FE-4 stated,

and would have been given a list of LTC policies that reflected the underlying risk.

                      f.        Defendants Knew That The LTC Industry Was Deteriorating

       203.    As shown above, Defendants also knew well before the Class Period—and

repeatedly touted to investors—that the LTC market was in serious decline. As Zanin admitted in

January 2018, “[v]irtually, the entire industry has experienced greater claims than originally

anticipated where more people go on claim and for longer than expected.”

       204.    In addition, GE was a member of the Society of Actuaries Long Term Care

Insurance Section (“SOA LTCI”), which, among other things, publishes newsletters three times

per year and organizes section meetings, including a three- to four-day annual meeting, to discuss

pertinent issues and ongoing research projects in the LTC insurance industry. The newsletter is

called Long-Term Care News and, as stated in each newsletter, “is free to section members” and

“available on the SOA website (www.soa.org).”

       205.    Prior to and during the Class Period, Long-Term Care News published articles that

chronicled the negative issues facing LTC insurers. For example, the August 2014 issue of Long-

Term Care News (Issue 36) featured the article Mechanics and Basics of Long-Term Care Rate

Increases as its centerpiece. The article described the “misses of the past in terms of pricing

assumptions and the need for rate increases” which by then had “been well established.” The

article discusses how industry-wide mis-estimation of morbidity, persistency, and interest rates,

among other things, had resulted in a general need for premium increases, advocating that there

ought to be a “shift” in the thinking and regulation “regarding LTC rates and the basis for which a

rate increase is determined.”


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       206.    Key GE personnel intimately involved with the Company’s LTC portfolio served

in SOA LTCI leadership roles and published for the SOA LTCI during the Class Period. For

example, Jim Berger, an LTC Valuation Actuary and Economic Capital Actuary with GE during

the Class Period, was the “Chairperson” of the SOA LTCI and, in that role, oversaw the SOA

LTCI’s activities in 2014. David Benz, ERAC’s LTC Managing Actuary responsible for locking

in the assumptions during the assumption governance phase, published in the Long-Term Care

News. The Vice Chairperson of the SOA LTCI in 2014 was Robert Hanes, a director at KPMG

LLP in Radnor, Pennsylvania.

       207.    According to Issue 36 of Long-Term Care News, SOA LTCI held its annual

meeting in Orlando, Florida in October 2014, and included a “standing room only” general session

tackling the “elephant in the room”—whether “the long-term care insurance industry ha[s] a future

given its current challenges, missed assumptions and plummeting sales.” The session featured a

presentation by Genworth CEO Thomas McInerney, during which he discussed his belief that

“many carriers in the industry waited too long to take action when emerging [claims] experience

was incongruent with original assumptions and recommend[ed that] carriers annually evaluate

results against assumptions.”   The 2014 annual meeting also included a presentation titled

Mitigating Industry Trends in LTC Experience. According to a 2017 LTC industry report issued

by Credit Suisse, the presentation “demonstrated the need for additional premium rate increases

across the industry” and suggested that, without a rate increase, the industry may suffer a $50

billion premium shortfall.

       G.      Defendants Belatedly Reveal The Extent Of GE’s LTC Exposure And GE
               Records A Massive $9 Billion Reserve Charge Along With A Commitment
               To Increase Capital Contributions By An Additional $15 Billion

       208.    As noted above, throughout the Class Period, investors were led to believe that GE

no longer had any material LTC exposure. However, as investors would belatedly learn at the end


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of the Class Period, GE had retained, concealed, and under-reserved for billions of dollars in LTC

insurance liabilities.

        209.    In was not until July 21, 2017—just one fiscal quarter after Bornstein and Laxer

falsely represented to investors that low interest rates were the primary reason why the Company

was retaining its run-off insurance business—that GE announced that, in truth, it was suffering

from “adverse claim experience in a portion of our long-term care portfolio,” and that this

negative LTC claims experience was severe enough to require the Company to reassess the

adequacy of its insurance reserves. However, after years of being told that GE Capital’s risk had

been reduced and that the insurance business had been successfully exited, coupled with the

complete removal of GE’s LTC liabilities from its Disclosed Insurance Liabilities, the market did

not and could not fully appreciate what was still to come.

        210.    Three months later, on October 20, 2017, the Company revealed that roughly 50%

of its total insurance reserves—or over $12 billion—related to GE’s LTC exposure, and further

announced that it was suspending GE Capital’s $3 billion dividend payment to GE until its reserve

analysis was completed. Less than a month later, Miller admitted that even though its reserve

testing was not yet complete, GE expected its forthcoming LTC reserve charge to eclipse the size

of GE Capital’s $3 billion dividend payment.

        211.    Finally, GE shocked analysts and investors alike on January 16, 2018, when it

recorded a $9 billion charge to earnings related to an increase to the Company’s LTC Benefit

Reserves. The Company further disclosed that, due to an increase in its future LTC liabilities, GE

Capital expected to contribute $15 billion in capital to its insurance subsidiaries over the next

seven years.




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       H.       Additional Allegations Of Scienter

       212.     Defendants were active and culpable participants in the fraud, as evidenced by their

knowing or reckless issuance and/or ultimate authority over GE’s and the Individual Defendants’

materially false or misleading statements and omissions. The Individual Defendants acted with

scienter in that they knew or recklessly disregarded that the public statements more specifically

set forth in Section VII were materially false or misleading when made, and knowingly or

recklessly participated or acquiesced in the issuance or dissemination of such statements as

primary violators of the federal securities laws. In addition to the specific facts alleged above

Defendants’ scienter is further evidenced by the following facts:

       213.     First, Defendants deliberately removed GE’s enormous LTC liabilities from its

public filings the day before the start of the Class Period, breaking from prior practices and

excluding LTC liabilities from its required Disclosed Insurance Liabilities without any explanation

to investors. See Section V.C. By excluding LTC liabilities and failing to offer any explanation,

GE falsely represented in SEC filings that it had no material LTC exposure (i.e., payment

obligations).   The timing of Defendants’ decision to exclude this information is highly

suspicious—indeed, the Company had included LTC liabilities in its pre-Class Period disclosures,

and after GE finally revealed the extent of its LTC exposure in the 2017 10-K, it reverted to this

pre-Class Period practice. Then and only then did GE report that its insurance liabilities had

skyrocketed to $38.0 billion.

       214.     Moreover, it is implausible that Defendants were unaware of the nature and extent

of GE’s increasing LTC liabilities, as: (i) GE reviewed and quantified these liabilities before

intentionally removing them from the Company’s Disclosed Insurance Liabilities before the first

day of the Class Period; (ii) Flannery has admitted that GE reviewed its LTC insurance exposure

by no later than 2015 as part of the GE Capital Exit Plan; and (iii) at least as of July 2016, Bornstein


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spoke directly on the topic of LTC insurance. Further, it is implausible that over $20 billion in

previously unknown insurance liabilities materialized overnight, or even in the year since GE’s

prior annual review.

       215.    Second, Defendants were required to quantify GE’s LTC liabilities, future payment

obligations, and reserves every year as part of GE’s annual reserve deficiency testing, and

deliberately chose not to disclose them. As a regulated insurance business, GE was required to

perform deficiency testing (including cash flow and loss recognition testing) to determine the

adequacy of its LTC reserves when actual experience differed from the originally expected

experience for each primary assumption. As part of such testing, GE was obligated to (and

purportedly did) calculate its future payment obligations, including those under its LTC insurance

policies. And GE did. As Zanin stated on January 16, 2018, “[e]ach year, we perform an annual

premium deficiency test, which, under GAAP, test[s] to ensure the sufficiency of our current

reserves plus future premiums to pay future claims across all insurance books. In all prior years,

these test[s] resulted in a positive margin, which, under GAAP, requires that original assumptions

above the book remain locked.” Yet, despite doing so, Defendants intentionally (and inexplicably)

excluded GE’s LTC payment obligations from GE’s Disclosed Insurance Liabilities and failed to

increase GE’s LTC reserves in accordance with those obligations.

       216.    Third, Defendants knew GE’s LTC liabilities compromised nearly half of the

Company’s Benefit Reserves. When GE finally began breaking out its LTC reserves in 2017, it

was revealed that nearly 50% ($9 billion of its $19.2 billion) of its “Life insurance benefits” (or

Benefit Reserves) and nearly 70% ($3.4 billion of its $4.9 billion) of its “Claims Reserves” were

attributable to its LTC insurance exposure. This information was readily available to Defendants,

as Bornstein confirmed in October 2017 when he revealed that “the long-term care book at GE




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Capital’s legacy insurance business [] represents $12 billion or roughly 50% of our insurance

reserves.” Given the size of GE’s LTC reserves and their material contribution to GE’s total

insurance reserves throughout Class Period, it is implausible that Defendants were unaware of the

nature and extent of the Company’s LTC-related liabilities and risks.

       217.    Fourth, Defendants repeatedly assured investors that GE was eliminating its LTC

business and had minimal remaining exposure to LTC insurance. Prior to and throughout the Class

Period, by Defendants’ own admission, they were hyper focused on the Company’s exit from the

LTC business and made numerous false or misleading statements to investors to minimize the

extent of GE’s remaining LTC insurance exposure. For example, Immelt told investors at various

times that GE had “exited all the insurance businesses” and “sold all the insurance businesses,”

while Sherin similarly stated that “all of the insurance business is gone.” Indeed, Defendants made

statements and/or fielded questions regarding this precise issue during earnings calls and investor

conferences. In that regard, the Individual Defendants controlled the contents of their statements

on behalf of the Company. These and related statements strongly and plausibly suggest that each

of the Individual Defendants had detailed knowledge of or access to the material facts and

information misrepresented or concealed by Defendants.

       218.    Fifth, the magnitude of the required increase in GE’s LTC reserves and the

Company’s significant overstatement of prior earnings supports an inference of scienter. On

January 16, 2018, Defendants revealed that GE’s belated reserve testing related to its LTC

portfolio showed that the Company was materially under-reserved and disclosed that it would take

an “after tax GAAP charge of $6.2 billion for the fourth quarter of 2017” on an approximately $9

billion pre-tax charge, and that GE would need to make an additional “statutory reserve

contributions of ~$15 billion over seven years.” GE’s LTC reserve charge erased GE’s entire




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earnings reported from all other segments for fiscal 2017, and almost all of the profits previously

reported by GE Capital’s “Verticals” segment over the four years prior. Given the sheer size of

the LTC reserve charge, it is implausible that Defendants were unaware of GE’s LTC liability or

that GE had materially understated that LTC reserve during the Class Period. As one analyst from

Vertical Research Partners, LLC reported following GE’s shocking disclosure, “[i]t is hard to

imagine a $15 billion problem materialized in the course of a year, like there was not enough rigor

behind this process.”

       219.    Sixth, the Individual Defendants held high-level positions and had access to

material, adverse, nonpublic information concerning GE’s LTC portfolio, underlying policies, and

exposure. As GE’s CEO, CFOs, and CAO during the Class Period, Immelt, Bornstein, Sherin

(who also served as GE Capital’s Chairman and CEO from July 2013 until September 2016),

Miller, and Hauser, controlled the Company’s day-to-day operations and were informed of and

responsible for monitoring GE’s LTC liabilities, and the impact of those liabilities on the

Company’s operations. Similarly, as the President and CEO of GE Capital from September 2016

until his retirement from GE, which was announced in December 2017, Laxer controlled GE’s

day-to-day operations at GE Capital.

       220.    In their respective roles, the Individual Defendants had access to various sources of

nonpublic (and public) information concerning the Company’s LTC exposure, including its

contractual obligations and liabilities, the nature of the underlying policies within the LTC

portfolio, GE’s claims experience, and the claims experience of industry participants. These

sources made readily available to Defendants information that was adverse to their public

statements during the Class Period.




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       221.    In addition to the information identified above, the Individual Defendants likewise

had access to an overwhelming amount of internal information directly related to GE’s LTC

portfolio, including: (i) the assumptions underlying the over 300,000 LTC policies the Company

had been unable to unload to Genworth, Swiss Re, or any other entity; (ii) the claims experiences

of the insurance provides whom GE reinsured since the inception of the LTC policies, many of

which date back decades; (iii) the analyses and results of GE’s periodic loss recognition,

deficiency, and statutory cash-flow testing to assess the adequacy of the Company’s Benefit

Reserves, which, among other things, shows whether an entity has sufficient reserves to cover

expected future payment obligations; (iv) GE’s estimates on their current and required LTC

reserves; and (v) the analyses and reports, including model validation, of the Company’s internal

actuaries, auditors, and other employees focused on risk. The fact these Defendants had access to

this detailed information shows that Defendants knew, or were reckless in not knowing, that GE’s

LTC reserves (reported only as a portion of the Company’s overall reserves) was materially

understated.

       222.    Seventh, Immelt, Sherin, and Bornstein reviewed, approved, and signed GE’s false

or misleading SEC filings and certifications pursuant to SOX and Exchange Act Rule 13a-14(a).

The alleged fraud includes numerous false or misleading reported financial results and figures, and

violations of accounting and disclosures regulations. During the Class Period, as GE’s CEO and

CFOs, Immelt, Sherin, and Bornstein signed GE’s SOX certifications in connection with GE’s 10-

Qs and 10-Ks filed with the SEC (the “SOX Certifications”). As signatories of both: (i) the SOX

Certification representing that “[t]he information contained in th[e] [SEC filings] fairly presents,

in all material respects, the financial condition and results of operations of [GE]; and (ii) the Rule

13a-14(a) certification representing that the Company’s SEC filings did “not contain any untrue




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statement of a material fact or omit to state a material fact necessary to make the statements made

. . . not misleading,” these Defendants each had a duty to monitor any conduct or information that

threatened to undermine the veracity of these filings, including all material facts concerning GE’s

LTC exposure and its impact on the Company’s financial performance and condition. As GE’s

CEO and CFOs, these Defendants’ knowledge or recklessness is imputed to the Company.

       223.    Eighth, the timing and circumstances of resignations of high-ranking executives,

including Immelt, Bornstein, Sherin, and Laxer during or shortly after the revelation of the alleged

fraud is highly suspicious. Just weeks before GE surprised investors when it began to disclose

adverse material facts concerning the Company’s LTC reserves and exposure, GE announced that

Immelt would “resign” as CEO of GE, effective July 31, 2017, and that the Board of Directors had

voted to appoint Flannery as CEO, effective August 1, 2017. In August 2017, just after GE

revealed that it was “assess[ing] the adequacy of our premium reserves” and would “update”

investors the following quarter, GE announced that Sherin would also “resign” from his position

as CEO of GE Capital, effective September 1, 2017, and would similarly exit his positions as Vice

Chairman and Executive Officer of GE.

       224.    Then, shortly before the October 20, 2017 announcement that the $12 to $14 billion

Industrial CFOA figure would be slashed to $7 billion, Bornstein unexpectedly departed GE,

despite having been named to the important post of “Vice Chairman” just a short time earlier in

June 2017. Indeed, at a June 12, 2017 GE “CEO Succession Investor Meeting,” Immelt stressed

the importance of Bornstein’s role going forward. Immelt stated that “one of the things [he] feel[s]

best about is the Flannery-Bornstein partnership, which [he] view[s] as being critical to the

company.” Flannery added—in response to a question from a Morgan Stanley analyst about “the

John [Flannery] and Jeff Bornstein partnership”—that Flannery “is excited to have Jeff [Bornstein]




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as a partner. And I think that’s what you should expect.” Bornstein, for his part, stated, “I’ve

known John [Flannery] for the better part of 23 years” and “I couldn’t be more excited about this.

I think that we’re excited to get John up to speed and really tackle some of what’s possible for this

company.” Less than four months later, the “partnership” GE had trumpeted to investors as being

critical to the Company was abruptly terminated. On October 6, 2017, GE announced that

Bornstein would leave the company and forfeit 80% of the lucrative award package he had just

received after being named Vice Chairman. Shortly thereafter, GE slashed its dividend and, in

early 2018, the apparent reason for the dissolution of the Flannery-Bornstein partnership came to

light. The Company announced two separate SEC investigations into GE’s practices related to

LTC insurance and accounting for Contract Assets and LTSAs (discussed below), all of which

occurred under Bornstein’s watch.

       225.    Finally, in December 2017, in the middle of GE’s belated “deeper dive” into the

adequacy of its LTC reserves, Laxer, who had just become GE Capital’s CEO a year earlier,

abruptly “resigned” from GE.

       226.    Ninth, the SEC investigation into the same misconduct alleged herein supports an

inference of scienter. GE disclosed on January 24, 2018 that it had “been notified by the SEC that

they are investigating the process leading to the [LTC] insurance reserve increase and the fourth-

quarter charge as well as GE’s revenue recognition and controls for long term-service agreements.”

VI.    DEFENDANTS’ CONTRACT ASSET, LONG-TERM SERVICE AGREEMENT,
       AND INDUSTRIAL CFOA FRAUD

       227.    As GE Capital was in the process of being wound down during the Class Period,

GE’s Industrials segment became the focus of GE’s growth. GE Power was the largest unit within

its Industrials business during the Class Period. As a result, analysts and other market participants




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viewed the GE Power segment as a key indicator of the profitability of GE’s core operations and

as a key indicator of the strength of GE’s Industrials operations.

       228.    Unbeknownst to investors, during the Class Period, Defendants were engaged in

various practices designed to artificially prop up the appearance of Industrials’ financial strength,

including the strength of GE Power. Central to Defendants’ deception was GE’s Contract Assets,

an item it reported in its financial statements.

       229.    As part of its Industrials energy business, GE builds large-scale power generation

facilities, including the equipment and services necessary to maintain these facilities over extended

time frames. The agreements themselves are termed LTSAs, and such agreements might include

monitoring, maintenance, service, and spare parts for a gas turbine installed in a customer’s power

plant. An LTSA’s typical duration is between 5 and 25 years. The profits that GE expects to earn

over the lifetime of the agreements that govern these projects are booked as Contract Assets on

GE’s balance sheet. As discussed below, the long-term nature of the LTSAs enabled GE to

manipulate such agreements in order to artificially inflate its Contract Assets, which in turn inflated

its reported revenues and profits.

       230.    Defendants’ artificial inflation of GE’s LTSA Contract Assets during the Class

Period: (i) gave investors a false picture of the profitability of GE’s closely-watched Power

segment; (ii) violated GAAP; (iii) rendered misleading GE’s statements, which are discussed

below, about how it accounted for Contract Assets; and (iv) purportedly enabled GE to meet its

short-term earnings targets. In addition, the artificial inflation of GE’s LTSA Contract Assets was

not sustainable and ultimately created material risks to GE’s health, and ultimately led to an $8.7

billion write-down of those assets as of year-end 2017.




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       A.      Background On GE Power’s Operations And LTSAs

       231.    The GE Power segment builds industrial products such as power plants, turbines,

and generators, and provides power generation, industrial, government, and other customers

globally with products and services related to energy production. These products and technologies

harness natural resources, such as oil, gas, coal, diesel, and nuclear to produce electric power and

include gas and steam turbines. Within the GE Power segment are a number of divisions that

provide customers different product and services offerings through LTSAs, including a division

called GE Power Services.

       232.    GE explained that it provides its “customers with solutions to meet their needs

through a broad portfolio of aftermarket services, including equipment upgrades, long-term

maintenance service agreements, repairs, equipment installation, monitoring and diagnostics,

asset management and performance optimization tools,” among other things.

       233.    As noted, the sale of gas turbines was a major source of GE’s revenue. As a result,

senior management, including Immelt and Bornstein, were keenly aware and routinely discussed

such sales, including their purported impact on GE Power’s growth, with investors. For example,

on January 17, 2014, during GE’s 4Q13 Earnings Call, Immelt reported that there were “125 orders

for heavy-duty gas turbines.” Bornstein likewise explained that GE had 65 orders of gas turbines

in the fourth quarter alone, up from 26 in the prior year. In GE’s 4Q14 Earnings Call for 2014,

held on January 23, 2015, Bornstein reported that GE saw 41 gas turbines orders in the fourth

quarter of 2014. At this point, Bornstein was projecting to “grow services, including” in 2015,

and expected to see a “flat gas turbine market.”

       234.    Similarly, on January 22, 2016, in its Q415 earnings call, Immelt reported that

“Power booked 12 H-turbine orders in the quarter, and we now have 33 in backlog.” And on




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January 20, 2017, in its Q417 earnings call, Immelt reported that nine H-turbines had shipped in

the prior quarter.

       235.    Senior management’s focus on gas turbine sales and associated LTSAs is not

surprising. Throughout the Class Period, GE Power accounted for a substantial portion of GE’s

revenue and overall profits. Indeed, the GE Power segment generated $26.8 billion of GE’s overall

revenue of $123.7 billion in 2016 and $36.0 billion of GE’s overall revenue of $122.1 billion in

2017, representing approximately 30% of GE’s total revenue in 2017. Even as technological and

energy innovations weakened the power market over the last decade, GE Power reported profits of

$5.4 billion in 2014 (which GE subsequently revised downward in its 2015 10-K), $4.5 billion in

2015, $5.0 billion in 2016, and $2.8 billion in 2017.

       B.      GE’s LTSA Revenues And Corresponding Contract Assets

       236.    As noted above, LTSAs represent long-term agreements that require GE to

maintain and service customer assets. According to GE’s 2017 10-K, it recognizes revenue on its

LTSAs as it performs under the agreements “based upon costs incurred at the estimated margin

rate of the contract.” According to the Company, “[r]evenue recognition on [LTSAs] requires

estimates of both customer payments expected to be received over the contract term as well as the

costs to perform required maintenance services.” Thus, in essence, the Company estimates the

total revenues it expects to generate and the total costs it expects to incur from an LTSA, then uses

those estimates to distribute revenues and profits over the life of the LTSA.

       237.    However, GE’s LTSA customers do not pay GE according to the same timeline that

GE uses to recognize revenues. Rather, LTSA customers generally pay GE “based on the

utilization of the asset (per hour usage for example) or upon the occurrence of a major event within

the contract such as an overhaul.”




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         238.     Because GE recognizes revenues as it performs under the LTSAs but does not bill

customers until certain utilization milestones or major events are achieved, GE frequently

recognizes LTSA revenues before it actually bills, or receives payment from, its LTSA customers.

         239.     To account for this timing discrepancy, GE reports revenues that have been

recognized, but not yet billed, on LTSAs as a sub-category of assets identified as Contract Assets

in its financial statements. As GE explained in its Class Period quarterly filings, “[c]ontract assets

reflect revenues earned in excess of billings on our long-term contracts to construct technically

complex equipment (such as gas power systems and aircraft engines), long-term product

maintenance or extended warranty arrangements and other deferred contract related costs.” 1Q16

10-Q at Note 8.

         240.     During the Class Period, GE reported rapidly growing Contract Assets. Between

2012 and 2015, GE’s disclosed Contract Assets were as follows:

       ($bn)                   2012               2013               2014             2015
       Contract
                              $9.443             $12.522         $16.990            $21.156
       Assets

         241.     The growth of Contract Assets continued in 2016 and 2017. In 2016, GE expanded

its disclosure of Contract Assets, disclosing for the first time the proportion of its Contract Assets

that were comprised of LTSAs and beginning in 2017, GE further disclosed the proportion of the

LTSAs attributed to GE Power:

       ($bn)                           2015                 2016                   2017
       Contract Assets                $21.156              $25.162                $28.861

       GE LTSAs                    $10.3466                $12.752                $15.157

       GE Power LTSAs             Not reported             $6.595                 $7.439




6
    This figure was subsequently disclosed in the 2016 10-K.


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        242.    As evident from the table above, 55% and 65% of the increases in GE’s Contract

Assets in 2016 and 2017, respectively, were due to LTSAs.

        C.      GE’s Use Of Assumptions To Determine LTSA Revenues And Contract
                Assets

        243.    As noted above, GE determines LTSA revenues and the value of the resulting

Contract Assets based on the expected profits that it anticipates earning—and the costs it expects

to incur—over the life of its LTSAs. Thus, the methodology and assumptions used to forecast

these revenues and costs are critical to the accuracy of GE’s reported LTSA-related revenues and

Contract Assets.

        244.    In particular, a detailed and accurate understanding and evaluation of how

customers will utilize their assets over the term of the LTSA is critical to determining an accurate

profit margin. Indeed, as GE disclosed in the 2017 10-K, “a significant estimate in determining

expected revenues of a contract is estimating how customers will utilize their assets over the term

of the agreement.”

        245.    Because, as described above, utilization rates are also critically important to the

timing of the payments that GE receives under its LTSAs, “[t]he estimate of utilization will impact

both the amount of customer payments [GE] expect[s] to receive and [GE’s] estimate of costs to

complete the agreement as asset utilization will influence the timing and extent of overhauls and

other service events over the life of the contract.”

        246.    Due to the critical importance of utilization rates to the revenues GE recognized

under its LTSAs—and the timing of payments from LTSA customers to GE—GE assured

investors that it had insight into its customer utilization rates. For example, in each of the 10-Ks

it filed with the SEC during the Class Period, GE stated that it “gain[s] insight into future utilization

and cost trends . . . through our knowledge of the installed base of equipment and the close



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interaction with our customers that comes with supplying critical services and parts over extended

periods.” Indeed, FE-5 explained that, with customer consent, GE had technology installed to

monitor customer assets for which it provided services, such as gas turbines. GE was then able to,

and did, access the information regarding customer utilization in “real time.”

       247.    Further, because GE calculates LTSA revenues and Contract Assets using long-

term assumptions regarding, among other things, utilization rates, instances arise where those

assumptions, and thus GE’s estimated revenues, change over the life of an LTSA. During most of

the Class Period, such changes were reflected in GE’s financial statements through an accounting

mechanism known as a “cumulative catch-up adjustment.” In simple terms, a cumulative catch-

up adjustment was a way for GE to record revenues attributable to changes in the profit margins

that GE expected to earn on its LTSAs.

       248.    Cumulative catch-up adjustments could be either positive or negative. A positive

cumulative catch-up may occur when a reporting company determines that it has been

underestimating its margin on its LTSAs, and adjusts its expected profits upward, resulting in an

increase in revenues. By contrast, a negative cumulative catch-up adjustment may occur when a

reporting company adjusts its expected profits downward, resulting in a reversal of revenues, or

loss recognition.

       249.    During the Class Period, GE’s adjustments were referred to as “cumulative”

because, as discussed in ¶ 261, below, if GE changed its expected profit margin in the third year

of a 10-year LTSA, the accounting rules at the time permitted GE to record, in a single period, all

three years of increased (or decreased) expected profits that resulted from this change.




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        D.      Defendants Ignore Objective Customer And Industry Data To Avoid
                Recording Negative Cumulative Catch-Up Adjustments

        250.    In the early 2000s, GE was experiencing significant growth throughout Europe and

other international locations. When the LTSAs were negotiated during this time, the power plants

subject to the LTSAs were generally run at full capacity around-the-clock thereby incurring a high

utilization rate.

        251.    For the reasons described above, these utilization rates were critical to GE’s ability

to recognize revenues, and collect cash, on LTSAs. According to FE-7, when GE entered into an

LTSA, the pricing in the contract was largely based upon the number of hours the subject plant (or

equipment) was expected to run or be utilized, and the significant service work and billing dates

on many LTSAs were often tied, in part, to the same. Thus, the more (or fewer) hours a turbine

runs, the more (or less) opportunity for GE to perform and bill for major service work. In addition,

the more (or fewer) hours a turbine runs, the more (or less) quickly it will reach the milestones that

trigger cash payments to GE under its LTSAs.

        252.    Utilization of traditional power sources began to decline in or around 2008 during

the worldwide financial crisis. Put simply, plants were used with less frequency, generating less

wear-and-tear that would normally have required GE services (and produced GE services

revenues) and delayed GE from reaching milestones under the LTSAs that would have triggered

GE’s ability to invoice revenues.

        253.    The downturn in the energy markets continued into the Class Period, as improved

energy conservation and a greater reliance on renewable energy sources meant that GE’s customers

ran their power turbines for fewer and fewer hours each year. According to a report called 2017

Power and Utilities Industry Trends, published by PricewaterhouseCooper, “[e]nd-use electricity

consumption declined in 22 out of 28 E.U. countries between 2005 and 2014,” and “the electricity



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sales growth rate since 2002 has hovered around 1 percent or less per year, and demand has

declined in five of those years.” Indeed, according to the Department of Energy’s Energy

Information Administration, electricity consumption in the U.S. peaked in 2007 and has declined

ever since, despite population and economic growth in the ten ensuing years. In the first nine

months of 2017, for example, electricity generation declined by 2.6% compared to the same period

in 2016.

        254.   GE’s customers were not immune to these dramatic changes in the industry. FE-5

stated that from 2010 into the Class Period, GE realized through its monitoring of customer

utilization that usage of oil/gas turbines by customers was down 80 to 90%. Making matters worse,

as these contracts came up for renegotiation or renewal, GE was no longer able to push the prices

it once had for LTSAs. To this end, FE-5 explained that when GE entered into many of the existing

LTSAs in the early 2000s, the Company had the ability to pressure counterparts into signing

LTSAs at high prices in exchange for GE moving that counterpart up the priority list for new

equipment sold by GE. Because of these market conditions, certain of GE’s LTSA customers were

either unable or unwilling to carry out their LTSAs at the current terms. FE-5 explained that

because of the way GE recognizes revenue on LTSAs, if and when an LTSA is terminated, GE

would have to write off the value of it from its backlog of revenue. GE avoided this outcome at

all costs.

        255.   At this same time, Power was selling fewer gas turbines, which significantly

reduced GE Power’s ability to generate new LTSAs (according to FE-5), but increased GE Power’s

reliance on LTSAs to make up for revenue shortfalls through cumulative catch-up adjustments

(described below).




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       256.    All told, market conditions during the Class Period had a three-fold negative impact

on GE Power: (i) fewer turbine sales; (ii) fewer new LTSAs; and (iii) lower expected revenues and

profits on existing and new LTSAs. In addition, market conditions negatively impacted the

Company’s cash flows, as reduced utilization rates pushed out the milestones that triggered

payment to GE.

       257.    Rather than incorporate these unfavorable market conditions into its revenue and

cash flow estimates for its LTSAs (which would have resulted in negative cumulative catch-up

adjustments), GE largely ignored them. According to multiple former employees, GE Power did

not adequately consider (or ignored) the current and future run rates of LTSA customers when

estimating future costs, revenues, and margins on its LTSAs. Instead, according to FE-7, GE used

the historical average of run rates over the prior three years, which were known internally not to

reflect the current and likely future turbine run rates (to which GE had direct access to and could

view in real time). Thus, FE-7 explained that the assumptions used to estimate future costs,

revenues, and margins on GE Power Services’ LTSAs were deficient.

       258.    Importantly, use of historical averages was not a reliable means of estimating

profitability (i.e., revenue and costs) since the demand for power—and corresponding amount of

time a turbine would run—was declining world-wide. By using a historic three-year average—

rather than taking into account the known current and estimated future decline in hours—to project

revenue and costs on a multi-year contract, FE-7 explained that GE improperly delayed

recognizing the negative contract cumulative catch-up adjustment necessary to reflect fewer

anticipated billing opportunities during the remainder of the contract.       Indeed, rather than

immediately incorporate lower utilization rates into its models, GE’s methodology gradually




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incorporated these rates over a three-year period. This had the effect of inflating the reported

Contract Assets.

       259.    In 2016, FE-7 was involved in simulating what would have happened to GE Power

Service’s LTSA revenues if it utilized a one-year average instead of a three-year average to

estimate the unit’s margin percentage. FE-7 understood, based on conversations with GE Power

employees, that the simulation was requested by Teo Osben, the Chief Risk Financial Officer of

Multi-Year Agreements, and that he ultimately decided against using a one-year average because

it had a negative impact on GE’s global cumulative catch-up adjustments.

       E.      GE Power Relies On Undisclosed, Unsustainable Practices To Trigger
               Positive Cumulative Catch-Up Adjustments And Conceal GE Power’s
               Decline

       260.    In addition to ignoring market factors indicating that the profitability of GE’s

LTSAs was declining during the Class Period, GE Power took matters one step further by

employing a host of unsustainable business practices in order to trigger positive cumulative catch-

up adjustments. These accounting adjustments artificially inflated GE’s revenues and Contract

Assets in the short term, and served to maintain the façade around GE Power’s profitability and

contribution to GE’s overall success that Defendants created through false or misleading

statements made during the Class Period.

       261.    Positive cumulative catch-up adjustments can generate significant and immediate

increases in revenues for a company. For example, assume that a company revises its estimates in

year three of a 10-year LTSA such that it now expected to earn $20 per year on the LTSA instead

of $10. During year three, the Company would book an immediate profit of $40 ($20 it expects

to earn in year three plus an additional $10 in profit for each of years one and two). In this example,

during the year in which the cumulative catch-up adjustment was recorded, profits from this LTSA

quadrupled over the prior year.


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       262.    In practice, GE used positive cumulative catch-up adjustments as a tool to meet its

earnings targets. According to FE-7, it was internally acknowledged within GE Power Europe that

once growth and earnings targets were set each year, cumulative catch-up adjustments would be

used to make up the difference between the numbers that were actually achievable and the targets

that were set. FE-7 estimated that, between 2015 and 2017, a significant portion of GE Power

Services Europe’s profits were generated from cumulative catch-up adjustments.

       263.    Thus, in response to decreasing customer utilization and other market factors,

which negatively (or should have negatively) impacted the margins on GE’s LTSAs, FE-7

explained that Power actively renegotiated LTSAs with customers solely for the purpose of

increasing the total contract margin and thus generating immediate positive cumulative catch-up

adjustments. Indeed, during the Class Period, there were teams at Power specifically dedicated to

identifying contracts that were good candidates for generating positive cumulative catch-up

adjustments (or avoiding negative cumulative catch-up adjustments) through renegotiation,

according to FE-7.

       264.    Power’s use of contract renegotiations, described in detail below, to artificially

increase its Contract Assets misled investors as to the strength of Power’s business and financial

condition, and exposed GE to the risk of declining revenues in the event it was no longer able to

manipulate existing LTSAs to generate such adjustments. That risk, as well as the practices that

created the risk, were concealed from investors.

       265.    Indeed, as multiple former employees explained, Power only had a finite number

of LTSAs in its portfolio and a limited number of ways to renegotiate and manipulate those LTSAs

to squeeze out positive cumulative catch-up revenue increases, all at the expense of future

profitability. FE-5 explained that GE Power were forced to offer incentives, such as free




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technology updates or discounted services, to prevent customers from terminating the agreements.

This meant GE’s undisclosed reliance on renegotiating LTSAs to inflate GE’s Contract Assets

would inevitably be curtailed. In other words, as Power ran out of LTSAs to manipulate, the

positive cumulative catch-up adjustments GE was using to prop up profits would come to a

crashing halt.

       266.      Notably, by the end of 2017, according to FE-7, GE Power Services Europe had

already exhausted most of the techniques that GE used to trigger these revenue-boosting

cumulative catch-up adjustments and which were relied upon to conceal the fact that the Company

was not generating revenue organically.

       267.      As shown below, Power’s reliance on manipulating and “renegotiating” LTSAs—

at the expense of future profitability—was well known within GE. According to FE-5 and FE-10,

GE maintained operations plans and modeling tools for all LTSAs that included projections for

services, costs, revenues, and profitability (i.e., margins). These plans and tools were originally

run through an Excel-based program, COSMOS, and were later moved to a server-based

application called ICAM, which allowed for even more enhanced reporting, analysis, and

modeling, FE-5 explained. FE-5 further explained that COSMOS, and later ICAM, were modeling

tools used to create a “hypothesis” of predicted future use of the equipment and give an

understanding of earnings. According to FE-5, “all commercial people” used and could access the

system.

       268.      According to FE-10, customer run time, forecasted outages, scheduled service and

maintenance dates, and expenses are certain of the primary inputs. FE-10 explained that the

information populated into these plans was usually provided by GE Power’s Contract Performance

Managers (“CPMs”), each of whom was stationed at the specific customer location and served as




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GE’s “eyes and ears” at those locations. FE-10 further explained that once the information was

populated into the system, it generated a schedule for service and/or maintenance based on, among

other things, current run rates, and produced a revised revenue forecast and cumulative catch-up

adjustment (negative or positive) based on that information. Based on his experience and

familiarity with the process, FE-10 believed there were instances where the models concluded a

negative cumulative catch-up adjustment was needed in light of changing conditions, but those

results were either ignored or altered.

          269.   Defendants also had access to regular reporting on the renegotiations of LTSAs,

and their financial impact. To this end, during his tenure, FE-7 wrote quarterly status update

reports on contractual renegotiations for purposes of GE’s reporting requirements. Those reports

included the number of renegotiations, the number of commitments secured from the

renegotiations, and the impact on cumulative catch-ups. These reports were written for the

controller in Europe to send to GE’s corporate headquarters. FE-7 understood his reports were

provided to the controller in Europe and then sent to GE’s Global Controller, who then delivered

them to Hauser. Hauser, in turn, signed the SOX Certifications, as GE’s CAO.

          270.   Intentionally omitted.7

          271.   As set forth below, the undisclosed techniques Power used to trigger positive

cumulative catch-up adjustments exposed GE to a number of undisclosed risks.




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    The allegations at paragraph 270 attributed to FE-6 have been removed at his request.


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                 1.     Eliminating GE-Provided Services To Increase Short-Term Profits At
                        The Expense Of Long-Term Profits

        272.     In order to trigger positive cumulative catch-ups during the Class Period, GE Power

eliminated from existing LTSAs the costs associated with certain designated services that, but for

their elimination, would have also generated future revenues and profits.

        273.     Specifically, in order to increase the overall profit margin on a particular LTSA,

GE Power would eliminate the component of the LTSA that called for GE-sourced labor and

instead allow the customer to use its own labor services, according to FE-7. This practice, known

as “de-scoping,” had the effect of increasing the short-term profit margin on the labor portion of a

service contract, which was typically lower relative to the higher margins on capital parts and

upgrades.      Removing the lower-margin GE labor from the service contract mathematically

increased the overall average profit margin over the life of the contract, because the contract would,

as a result, consist of mostly higher margin future capital parts and upgrades. This, in turn, would

trigger a positive cumulative catch-up adjustment and increase short-term revenue because the

profit margin on the contract was now higher.

        274.     These manipulations of existing service contracts to generate higher margins and

thus cumulative catch-up revenue came at a long-term cost to GE Power. By removing labor

portion of the service contract, GE actually cut its long-term profits (i.e., the profit to be earned on

the service calls through the provision of labor) just so that it could increase its short-term margins

and report windfall cumulative catch-up adjustments in the particular quarter, padding earnings.

                 2.     Extending Payment Terms And Discounts, But Failing To Account
                        For Risk Of Customer Non-Payment

        275.     In order to persuade customers to agree to renegotiate LTSAs, thus enabling GE to

trigger positive cumulative catch-up, FE-7 and other former employees explained that GE was

often forced to give concessions, such as price discounts and deferrals of payment. Thus, GE was


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foregoing future revenues and profits, as well as their ability to timely collect, in order to generate

artificial earnings through adjustments.

        276.    As FE-7 explained, GE Power was effectively lending money to its customers but

failing to account for any associated credit risk, and assumed for its own accounting purposes that

future collection on the LTSAs was certain (and therefore did not maintain any sort of reserve to

account for future risk on its Contract Asset account). By failing to account for any risk associated

with its LTSAs, GE made unreasonable revenue and profitability estimations despite representing

to investors that its LTSA revenue and profit estimates account for customers’ overall risk profile

(including credit risk).

                3.         Providing Free Technology Without Recognizing A Corresponding
                           Reduction In LTSA Revenues Or Profitability

        277.    During the Class Period, in an attempt to prevent LTSA customers from fleeing,

GE Power also gave away technology updates that otherwise would have garnered revenues and

cash under the respective LTSAs.

        278.    “AGPs” referred to GE’s “Advanced Gas Path” overhaul, which was essentially a

package of products that GE sold to its turbine customers, having the overall effect of upgrading

the turbines and making them more efficient. As J.P. Morgan analyst Tusa stated in a report dated

December 12, 2016, the AGP “overhaul, booked as a one-time transaction, raises revenue in the

year delivered, but, as per our channel checks, can lower the future services revenue stream,

essentially a one time bump, and a pull forward of services revenue.” Tusa also reported that “a

mosaic from channel checks with several utilities suggests that a post-AGP renegotiation of related

services contracts is common, and the event likely represents a material amount of the $1.4 billion

of non-cash LTSA gains booked in 2015.”




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          279.   The Wall Street Journal reported on February 22, 2018 that other former executives

confirmed that GE was, indeed, “pulling future profit forward.” In particular, in an article titled,

How Jeffrey Immelt’s Success Theater Masked the Rot at GE, The Wall Street Journal wrote,

“Some analysts have expressed concern GE’s accounting for the [AGP] upgrades masked pressure

on the [Power] division. According to former executives, the upgrades meant lower service fees

for customers, in exchange for one-time upgrade costs, meaning that future sales were being

pulled forward.” Indeed, FE-5 similarly stated that GE Power offered incentives, such as free

technology updates or discounted services, to prevent customers from terminating the agreements.

                 4.      Intentionally Omitted

          280.   Intentionally omitted.8

          281.   Intentionally omitted.9

          282.   Intentionally omitted.10

                 5.      Unilaterally Altering Services Under LTSAs

          283.   To inflate revenues, GE also stopped replacing parts despite contractual obligations

to do so, all under the guise of employing a new “reliability maintenance” approach to units GE

Power was servicing.

          284.   FE-10 gave the example of a car warranty that provided for the replacement of a

particular part at a certain mileage interval, where the service related to that replacement was

already paid for, but the service provider refused to make the replacement if it believed the unit or

part was operating in a reliable manner. FE-10 explained that this practice enabled GE Power to




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    The allegations at paragraph 280 attributed to FE-6 have been removed at his request.
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    The allegations at paragraph 281 attributed to FE-6 have been removed at his request.
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     The allegations at paragraph 282 attributed to FE-6 have been removed at his request.


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increase profitability over the life of an LTSA. FE-10 recalled this practice created many problems

with customers, as they had contracted for periodic servicing and were not receiving it.

        F.      Defendants Use “Factoring” To Bridge The Cash Divide Between GE’s Non-
                Cash Cumulative Catch-Up Adjustments To Revenue And Industrial CFOA

        285.    GE’s manipulation of its Contract Asset balances and cumulative catch-up

adjustments drove GE Power to report strong financial results during the Class Period. For

example, the GE Power segment reported revenues of $20.6 billion, $21.5 billion, and $26.8 billion

2014, 2015, and 2016, respectively. During the same years, Power reported impressive profits of

$5.4 billion (which GE subsequently revised downward in its 2015 10-K), $4.5 billion, and $5.0

billion, respectively.

        286.    According to GE’s Class Period SEC filings, cumulative catch-up payments

accounting for an increasing percentage of the GE Industrial’s profits:

 ($bn)               2012         2013          2014          2015          2016           2017
 Cumulative
 catch-up            $0.4          $0.3         $1.0          $1.4          $2.2           $2.1
 adjustments
 GE
 Industrials       $15.486       $16.220       $17.764      $17.966       $17.598       $14.740
 Profit
 Percent             2.6%         1.9%          5.6%          7.8%         12.5%           14.3%

        287.    In fact, according to a November 1, 2017 article in The Wall Street Journal entitled

GE Shows How ‘Black Box’ Assets Boost Profits, LTSA increases boosted GE’s earnings for the

third quarter of 2017 by $649 million on a pre-tax basis and by $1.93 billion for the first nine

months of 2017, equaling 44% and 51% of pre-tax earnings from continuing operations for each

period, respectively.

        288.    In addition to the concealed risks described above, GE’s increased reliance on non-

cash cumulative catch-up adjustments to drive Industrials’ revenues created a serious cash flow




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problem for the Company. Much of the revenue that GE was booking as a result of these

adjustments would not translate into cash for the year, and likely would never turn into cash

because, as described above, GE had been artificially inflating its Contract Asset values solely to

generate cumulative catch-up revenue. Thus, as GE increasingly relied on cumulative catch-up

adjustments during the Class Period without actually collecting any cash (a discrepancy that was

exacerbated by reduced utilization rates), the Company’s reported Contract Assets swelled, but so

did the gap between GE’s earnings and its Industrial Cash Flow from Operating Activities, or

CFOA. For example, while GE reported steadily increasing Industrials revenues in 2015, 2016,

and 2017 ($108.796 billion, $113.676 billion, and $116.157 billion, respectively), Industrial

CFOA declined sharply over the same period—from $12.238 billion in 2015, to $11.610 billion in

2016, to just $9.698 billion in 2017.

        289.    As The Wall Street Journal noted in an October 30, 2017 article titled GE’s

Numbers Game: Pick from Four Earnings Figures, “[t]ypically, big gaps between earnings, which

are calculated on an accrual basis, and cash flow, which is money going into and out of a company,

are a red flag for investors.”

        290.    In an effort to mask this red flag, and as a result of the cash crisis created by GE

Power’s reliance on cumulative catch-up revenue, FE-7 confirmed that beginning in 2015, GE

Power’s management created a task force that was responsible for determining how to accelerate

cash collection on GE Power’s LTSAs, which would help to conceal that GE was renegotiating

contracts solely to boost earnings at the expense of collecting payment. FE-7 was directly involved

with his U.S. counterparts during the first through third quarter of 2016 in working to find ways

for GE Power to generate CFOA.




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       291.    The solutions FE-7 and his U.S. counterparts developed were known as

“monetization,” which involved factoring (i.e., selling) receivables in order to generate CFOA. To

create the invoices used for factoring, GE Power Services would persuade its customers to

renegotiate the billing contract terms so that the triggering event for an invoice was earlier in time

than it would have been (in some cases, by a number of years), but for the contract renegotiation.

FE-7 explained that this practice enabled GE to pull forward the future customer billing into the

current accounting period so that it could bill the customer immediately.

       292.    However, FE-7 further explained that in order to induce the customer to enter into

such a modification and agree to revised invoicing terms, GE would typically have to discount the

payment required and also push the actual payment due date further into the future—often by a

year or more (compared to the non-renegotiated scenario). This was done solely in order to allow

GE Power to accelerate the invoicing of the customer (i.e., create invoices) for purposes of

factoring, with no actual change to the underlying performance obligations.

       293.    FE-7 explained that in order to actually “monetize” this payment, which was not

yet due, GE would then factor the receivable by selling it to either Working Capital Solutions

(“WCS”), a subsidiary of GE Capital, or an outside party, often with negative consequences to GE,

such as decreased profit on the receivable. FE-8 worked on negotiations for LTSAs for new

products, and took part in planned contract negotiations with prospective customers. FE-8

understood from at least one of those planned calls that GE needed new contracts signed quickly

so that GE could turn and sell the LTSA to banks for cash.

       294.    FE-9 explained that factoring was widespread within the Power (and Renewable)

Divisions.    He specifically recalled GE was factoring “everything” in Renewable and his

counterparts in Power were doing the same. FE-9 was aware of factoring within the Power




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Division while he worked in the Renewable Division because Power and Renewable were under

the same management umbrella with the same approval chain up until 2014 or 2015. FE-9 recalled

that he would send factoring proposals up the management chain each quarter and approvals would

come back down through the chain.

       295.    GE Power’s reliance on factoring to generate CFOA was well known within GE.

Indeed, FE-9 explained that, at an internal meeting in or around June 2017, Bornstein

acknowledged GE’s reliance, noting that the Company was “in too deep” to depart from the

practice. FE-7 similarly explained he worked with Kevin Weber, GE Power’s Senior Commercial

Finance Manager in the U.S., who informed and educated FE-7 about various techniques used

globally by GE Power to generate CFOA. FE-7 also stated that Estela Delgadillo, GE’s Global

Cash Leader for GE Power who reported directly to Donovan, the CFO of Power Generation

Services during the Class Period, hired Kevin Weber in early 2016 specifically to lead the global

monetization effort.

       296.     GE’s monetization of its LTSAs was also recorded in weekly, monthly, and

quarterly reports, according to FE-7. The quarterly reports outlined the total amount of cash that

GE had generated through monetization, broken down by region. The monthly reports contained

the same information as the quarterly reports for Power Services Europe, and the weekly reports

were used to assess which customer contracts needed to be renegotiated for purposes of GE’s

cumulative catch-up adjustments. FE-7 understood that the quarterly reports, which were in the

form of a Power Point presentation, were ultimately used for GE’s quarterly Blueprint Review for

discussion with GE Power’s global leadership, including Paul McElhinney (President and CEO of

GE Power Services from May 2014 through December 2017) and Donovan. According to GE’s

current organizational chart, the individuals who hold both of these positions report directly to the




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CEO of GE Power, who in turn reports directly to GE’s CEO. Moreover, given the size and

frequency of GE Power’s factoring to GE Capital—and the overall impact such factoring had on

GE Power’s and GE Capital’s balance sheets—it is implausible that Laxer, as the CEO of GE

Capital, was unaware of this practice or its purpose.

       297.     GE Power’s reliance on “monetization” exposed GE to a number of risks.

According to FE-7, since GE Power was selling fewer and fewer power turbines and equipment

after the economic crisis began in 2008, it consequently had fewer new customers to whom it could

sell new LTSAs. At the same time, the existing number of LTSAs available to monetize was finite.

As a result, after monetizing customers’ future payments as often as possible in 2016, there were

fewer and fewer monetization opportunities, and eventually the cash crisis could no longer

be concealed.

       G.       With An Accounting Change Looming, Defendants Slowly Reveal GE’s
                Unsustainable Overreliance On Cumulative Catch-Up Revenues

       298.     GE’s reliance on cumulative catch-ups to boost its revenue recognition while

impairing the quality of its Contract Assets was unsustainable because it created a huge gap

between the revenues booked immediately and cash estimated to be generated over the long-term.

As the revenues that were booked immediately were increasingly based on unreasonable

assumptions and based on longer extensions of the terms, the probability of actually generating

cash from the Contract Assets, declined. Moreover, any effort to close the gap between Contract

Asset revenues and cash through factoring had a limited life.

       299.     Most notably, however, GE’s scheme to manipulate its LTSAs was not sustainable

because the accounting standards that had allowed for cumulative catch-up adjustments were

changing. Specifically, in May 2014, the Financial Accounting Standards Board announced

disclosed amendments to the then-current revenue recognition standards through ASC 606, which,



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among other things, prohibited companies like GE from recognizing cumulative catch-up

adjustments on its LTSAs. GE knew that when these amendments became effective on January 1,

2018, its scheme would collapse.

       300.    In light of this looming accounting change, GE was forced to make additional

disclosures about its reliance on cumulative catch-up revenues, though still did not reveal the true

enormity of its accounting manipulation. For example, during the February 22, 2017 Barclays

Industrial Select Conference, Bornstein stated:

       The other is in our long-term service contract accounting. We have an enormous
       portfolio, many times bigger than anybody else in the space, both in power—
       principally in power systems and aviation.

       And the rules around it are changing. And it’s complex, but there are several things
       that we do today that we account for on a cum[ulative]-catch basis—I’ll explain
       that in a moment—that now we’ll be accounted for on a prospective basis. So, for
       instance, if you have a contract with a customer today and you modify it.

       You add a bunch of new equipment to it, you extend the maturity, you change
       something around the operating conditions, and you reprice it. A lot of these things
       are priced on a per-utilization perhour basis, if you will.

       In today’s model, that kind of a modification you would go back to the first day of
       the contract, recalculate based on the changes. What’s the margin rate for the
       contract now? If the margin rate went down, you go back to day one, and you’ll
       book a loss for restating times zero to the current date on the lower margin rate.

       If the margin rate is higher, you do the opposite. You get a cum[ulative]-catch gain,
       and you restate the margin rate of contract. So for things like modifications,
       termination clauses, etc., upgrades, all of that will be accounted for prospectively
       as opposed to retrospectively.

       301.    With fewer LTSAs to factor and its inability to continue relying on cumulative

catch-up revenues, GE’s charade was up and the catch flow issues that were created by its LTSA

scheme began to materialize. On April 21, 2017, while GE reported profits that were in line with

expectations, GE reported—as Immelt admitted in a conference call held that day—that

“Industrial CFOA was a negative $1.6 billion.” Bornstein elaborated, stating, “our industrial



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CFOA was at $1.6 billion usage of cash, about $1 billion below our expectations” due in large

part to $1.4 billion in negative cash flows from GE’s LTSAs. GE’s 1Q17 earnings press release

explained that Industrial CFOA for 1Q17 was a mere $370 million (i.e., before deducting CFOA

attributable to GE Capital dividends in the amount of $2 billion) and had declined year-over-year

95% from $7.902 billion in 1Q16. The market reacted swiftly to this shocking news, as GE’s stock

price fell 2.4% on heavy trading volume despite the otherwise favorable report on earnings—as

distinguished from cash flow.

       302.      Immelt and Bornstein “played off” the tremendous Industrial CFOA shortfall as a

temporary phenomenon.         Immelt stated on GE’s April 21, 2017 earnings call that GE’s

disappointing Industrial CFOA was just a “slow start” and that—despite starting out $1.6 billion

in the hole after first quarter 2017 results—Industrial CFOA would improve so dramatically during

the remainder of the year that full year 2017 guidance of $12 to $14 billion would still be achieved.

Immelt stated, “[d]espite a slow start, we plan to hit $12 billion to $14 billion of industrial CFOA

for the year.”

       303.      On GE’s July 21, 2017 earnings call, Bornstein stated that GE was “trending to the

bottom end of the $12 billion to $14 billion range on CFOA,” but affirmed that “[d]ividend remains

[GE’s] priority,” and then went on to represent that Power would be up in the second half of 2017,

stating, “then when you think about total year, we still think about the Power business being up

mid-single digits on revenue and up roughly high to low double digits on earnings.”

       304.      Several months later, on October 20, 2017, GE announced that Industrial CFOA

for 2017 would be slashed almost in half from the $12 billion figure Immelt and Bornstein had

assured the market could be achieved. On an October 20, 2017 earnings call, GE’s new CFO

Miller (Bornstein had departed abruptly, as explained more fully below), stated that:




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        On cash flow, we now expect industrial cash flow for the year to be about $7 billion
        . . . . This is well below the $12 billion estimate we provided at second-quarter
        earnings, and it’s principally driven by three businesses. Power is the biggest
        driver on lower volume, higher inventory, and the timing of payments on long-term
        equipment contracts.

        305.   On this news of a gargantuan slash to Industrial CFOA (as well as the simultaneous

announcement that “upstreaming” of dividends from GE Capital to GE would be suspended

pending a review of LTC insurance reserves, as discussed above), analysts began to focus on the

daunting possibility that GE would cut its dividend. Of course, while the market did not know it,

the dividend cut was inevitable due to the concealed fraud. The 50% dividend cut was ultimately

announced not long thereafter, GE’s stock price sank precipitously as news of the cut was released,

and disclosure of an SEC investigation into GE’s accounting for its LTSAs followed.

        306.   Events after the Class Period corroborate the fraud, as Industrials cash flow

continued downward in 2018 due to the fact that the fraud at GE Power could no longer be

sustained. Indeed, in its April 20, 2018 earnings call, GE reported that “total industrial free cash

flow was negative $2 billion in the [first] quarter [of 2018].” Further, the Company’s 2018

financial figures confirm the material extent to which GE had been using cumulative catch-up

adjustments to pad its reported revenues and profits. For example, no longer able to rely upon

cumulative catch up revenues, GE reported on July 20, 2018 that Power’s revenues declined 19%

year-over-year, while quarterly profits plummeted by 58% year-over-year. Overall, GE’s reported

EPS declined by 33%, from $0.12 in the second quarter of 2017 to $0.08 in the second quarter of

2018.

        307.   That GE’s class period reliance on its unsustainable practices of boosting revenues

from cumulative catch-up adjustments and artificially inflated assessments of revenue from

Contract Assets is underscored by GE Power’s abysmal performance in the two quarters since the

SEC began its investigation into GE’s practices.


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       H.      GE’s Post-Class Period Restatement Confirms The Extent To Which
               Defendants Manipulated Cumulative Catch-Up Adjustments And Their
               Material Impact On GE’s Reported Financial Statements During The Class
               Period

       308.    On April 13, 2018, in response to ASC 606’s revenue recognition amendments

becoming effective, GE filed an 8-K with the SEC restating its financials and quantifying the

impact that such adjustments had on its financial performance during the Class Period.

       309.    Under the cover of a change in accounting rules, the Company now disclosed in the

4/13/18 8-K that it was effectively writing down the value of its LTSA Contract Assets by $8.7

billion. This disclosure confirms the stunning extent to which GE relied upon cumulative catch-

up revenues to generate profits during the Class Period. Indeed, with this disclosure, GE

effectively admitted, among other things, that: (i) it had previously booked over $8.7 billion in

revenues due to cumulative catch-up adjustments that have not yet turned into cash for the

Company; (ii) more than half (57%) of GE’s reported LTSA Contract Assets as of year-end 2017

were the product of cumulative catch-up adjustments; and (iii) its LTSA Contract Assets are

actually worth 57% less than previously reported.

       310.    In light of the above, GE admitted that ASC 606’s revenue recognition amendments

had “significantly impacted all of our industrial businesses except for Renewable Energy,

Healthcare, and Current and Lighting” GE further acknowledged its efforts to manipulate Contract

Asset values during the Class Period to generate cumulative catch-up adjustments, admitting that

“contract modifications were accounted for [by GE] as cumulative effect adjustments” during the

Class Period, and that the Company was now being more conservative with how it estimated the

terms of its LTSAs, now defining it as “the shorter of the stated term or the term not subject to

unilateral termination.”




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       311.      As reflected in the below chart, GE’s restatement confirms that its quarterly and

annual profits and EPS were materially impacted by its manipulation of cumulative catch-up

adjustments:

                            Fiscal                                                          Fiscal
                                          1Q17          2Q17       3Q17           4Q17
                            2016                                                            2017
 Diluted EPS                $ 1.00       $ 0.10         $ 0.15    $ 0.22      $ (1.15)     $ (0.68)
 Diluted EPS From
 Cumulative Catch-          $ 0.13       $ 0.08         $ 0.03    $ 0.05          $ 0.13   $ 0.30
 Up Adjustments
 Diluted EPS Minus
 Cumulative Catch-          $ 0.87       $ 0.02         $ 0.12    $ 0.17      $ (1.28)     $ (0.98)
 Up Adjustments
 % Inflation of
 Diluted EPS From
                             13%          80%           20%        22%            10%       44%
 Cumulative Catch-
 Up Adjustments

       312.    While several of GE’s competitors issued similar restatements following the

enactment of ASC 606’s revenue recognition amendments, none were even remotely close to the

size of GE’s adjustments. For example, as reported by The Financial Times in an April 19, 2018

article titled General Electric sets out on road to regaining investors’ trust:

       The revisions resulting from ASC 606 have been much greater for GE than for some
       of its peers. Boeing revised its 2017 operating earnings of $10.3bn up by $66m.
       Lockheed Martin shaved just $8m from reported 2017 operating profits of about
       $5.12bn. United Technologies said in February that it expected the new standard
       to have “an immaterial impact” on net income this year. For Microsoft, reported
       operating income for 2016-17 was revised up from $22.3bn to $29bn.

       For GE, by contrast, the new standard meant revising 2017 profits from industrial
       operations down by 17 per cent, from $14.7bn to $12.2bn, mostly because of a
       changed view of long-term contracts for servicing equipment such as aero engines
       and turbines for power plants. As originally reported, those profits fell 16 per cent
       from 2016. Under the new standard, they were down 23 per cent.

       313.    In addition, The Financial Times article included the below chart, which confirms

that nearly every one of GE’s divisions had used the prior accounting standard to improve the

appearance of their financial performance in 2017:



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       314.    In response to GE’s restatement, The Financial Times quotes J.P. Morgan analyst

Tusa as stating that ASC 606 has “la[id] bare the truth of the actual economics” of GE’s LTSAs.

       315.    Thus, as described above, and as GE has now effectively admitted, the Company’s

Class Period financial results were achieved to a material degree by recording cumulative catch-

up revenues that ignored objective, verifiable information concerning declines in utilization

throughout the power industry and, specifically, within the Company’s own customer base. GE’s

manipulation of its Contract Assets, its failure to properly account for critical negative

developments, despite assuring investors that these factors were, in fact, the basis by which GE

determined revenue recognition on LTSAs, rendered GE’s disclosed Contract Assets, and

associated catch-up adjustments for the LTSA portion of those Contract Assets, unreliable and

unsupported.




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       I.      Additional Allegations Of Scienter

       316.    Scienter is further evidenced by the following facts:

       317.    First, GE repeatedly touted GE Power’s purported financial strength and growth to

investors, including its contribution of significant revenues and profits to GE’s bottom line.

During the Class Period, GE Power was identified as one of GE’s “core segment[s]” and repeatedly

touted Power as a primary driver of GE’s growth prospects and value, directing investors’ attention

to Power’s purported ability to, among other things, contribute significant earnings to GE. Indeed,

in January 2017, Bornstein flouted “double-digit earnings growth in Power” for 2017, noting GE’s

focus to deliver services growth with Power. All told, the Power segment generated revenues of

$20.6 billion, $21.5 billion, and $26.8 billion in 2014, 2015, and 2016, respectively. During the

same years, Power reported profits of $5.4 billion (which GE subsequently revised downward in

its 2015 10-K), $4.5 billion, and $5.0 billion, respectively. In short, Power’s performance was of

paramount importance to GE (and investors) during the Class Period.

       318.    Second, the sheer size of GE Power’s LTSAs is strong evidence of scienter. As

discussed above, LTSAs comprised almost half of GE’s entire reported Contract Assets. For

example, in 2015, LTSAs accounted for $10.346 billion of GE’s $21.156 billion in Contract

Assets, and in 2016, LTSAs accounted for $12.752 billion of GE’s $25.162 billion in Contract

Assets. In addition, cumulative catch-up adjustments on those LTSAs had a material impact on

GE’s reported earnings during the Class Period, improving GE’s reported EPS by 13% and 44%

in 2016 and 2017, respectively, and accounting for a staggering 80% of GE’s reported EPS in the

first quarter of 2017.

       319.    Third, Defendants GE, Immelt, Bornstein, Miller, Sherin, and Hauser were hyper-

focused on GE Power and the impact of new accounting rules announced in May 2014 on GE’s

revenue recognition practices for LTSAs. In November of 2016, Hauser publicly addressed the


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new revenue accounting rules to take effect in 2018, stating, “[w]e’ve been on this journey for a

while now. . . . It’s a significant undertaking that certainly we, as an entire organization, take very

seriously—our audit committee as well has been quite involved.” To this end, Bloomberg reported

that:

         Hauser gets detailed information from GE’s project management team, including a
         type of executive snapshot of updates on key areas, such as controls, disclosures
         and IT system implications.

         There is also an update on the technical memos with nitty-gritty details, including
         a status update on technical memos completed and those that are still in process.
         They are scored as high, medium or low priority in terms of their impact.

         Moreover, there is information about who has them open, whether they are
         technical or disclosures, how to do the retrospective lookback, and how to process
         and map the right general ledger accounts.

         320.   In addition Bloomberg reported that “there are monthly meetings with the CFO and

the audit committee—doing ‘deep dives’ on different technical topics and on matters that are

unique to certain segments.” With respect to contracts, like LTSAs, Hauser stated that, while

“contracts with seemingly similar terms and conditions are being evaluated in the same way,” “[i]f

it’s not all viewed the same way, then it’s an area that is worked through—weekly.”

         321.   Fourth, Immelt, Sherin, Bornstein, Miller, and Hauser held high-level positions,

controlled the contents of GE’s public statements, and had access to material, adverse, nonpublic

information concerning GE Power’s operations, including with respect to Contract Assets and

underlying LTSAs. Because of their high-level positions, each of Immelt, Sherin, Bornstein,

Miller, and Hauser was provided with, or had access to, copies of the documents alleged herein to

be false or misleading prior to, or shortly after, their issuance, and had the ability and opportunity

to prevent their issuance or cause them to be corrected. Because of their positions and access to

material non-public information concerning the Company, Immelt, Sherin, Bornstein, Miller, and

Hauser knew or recklessly disregarded that the adverse facts alleged herein had not been disclosed


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to, and were being concealed from the public, and that the representations that were being made

to investors were materially false, misleading, and/or incomplete. As the Company’s senior-most

executives, Immelt, Sherin, Bornstein, Miller, and Hauser were responsible for the accuracy of

GE’s corporate statements, and each is therefore responsible and liable for the representations

contained therein or omitted therefrom.

       322.    Fifth, as GE’s CEO, CFOs, and CAO during the Class Period, Immelt, Sherin,

Bornstein, Miller, and Hauser controlled the Company’s day-to-day operations and were informed

of and responsible for monitoring GE Power’s Contract Assets, and the impact of those purported

assets on the Company’s operations. Indeed, in their respective roles, Immelt, Sherin, Bornstein,

Miller, and Hauser had access to various sources of nonpublic (and public) information concerning

GE’s Contract Assets, including: (i) internal modeling for all LTSAs that, according to FE-5 and

FE-10, forecasted the revenues, costs, and profitability of each LTSA; (ii) the terms, conditions,

and payment obligations for each LTSA; (iii) the assumptions underlying the GE Power’s revenue

and profit margin estimates for LTSAs and the data or information on which those assumptions

were purportedly based, including with respect to customers’ current and future utilization rates;

(iv) the run rates and utilization data for each customer, particularly through GE’s monitoring

technology installed in customer units for which GE provided services; and (v) records concerning

renegotiations relating to LTSAs and monetization or factoring. As described above, these sources

made readily available to Defendants information that was adverse to Defendants’ public

statements during the Class Period. In addition, as CEO of GE’s Transportation unit during the

Class Period, Miller was aware of GE’s reliance on cumulative catch up adjustments to boost its

revenues. See ¶ 313.




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       323.    The fact that Defendants Immelt, Bornstein, Miller, Sherin, and Hauser had access

to this detailed information shows that they knew, or were reckless in not knowing, that statements

concerning GE’s Contract Assets were materially false or misleading. Indeed, during the Class

Period, GE repeatedly told investors that the Company “routinely review[ed] estimate[s]” on

LTSAs to “adjust for changes in outlook,” such that it is implausible Defendants did not know its

revenue recognition and profitability estimates on LTSAs lacked a reasonable basis in fact.

       324.    Sixth, GE has admitted that the Company did not have adequate internal controls

over revenue recognition and profit estimation practices for Contract Assets, including LTSAs.

As noted above, the alleged fraud includes numerous false or misleading reported financial results

and figures, and violations of accounting and disclosures regulations. And, as GE’s CEO and

CFOs, Immelt, Sherin, and Bornstein signed GE’s SOX Certifications. ¶¶ 411-13. As such, these

Defendants each had a duty to monitor any conduct or information that threatened to undermine

the veracity of these filings, including all material facts concerning GE’s LTSAs (and Contract

Assets, generally) and the impact of GE’s revenue recognition and profit estimation practices, and

artificial triggering of cumulative catch-up adjustments, on the Company’s financial performance

and condition. As GE’s CEO and CFOs, these Defendants’ knowledge or recklessness is imputed

to the Company.

       325.    Seventh, during an earnings conference call held before the market opened, GE

disclosed that it has “been notified by the SEC that they’re investigating . . . GE’s revenue

recognition and controls for long term-service agreements.”




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VII.    DEFENDANTS’ MATERIALLY FALSE OR MISLEADING STATEMENTS AND
        OMISSIONS OF MATERIAL FACT

        A.      Statements Regarding GE’s “Insurance Liabilities” (i.e., Disclosed Insurance
                Liabilities) And “Contractual Obligations”

                1.     Statements Regarding GE’s Insurance Liabilities Were Materially
                       Misleading

        326.    Each of GE’s SEC filings identified below contained a disclosure titled

“Contractual Obligations,” which included, among other things, GE’s Disclosed Insurance

Liabilities. Specifically, GE reported the following figures as its “Insurance liabilities” during the

Class Period:

                                                       Disclosed Insurance
                             SEC Filing
                                                        Liabilities ($bn)
                     2012 10-K (dated 2/26/13)                 $14.0
                     2013 10-K (dated 2/27/14)                 $13.5
                     2014 10-K (dated 2/27/15)                 $12.6
                     5/8/15 8-K (dated 5/8/15)                 $12.6
                     8/7/15 8-K (dated 8/7/15)                 $12.6
                     2015 10-K (dated 2/26/16)                 $11.5
                     2016 10-K (dated 2/24/17)                 $11.1

        327.    Each of the foregoing figures was materially false or misleading when reported

because by excluding GE’s LTC insurance liabilities from this disclosure, Defendants materially

understated GE’s total insurance liabilities, misled investors into believing that GE’s future LTC

liabilities were immaterial, and misleadingly overstated the adequacy of GE’s reported reserves

by falsely indicating that GE held insurance reserves that exceeded its total insurance liabilities.

See ¶¶ 117-30; 160-65.




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               2.      Statements Regarding GE’s Disclosed Insurance Liabilities Violated
                       Item 303(a)(5) By Excluding LTC Liabilities

       328.    GE was required under Item 303(a)(5) to include in its Class Period 10-Ks a tabular

breakdown of all of its known material contractual obligations. Specifically, Item 303(a)(5) states:

       In a tabular format, provide the information specified in this paragraph (a)(5) as of
       the latest fiscal year end balance sheet date with respect to the registrant’s known
       contractual obligations specified in the table that follows this paragraph (a)(5)(i).
       The registrant shall provide amounts, aggregated by type of contractual obligation.
       The registrant may disaggregate the specified categories of contractual obligations
       using other categories suitable to its business, but the presentation must include
       all of the obligations of the registrant that fall within the specified categories. A
       presentation covering at least the periods specified shall be included. The tabular
       presentation may be accompanied by footnotes to describe provisions that create,
       increase or accelerate obligations, or other pertinent data to the extent necessary for
       an understanding of the timing and amount of the registrant’s specified contractual
       obligations.

       329.    In Release No. 33-9144, dated September 17, 2010 (the “2010 Release”), the SEC

stated that “[t]he purpose of the contractual obligations table is to provide aggregated information

about contractual obligations and contingent liabilities and commitments in a single location so

as to improve transparency of a registrant’s short-term and long-term liquidity and capital

resources needs.” The 2010 Release goes on state that “registrants should prepare the disclosure

consistent with that objective,” and that “[u]ncertainties about what to include . . . should be

resolved consistent with the purpose of the disclosure.” Importantly, the SEC further stated in the

2010 Release that companies “should highlight any changes in presentation that are made, so that

investors are able to use the information to make comparisons from period to period.” Finally,

where a contractual obligations disclosure is linked to a financial statement disclosure, the SEC

advised companies in the 2010 Release to provide sufficient information to allow investors to “tie”

the information in the contractual obligations disclosure to the financial statement disclosure.

       330.    As discussed herein, GE’s Class Period 10-Ks included a tabular breakdown of its

contractual obligations, which purported to quantify GE’s total insurance liabilities. Prior to the


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Class Period, GE recognized that this amount of liabilities (referred to herein as GE’s Disclosed

Insurance Liabilities) should have included its LTC insurance liabilities. In a break with its prior

practice, however, Defendants altered GE’s disclosure practices the day before the start of the

Class Period and deliberately omitted GE’s LTC liabilities from its Disclosed Insurance Liabilities.

After the end of the Class Period, GE reverted to its pre-Class Period practices and once again

included its LTC liabilities within its Disclosed Insurance Liabilities.

        331.    Defendants’ failure to disclose GE’s billions of dollars in LTC liabilities during the

Class Period violated Item 303(a)(5), including its requirement that the tabular breakdown of

liabilities “include all of the obligations of the registrant that fall within the specified categories.”

Further, while GE’s insurance liabilities disclosures during the Class Period referenced Note 11 to

its financial statements, it contained no explanation as to how GE’s Disclosed Insurance Liabilities

related to the amounts disclosed in Note 11, or whether the figures disclosed in Note 11 included

any reserves related to GE’s LTC liabilities. In truth, investors were unable to reconcile GE’s

Disclosed Insurance Liabilities in the Management’s Discussion and Analysis of Financial

Condition and Results of Operation (“MD&A”) section of 2012 10-K and its Class Period SEC

filings to the amounts in Note 11 because Note 11 included LTC reserves while, as described

above, GE’s Disclosed Insurance Liabilities in the MD&A section excluded LTC liabilities.

        332.    By excluding its LTC liabilities from its disclosures without providing any separate

disclosure of the nature or extent of these liabilities, or how they related to GE’s disclosed

insurance reserves, GE failed to provide investors with a single meaningful disclosure of its

material insurance liabilities as required by Item 303(a)(5), and prevented investors from:           (i)

assessing the adequacy of the insurance reserves recorded in GE’s financial statements and

described in the Notes to its financial statements; and (ii) comparing GE’s Class-Period Disclosed




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Insurance Liabilities in the MD&A section (which excluded LTC liabilities) to those reported in

prior periods (which included LTC liabilities).

       333.    In sharp contrast to GE’s LTC omissions, other companies with significant LTC

exposure provided fulsome discussions of the future liabilities and risks associated with their

exposure to these risky insurance policies. For example, in its 2012 10-K and throughout the Class

Period, Genworth did not expressly exclude its LTC liabilities from its disclosed insurance

liabilities. Moreover, Genworth included footnote disclosures that, unlike GE, identified material

facts concerning its insurance liabilities and specifically explained how these liabilities related to

the insurance reserves disclosed in the notes to its financial statements. For example, Genworth

disclosed during the Class Period that its disclosed insurance liabilities amount:

       Includes estimated claim and benefit, policy surrender and commission obligations
       offset by expected future deposits and premiums on in-force insurance policies and
       investment contracts. Also includes amounts established for recourse and
       indemnification related to our U.S. mortgage insurance contract underwriting
       business. Estimated claim and benefit obligations are based on mortality, morbidity
       and lapse assumptions comparable with our historical experience. The obligations
       in this table have not been discounted at present value. In contrast to this table, our
       obligations reported in our consolidated balance sheet are recorded in accordance
       with U.S. GAAP where the liabilities are discounted consistent with the present
       value concept under accounting guidance related to accounting and reporting by
       insurance enterprises, as applicable. Therefore, the estimated obligations for
       insurance liabilities presented in this table significantly exceed the liabilities
       recorded in reserves for future policy benefits and the liability for policy and
       contract claims. Due to the significance of the assumptions used, the amounts
       presented could materially differ from actual results. We have not included
       separate account obligations as these obligations are legally insulated from general
       account obligations and will be fully funded by cash flows from separate account
       assets. We expect to fully fund the obligations for insurance liabilities from cash
       flows from general account investments and future deposits and premiums.

       B.      Statements Regarding GE Capital’s Insurance Exposures And Risks

               1.      Statements Regarding GE Capital’s Run-Off Insurance Exposure

       334.    On December 18, 2013, GE held its Annual Investor Outlook Meeting. During the

meeting, Immelt, speaking on behalf of the Company, continued to conceal GE’s mounting


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exposure to LTC insurance by touting the reduction in assets at GE Capital. He stated, in relevant

part, “[w]e’ve sold Plastics, and we sold NBC and we’ve sold the North American Retail Finance

business, we’ve sold reinsurance business, the insurance business, the bond insurance business.”

       335.    On September 8, 2014, GE issued a press release announcing the sale of its

Appliances business to Electrolux. The press release stated that GE’s “2014 portfolio activity

continues the Company’s longer-term redeployment of capital from non-core assets like media,

plastics and insurance to higher-growth-higher margin businesses in Oil & Gas, Power, Aviation

and Healthcare.”

       336.    The foregoing statements in ¶¶ 334-35 were materially false or misleading when

made. Specifically, it was false or misleading for Immelt to state that GE had sold reinsurance

business during the Class Period and for GE to state that it had redeployed capital away from

insurance without disclosing to investors that the Company remained exposed to billions of dollars

in high-risk LTC reinsurance liabilities. Immelt’s and GE’s statements misled investors to believe

that GE had reduced—and was continuing to reduce—its insurance exposures at a time when its

LTC liabilities were materially increasing.

       337.    On December 16, 2014, GE held its annual guidance and update call with analysts

and investors. GE also disseminated a presentation in connection with the call titled The Pivot,

which was presented during the call by Immelt, on behalf of the Company. In the presentation,

GE indicated that the Company had achieved its “risk reduction” goal to “[s]ell insurance before

the storm.” During the call, Immelt further stated that “we exited insurance in time.”

       338.    The foregoing statements in ¶ 337 were materially false or misleading when made.

Specifically, it was false or misleading for GE and Immelt to represent that GE had reduced GE

Capital’s risks by “sell[ing]” and “exit[ing] insurance” without disclosing that the Company




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remained exposed to billions of dollars in high-risk LTC reinsurance liabilities. Immelt’s and GE’s

statements misled investors to believe that GE had reduced—and was continuing to reduce—its

insurance exposure at a time when GE’s LTC liabilities were materially increasing. It was

similarly materially false or misleading to suggest that GE had reduced its insurance exposure “in

time” and “before the storm” without also disclosing that it remained exposed to “the storm” due

to this multi-billion dollar LTC liability.

        339.    On June 1, 2016, GE presented at the Sanford C. Bernstein Strategic Decisions

Conference during which Sherin stated the following about GE Capital:

        So, we are a lot smaller. Assets are down 50% when we filed and even within that
        a third of the assets that are remaining are in cash and liquidity. That’s up
        substantially from where it was when we were designated. And we are not just
        smaller; we exited whole pools of risk.

        340.    Sherin went on to state, in response to an analyst request to put GE’s transformation

over the last year and a half into context from a long-term perspective, that “[i]f you look at what

the portfolio is today versus take it when Jeff started, all of the insurance business is gone. That

was a huge change in the portfolio.”

        341.    The foregoing statements in ¶¶ 339-40 were materially false or misleading when

made. Specifically, it was materially false or misleading for Sherin to state that GE had “exited

whole pools of risk” and that “all of the insurance business is gone” without disclosing to investors

that the Company remained exposed to billions of dollars in high-risk LTC reinsurance liabilities.

Sherin’s statements misled investors to believe that GE had reduced its insurance exposures at a

time when GE’s LTC liabilities were materially increasing.

        342.    On February 22, 2017, Bornstein participated in the Barclays Industrial Select

Conference on behalf of GE. During the conference, Bornstein stated that “we have the stub

insurance piece which has got virtually no returns associated with it,” which prompted an analyst



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to ask whether GE would “sell the liability in that insurance kind of write a check and get rid of

it.” Bornstein responded in the negative and falsely claimed that interest rates presented a

challenge to selling such liabilities, and stated, “I think interest rates are a fundamental challenge

in selling long-term liabilities in a low interest rate environment is a challenge.”

       343.     Similarly, on March 13, 2017, GE participated in the J.P. Morgan Aviation,

Transportation & Industrials Conference during which Laxer, in response to an analyst’s questions,

created the false or misleading belief that the interest rate environment made selling GE’s LTC

portfolio unattractive at that time—when in fact it was the adverse claims experience and other

risks attendant to GE’s LTC portfolio that made the book so risky and unattractive that GE could

not sell it. Specifically, when asked “what’s the plan” for GE’s remaining insurance liabilities,

Laxer stated:

       Those are long-dated assets and given the interest rate environment we’re in right
       now, it’s not attractive to do something. We always look at it, but just given where
       rates are at this point, it’s not an attractive exit.

       344.     When pressed as to, “[w]hat sort of bogey level would you think you’d have to see

in terms of the rate environment to consider that transaction,” Laxer stated, “I think there’s a lot

of factors there. So it’s hard to give you a specific number, but we would like to see a few

increases before that would be attractive.”

       345.     The foregoing statements in ¶¶ 342-44 were materially false or misleading when

made. Specifically, it was materially false or misleading for Bornstein and Laxer to indicate to

investors that the interest rate environment was the primary impediment to GE liquidating its

remaining LTC insurance exposure without disclosing that GE had been unable to liquidate its

multi-billion dollar LTC portfolio due to its low quality, its “adverse claims experience” and GE’s

failure to adequately reserve for its future LTC liabilities.




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                 2.     Statements Regarding Defendants’ Purported Reduction Of GE
                        Capital’s Risks

          346.   On May 31, 2013, during the Sanford C. Bernstein Strategic Decisions Conference,

Neal, speaking on behalf of GE Capital, stated, “[b]ut what I’d like to do is just take a few minutes

and kind of catch you up where we are at Capital and things actually are pretty good, and we feel

good about—there’s a lot going on, lot going on in our world. But the business, I think’s, doing

well. We have made it smaller. We have made it safer. We have made it more core.”

          347.   During the same conference, Neal stated that GE Capital’s remaining portfolio was

comprised of “our best stuff” and “is very safe for us and we err on the side of being safe and

being secure.” Further, in response to an analyst’s question, “what’s the core growth on a go-

forward basis, post that run-off,” Neal stated, in part:

          The way we talk about it is to get the company—and by the way this is alchemy
          rather than science—but the way we talk about it is to get the company to a size
          where it should pencil out to be, you know, about a third of our earnings, 30% of
          earnings. Jeff talked about that and as we do that, we’re becoming a better
          company because the things that were exiting are things that we think, at least,
          are not the things that we have the most advantage in with that.

          348.   On April 10, 2015, the Company hosted a call with analysts and investors to discuss

the GE Capital Exit Plan announced earlier that day, during which Sherin stated that “[a]s you all

know, we have done a lot over the last six years to shrink GE Capital while also making it much

safer.”

          349.   The foregoing statements in ¶¶ 346-48 were materially false or misleading when

made. Specifically, it was false or misleading for Neal to represent to investors that GE Capital’s

portfolio was “very safe,” “safer,” and “our best stuff,” and for Sherin to represent that Defendants

had made GE Capital “much safer” without disclosing that the Company remained exposed to

billions of dollars in high-risk LTC reinsurance liabilities. Neal’s statements misled investors to

believe that GE had reduced—and was continuing to reduce—GE Capital’s risk exposures at a


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time when its insurance liabilities were materially increasing due to its LTC exposure. Neal’s

statements further mislead investors into believing that GE Capital had only retained the portfolios

it knew best and desired to keep when, in fact, it had been forced to retain the LTC portfolio due

to its substantial (and increasing) risks and liabilities.

        C.       Statements Regarding GE’s Insurance Reserves In Its Financial Statements
                 Were Materially False Or Misleading, Violated GAAP, and Lacked Any
                 Reasonable Basis In Fact

        350.     In each of GE’s Class Period 10-Ks and 10-Qs, and in an earnings press release

published each quarter during the Class Period, GE reported as a line item to its financial

statements, “Investment contracts, insurance liabilities and insurance annuity benefits,” both for

GE and GE Capital. GE reported the following figures during the Class Period for these line items:

                                         GE Investment
                                                               GE Capital Investment
                                      Contracts, Insurance
                                                                Contracts, Insurance
                   Source                Liabilities, and
                                                              Liabilities, and Insurance
                                       Insurance Annuity
                                                              Annuity Benefits (in $bn)
                                        Benefits (in $bn)
             2012 10-K (2/26/13)            $28.268                     $28.696
                 4/19/13 8-K                 $28.1                       $28.7
              1Q13 10-Q (5/8/13)            $28.093                     $28.681
                 7/19/13 8-K                 $27.1                       $27.6
             2Q13 10-Q (7/26/13)            $27.074                     $27.615
                10/18/13 8-K                 $26.7                       $27.2
             3Q13 10-Q (11/1/13)            $26.661                     $27.155
                 1/17/14 8-K                 $26.5                       $27.0
             2013 10-K (2/27/14)            $26.544                     $26.979
                 4/17/14 8-K                 $27.0                       $27.6
             1Q14 10-Q (5/12/14)            $27.019                     $27.604
                 7/18/14 8-K                 $27.4                       $27.9
             2Q14 10-Q (7/31/14)            $27.365                     $27.908
                10/17/14 8-K                 $27.5                       $28.0
             3Q14 10-Q (11/4/14)            $27.491                     $27.991
                 1/23/15 8-K                 $27.6                       $28.0
             2014 10-K (2/27/15)            $27.578                     $28.027
              1Q15 10-Q (5/4/15)             $27.6                       $28.2
                 5/8/15 8-K                 $27.578                     $28.027
                 7/17/15 8-K                 $26.8                       $27.4
             2Q15 10-Q (7/30/15)            $27.622                     $28.222


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                                         GE Investment
                                                                  GE Capital Investment
                                      Contracts, Insurance
                                                                   Contracts, Insurance
                 Source                  Liabilities, and
                                                                 Liabilities, and Insurance
                                       Insurance Annuity
                                                                 Annuity Benefits (in $bn)
                                        Benefits (in $bn)
              8/7/15 8-K                    $27.578                       $28.027
             10/16/15 8-K                    $26.1                         $26.6
          3Q15 10-Q (11/2/15)               $26.135                       $26.646
              1/22/16 8-K                    $25.7                         $26.2
          2015 10-K (2/26/16)               $25.692                       $26.155
              4/22/16 8-K                    $26.3                         $27.0
           1Q16 10-Q (5/4/16)               $26.318                       $26.955
              7/22/16 8-K                    $27.1                         $27.6
           2Q16 10-Q (8/1/16)               $26.135                       $26.646
             10/21/16 8-K                    $27.1                         $27.6
          3Q16 10-Q (11/2/16)               $27.126                       $27.642
         3Q16 10-QA (11/9/16)               $27.126                       $27.642
              1/20/17 8-K                    $26.1                         $26.5
          2016 10-K (2/24/17)               $26.086                       $26.546
              4/21/17 8-K                    $26.3                         $26.9
           1Q17 10-Q (5/5/17)               $26.301                       $26.880

       351.    Note 11 to the financial statements as a whole, and specifically to the balance sheet

entry for the line items, “Investment contracts, insurance liabilities and insurance annuity

benefits,” both for GE and GE Capital, in each of GE’s 10-Ks for the fiscal years 2012 through

2016, included line items for “Life insurance benefits” and “Other.” GE reported the following

figures (in $bn) during the Class Period for these line items:

              Note 11 for
                               2012         2013        2014         2015       2016
                 10-K
                 “Life
              insurance
                             $20.427      $18.959     $20.688       $19.978    $18.741
               benefits”
                 ($bn)
               “Other”
                              $3.304       $3.405      $3.369       $3.223      $4.992
                 ($bn)


       352.    Each of the foregoing figures in ¶¶ 350-51 was materially false or misleading when

made for the reasons discussed below.



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               1.      GE’s Reported “Life Insurance Benefits” Were Materially Misleading

       353.    GE’s line item titled “Life insurance benefits” in Note 11 was actually reflected in

its “Benefit Reserves,” of which approximately 50% was associated with high-risk LTC insurance

policies and none of which was for life insurance policies. The remainder of this reserve was

associated with structured settlement annuities and “shadow adjustments.” ¶¶ 155-56. Given the

materially different risk profile of life insurance policies versus LTC policies, it was materially

misleading to refer to GE’s LTC reserves as “Life insurance benefits.”

       354.    GE’s line item titled “Other” actually constituted its Claims Reserves, the vast

majority of which (as much as 70%) was held against GE’s toxic LTC contracts. See ¶ 158. Given

the specific and known risks associated with LTC reserves, it was materially misleading to refer

to the LTC Claims Reserves as an “Other” category.

       355.    Additionally, the “Life insurance benefits” line item was purportedly a reserve

against GE’s Disclosed Insurance Liabilities which were disclosed in each MD&A for each 10-K.

               2.      GE’s Reported Reserves Were Materially False Or Misleading
                       Because They Were Not Based On A Meaningful Inquiry Nor Had
                       Any Reasonable Basis In Fact

       356.    GE’s insurance reserves and liabilities and its “Life insurance benefits” reported in

Note 11 to its financial statements, set forth in ¶¶ 350-51 above, were materially false or misleading

when made because they did not rest on a meaningful factual inquiry nor have any reasonable basis

in fact. As set forth in ¶¶ 175-96 above, numerous former employees directly responsible for

testing and auditing GE’s reserve assumptions revealed that GE did not have valid models

associated with or adequate controls its reserve testing process, and that GE’s senior management

had received repeated warnings during the Class Period about the deficiencies in GE’s reserve

testing for LTC liabilities. Moreover, Defendants were aware of deterioration within the LTC

industry and GE’s LTC portfolio. See ¶¶ 197-207.


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       357.    In addition, on July 22, 2016, the Company hosted its 2Q16 Earnings Call, during

which Bornstein stated that the “vertical businesses earned $452 million this quarter down 15%

from prior year including higher base earnings offset by lower gains and higher insurance reserve

provisions resulting from updates to our models on our runoff long-term care book.”

       358.    In the 2Q16 10-Q, GE announced a $100 million increase in its insurance reserves,

revealing, “[w]ithin [GE] Capital, Verticals net earnings decreased by $0.1 billion due to higher

insurance reserve provisions ($0.1 billion) and lower gains, partially offset by core increases.”

       359.    The foregoing statements ¶¶ 357-58 were materially false or misleading when made

for the reasons set forth in ¶ 356. Furthermore, Bornstein’s disclosure of a $100 million increase

to GE’s LTC Claims Reserves was materially false or misleading without disclosure of GE’s multi-

billion dollar insurance liability for future LTC claims related to this portfolio.

       D.      GE Violated GAAP By Failing To Disclose Material Contingencies Related
               To Its LTC Exposure

       360.    Within GAAP, ASC 450 governs the disclosure and accrual of contingencies for

all companies, including public companies in their SEC filings. ASC 450 defines a “contingency”

as “[a]n existing condition, situation, or set of circumstances involving uncertainty as to possible

gain (gain contingency) or loss (loss contingency) to an entity that will ultimately be resolved

when one or more future events occur or fail to occur.”

       361.    Where a loss contingency is both probable (more likely than not) and estimable,

GAAP requires the loss to be recorded. In a situation where the loss contingency is not both

probable and estimable, GAAP nonetheless requires companies to make disclosures about such

contingency. Specifically, where a material loss is “reasonably possible”—i.e., more likely than

remote but less likely than probable—and the amount of the loss is reasonably estimable, ASC 450

requires companies to disclose the nature of the contingency and provide its estimate of the amount



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or range of loss. If the loss is reasonably possible but not estimable, then a company must disclose

the nature of the contingency and describe why it is unable to estimate the amount of the loss.

        362.    GE’s Class Period financial statements violated ASC 450 by, inter alia, failing to

disclose to investors any meaningful information regarding the nature and extent of its LTC

exposure, or the future uncertainties and potential losses that could arise from that exposure.

Indeed, GE’s Class Period financial statements did not disclose its potential LTC-related liabilities

or losses, and did not provide investors with any estimate of the amount or range of charges that

could result from such exposure. Instead, as discussed herein, GE deliberately excluded any

estimate of future LTC-related payments from its disclosure of future insurance liabilities, even

though such liabilities should have been disclosed under GAAP because they were reasonably

possible and potentially material.

        E.      GE Violated GAAP By Failing To Disclose Uncertainties Relating To Its
                Calculation Of LTC Exposure

        363.    ASC 275 requires companies to disclose in their financial statements the “risks and

uncertainties” existing as of the date of the financial statements, including, inter alia, those arising

out of the “use of estimates in the preparation of financial statements.”

        364.    Specifically, ASC 275 requires companies to include a “discussion of estimates

when, based on known information available before the financial statements are issued or available

to be issued . . . it is reasonably possible that the estimate will change in the near term and the

effect of the change will be material.” The required disclosure “shall indicate the nature of the

uncertainty and include an indication that it is at least reasonably possible that a change in the

estimate will occur in the near term.” Further, “[i]f the estimate involves a loss contingency

covered by [ASC 450], the disclosure also shall include an estimate of the possible loss or range

of loss, or state that such an estimate cannot be made.” ASC 275-10-50-15 notes that “examples



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of assets and liabilities . . . that . . . may be based on estimates that are particularly sensitive to

change in the near term” include amounts reported for “long-term obligations” and “long-term

contracts,” as well as “contingent liabilities for obligations of other entities.”

        365.    GE’s 2012 10-K and Class Period SEC filings failed to provide sufficient

information to investors regarding the basis for its estimated LTC reserves. Among other things,

GE failed to provide any meaningful disclosure regarding the qualitative or quantitative impact

that changes to critical LTC reserve assumptions—like mortality rate, morbidity rate, and lapse

rate—would have on GE’s reserve calculation. Nor did GE provide investors with any discussion

of how GE’s reported reserves would change if it were calculated using current assumptions rather

than “assumptions at the time the policies were issued or acquired.” Further, GE failed to provide

any meaningful disclosure regarding its estimated future payment obligations under its LTC

policies, notwithstanding that it was required to calculate such amounts in order to evaluate the

adequacy of its reserves. Rather than disclose those future payment obligations, as discussed

above, GE deliberately omitted LTC liabilities from the quantification of its Disclosed Insurance

Liabilities throughout the Class Period.

        F.      GE Violated GAAP By Failing To Disclose Information Regarding The Basis
                For Its Class Period LTC Reserve Estimates

        366.    With respect to long-duration insurance contracts, ASC 944-40-50-6 requires

insurance entities to “disclose in their financial statements the methods and assumptions used in

estimating the liability for future policy benefits.”

        367.    As discussed herein, GE failed to make any meaningful disclosure regarding the

methods and assumptions used to calculate its LTC Benefit Reserves until the third quarter of

2017. Unlike its more fulsome post-Class Period disclosures, ¶¶ 493-96, and unlike the disclosures

of other companies with significant LTC exposures, ¶ 333, GE merely stated in its 2012 10-K and



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Class Period 10-Ks that “[l]iabilities for traditional long-duration insurance contracts represent the

present value of such benefits less the present value of future net premiums based on mortality,

morbidity, interest and other assumptions at the time the policies were issued or acquired.”

       G.      Statements Regarding GE’s Contract Assets, LTSAs, And Industrial CFOA

       368.    During the Class Period, GE’s reported Contract Assets and cumulative catch-up

adjustments were materially false or misleading when made.             In sum, these estimates of

profitability of GE’s LTSAs were based on models and inputs designed to manufacture and

manage earnings through practices such as: (i) disregarding the deteriorating power industry and

ignoring or manipulating critical, adverse real-time utilization data that GE maintained with

respect to customers’ assets on which GE provided services; (ii) relying on historical data which

underestimated costs, leading to the unsustainable and undisclosed practices that underlay GE’s

cumulative catch-ups to increase short term profits; (iii) renegotiating LTSAs solely to trigger

positive (and avoid negative) cumulative catch-up adjustments in order to allow GE to recognize

a short-term gain at the long-term expense of the Company, including by forfeiting revenues and

profits on GE-provided services, labor, technology updates, and products (i.e., de-scoping); (iv)

extending customers’ payment terms and, as a result, harming GE’s ability to collect on

receivables; (v) shifting costs associated with services rendered to a later period in order to

recognize higher profits in the current period, with the hope that GE could make up the difference

(i.e., realize cost savings) at a later point; and (vi) failing to account for the uncollectibility of

LTSA revenues from high-credit risk customers who purchased finance equipment and services.

               1.      Metrics Relating To Revenues And Values Of GE’s Contract Assets

       369.    The practices summarized above rendered the following metrics materially false or

misleading when made for the reasons set forth in ¶ 368:




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                    Contract           GE        Cumulative      EPS          Source
                   Assets ($bn)    Industrials    Catch-up
                                  Profits ($bn)     ($bn)
                                             2012
    Annual         $9.443         $15.486        $0.4           $1.39     2012 10-K
                                             2013
    Q1             --             $4.836         --             $0.35     1Q13 10-Q
    Q2             --             $3.839         --             $0.31     2Q13 10-Q
    Q3             --             $3.965         --             $0.32     3Q13 10-Q
    Q4             --             $5.480         --             $0.49     1/17/14 8-K
    Annual         $12.522        $16.220        $0.3           $1.47     2013 10-K
                                             2014
    Q1             --             $5.212         --             $0.29     1Q14 10-Q
    Q2             --             $4.166         --             $0.35     2Q14 10-Q
    Q3             --             $4.331         --             $0.34     3Q14 10-Q
    Q4             --             $5.988         --             $0.52     1/23/15 8-K
    Annual         $13.990        $17.764        $1.0           $1.51     2014 10-K
                                             2015
    Q1             --             $3.56          --             ($1.13) 1Q15 10-Q and
                                                                        10-QA
    Q2             --             $4.356        --              $0.24   2Q15 10-Q
    Q3             --             $4.530        --              $0.28   3Q15 10-Q
    Q4             $21.9          $5.522        --              $0.26   1/22/16 8-K
    Annual         $21.156        $17.966       $1.4            $0.17   2015 10-K
                                            2016
    Q1             $21.654        $3.314        --              $0.02     1Q16 10-Q
    Q2             $23.458        $4.122        --              $0.36     2Q16 10-Q
    Q3             $24.354        $4.320        --              $0.23     3Q16 10-Q and
                                                                          10-QA
    Q4             $25.2          $5.842        --              $0.39     1/20/17 8-K
    Annual         $25.162        $17.598       $2.2            $1.00     2016 10-K
                                            2017
    Q1             $27.382        $3.622        --              $0.10     1Q17 10-Q
    Q2             $28.924        $3.947        --              $0.15     2Q17 10-Q
    Q3             $29.809        $3.630        --              $0.22     3Q17 10-Q
    Q4             $28.9          $3.542        --              $(1.15)   1/24/18 8-K
    Annual         $28.861        $14.740       $2.1            $(0.68)   2017 10-K

              2.        Statements Concerning The Manner In Which GE’s Contract Assets
                        Were Determined

       370.   In addition, as set forth below, in GE’s 2012 10-K and Class Period 10-Ks,

Defendants purported to describe the manner in which its Contract Assets were determined.




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     371.   The 2012 10-K stated the following with respect to revenue recognition on GE’s

LTSAs:

     Revenue recognition on long-term product services agreements requires estimates
     of profits over the multiple-year terms of such agreements, considering factors such
     as the frequency and extent of future monitoring, maintenance and overhaul events;
     the amount of personnel, spare parts and other resources required to perform the
     services; and future billing rate and cost changes. We routinely review estimates
     under product services agreements and regularly revise them to adjust for
     changes in outlook. We also regularly assess customer credit risk inherent in the
     carrying amounts of receivables and contract costs and estimated earnings,
     including the risk that contractual penalties may not be sufficient to offset our
     accumulated investment in the event of customer termination. We gain insight into
     future utilization and cost trends, as well as credit risk, through our knowledge
     of the installed base of equipment and the close interaction with our customers
     that comes with supplying critical services and parts over extended periods.
     Revisions that affect a product services agreement’s total estimated profitability
     result in an adjustment of earnings; such adjustments increased earnings by $0.4
     billion in 2012, increased earnings by $0.4 billion in 2011 and decreased earnings
     by $0.2 billion in 2010. We provide for probable losses when they become evident.

     372.   The 2013 10-K stated the following with respect to revenue recognition on GE’s

LTSAs:

     Revenue recognition on long-term product services agreements requires estimates
     of profits over the multiple-year terms of such agreements, considering factors such
     as the frequency and extent of future monitoring, maintenance and overhaul events;
     the amount of personnel, spare parts and other resources required to perform the
     services; and future billing rate and cost changes. We routinely review estimates
     under product services agreements and regularly revise them to adjust for
     changes in outlook. We also regularly assess customer credit risk inherent in the
     carrying amounts of receivables and contract costs and estimated earnings,
     including the risk that contractual penalties may not be sufficient to offset our
     accumulated investment in the event of customer termination. We gain insight into
     future utilization and cost trends, as well as credit risk, through our knowledge
     of the installed base of equipment and the close interaction with our customers
     that comes with supplying critical services and parts over extended periods.
     Revisions that affect a product services agreement’s total estimated profitability
     result in an adjustment of earnings; such adjustments increased earnings by $0.3
     billion, $0.4 billion and $0.4 billion in 2013, 2012 and 2011, respectively.
     We provide for probable losses when they become evident.

     373.   The 2014 10-K stated the following with respect to revenue recognition on GE’s

LTSAs:


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     Revenue recognition on long-term product services agreements requires estimates
     of profits over the multiple-year terms of such agreements, considering factors such
     as the frequency and extent of future monitoring, maintenance and overhaul events;
     the amount of personnel, spare parts and other resources required to perform the
     services; and future billing rate, cost changes and customers’ utilization of assets.
     We routinely review estimates under product services agreements and regularly
     revise them to adjust for changes in outlook.

         We also regularly assess customer credit risk inherent in the carrying amounts
         of receivables and contract costs and estimated earnings, including the risk that
         contractual penalties may not be sufficient to offset our accumulated investment
         in the event of customer termination. We gain insight into future utilization and
         cost trends, as well as credit risk, through our knowledge of the installed base of
         equipment and the close interaction with our customers that comes with
         supplying critical services and parts over extended periods. Revisions may
         affect a product services agreement’s total estimated profitability resulting in
         an adjustment of earnings; such adjustments increased earnings by $1.0 billion,
         $0.3 billion and $0.4 billion in 2014, 2013 and 2012, respectively. We provide
         for probable losses when they become evident.

     374.      The 2015 10-K stated the following with respect to revenue recognition on GE’s

LTSAs:

     Revenue recognition on long-term product services agreements requires estimates
     of profits over the multiple-year terms of such agreements, considering factors such
     as the frequency and extent of future monitoring, maintenance and overhaul events;
     the amount of personnel, spare parts and other resources required to perform the
     services; and future billing rate, cost changes and customers' utilization of assets.
     We routinely review estimates under product services agreements and regularly
     revise them to adjust for changes in outlook.

     We also regularly assess customer credit risk inherent in the carrying amounts
     of receivables and contract costs and estimated earnings, including the risk that
     contractual penalties may not be sufficient to offset our accumulated investment in
     the event of customer termination. We gain insight into future utilization and cost
     trends, as well as credit risk, through our knowledge of the installed base of
     equipment and the close interaction with our customers that comes with
     supplying critical services and parts over extended periods. Revisions may affect
     a product services agreement’s total estimated profitability resulting in an
     adjustment of earnings; such adjustments increased earnings by $1.4 billion,
     $1.0 billion and $0.3 billion in 2015, 2014 and 2013, respectively. We provide for
     probable losses when they become evident

     375.      The 2016 10-K stated the following with respect to revenue recognition on GE’s

LTSAs:


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       Revenue recognition on long-term product services agreements requires estimates
       of profits over the multiple-year terms of such agreements, considering factors such
       as the frequency and extent of future monitoring, maintenance and overhaul events;
       the amount of personnel, spare parts and other resources required to perform the
       services; and future billing rate, cost changes and customers’ utilization of assets.
       We routinely review estimates under product services agreements and regularly
       revise them to adjust for changes in outlook.

       We also regularly assess customer credit risk inherent in the carrying amounts of
       receivables and contract costs and estimated earnings, including the risk that
       contractual penalties may not be sufficient to offset our accumulated investment in
       the event of customer termination. We gain insight into future utilization and cost
       trends, as well as credit risk, through our knowledge of the installed base of
       equipment and the close interaction with our customers that comes with supplying
       critical services and parts over extended periods. Revisions may affect a product
       services agreement’s total estimated profitability resulting in an adjustment of
       earnings; such adjustments increased earnings by $2.2 billion, $1.4 billion and
       $1.0 billion in 2016, 2015 and 2014, respectively. We provide for probable losses
       when they become evident.

       376.    The foregoing statements in ¶¶ 371-75 were materially false or misleading when

made for the reasons identified in ¶ 368, and because contrary to GE’s statements that the Company

“routinely review[ed] estimates” under LTSAs and “regularly revise[d] them to adjust for changes

in the outlook,” including “customers’ utilization of assets” and “cost trends,” GE, in fact,

disregarded or manipulated these critical inputs to inflate revenues, profits, and asset values, and

to create the appearance of profitability.

               3.      Statements Concerning New Accounting Standards

       377.    In the 2016 10-K, while discussing the impact of the new accounting standards to

be effective in 2018, Defendants continued to provide materially false or misleading information

regarding the historic and current accounting for the Company’s LTSAs:

       Power and Aviation Service Agreements—For our long-term product service
       agreements, primarily in our Power and Aviation businesses, we expect to
       continue to recognize revenue based on costs incurred plus an estimated margin
       rate (over time model). However, the new standard provides prescriptive guidance
       tied to several factors for determining what constitutes the proper scope of a
       customer contract for accounting purposes. These factors include optional
       purchases, contract modifications, and termination clauses. For example, under the


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       new standard contract modifications will be accounted for prospectively by
       recognizing the financial effect of the modification over the remaining life of the
       contract. Under existing accounting guidance revisions to estimated margin rates
       resulting from modifications were reflected as cumulative effect adjustments to
       earnings in the current period.

       378.    The foregoing statement that “revisions to estimated margin rates resulting from

modifications were reflected as cumulative effect adjustments to earnings in the current period”

was materially false or misleading when made for the reasons described in ¶ 368.

               4.     Statements Regarding Factoring

       379.    The 2016 10-K stated as follows with respect to GE’s factoring of receivables:

       In order to manage credit exposure, the Company sells additional current
       receivables to third parties outside the Receivables Facility described in Note 22.
       In connection with certain of these sales, we provide servicing activities and limited
       recourse to the purchasers. At December 31, 2016 and 2015, GE serviced $2,962
       million and $2,167 million, respectively, of these receivables that remain
       outstanding. Of these balances, $458 million and $378 million at December 31,
       2016 and 2015, respectively, were current receivables serviced by GE Capital that
       GE sold directly to third-parties. At December 31, 2016 and 2015, our maximum
       exposure to loss under the limited recourse arrangements is $215 million and $154
       million, respectively.

       380.    The foregoing statement that factoring was used solely to “manage credit exposure”

was materially false or misleading when made because, as described above in ¶¶ 285-97, and as

the Company would later reveal, it also used factoring “[i]n order to manage short-term liquidity,”

including in an effort to mask the liquidity issues caused by GE’s reliance on manipulating LTSAs

and abusing cumulative catch-up adjustments to inflate revenues by over $8.7 billion.

       381.    During a January 20, 2017 conference call associated with GE’s 4Q16 and 2016

year-end results, analysts were provided an opportunity to ask questions following the Company’s

prepared remarks. Here, analysts displayed their skepticism about the Company’s reported

Contract Assets due to the fact that there was an increasing gap between Industrial CFOA and

Contract Assets. Steven Winoker, an analyst from Sanford C. Bernstein & Co., asked the



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following with regard to GE Power’s cash flow, to which Bornstein specifically denied that

factoring from GE Capital played a notable role in Power’s performance:

       Steven Winoker—Sanford C. Bernstein & Co.—Analyst
       Thanks, good morning. Since I only have one question I’d love to focus on cash
       here. And within that, Jeff, is there any factoring this quarter from GE Capital into
       GE industrial?

       And then also while it’s the strongest cash flow quarter in a while, still a little bit
       below what we thought you guys implied when we talked about it before. Then as
       you think about it progressing through 2017 and beyond maybe just talk a little more
       about the cash flow initiative comp that really can give investors confidence that the
       cash flow part of the story is improving.

       Jeff Bornstein—General Electric Company—SVP & CFO
       Okay, there’s a lot in that. So let me start with the fourth quarter, Steve.

       We improved working capital in fourth quarter about $5.2 billion which the best we
       can tell is the strongest working capital quarter the Company has ever had. And I
       want to just give you some of the pieces on that.

                                      *       *         *

       So within that accounts receivable performance you asked about factoring. For the
       total year, factoring with GE Capital was a $1.6 billion change for the year. It was
       $1.7 billion last year, so actually year-to-year it was $100 million less of a benefit
       in the year between what we did with GE Capital around factoring. And in the fourth
       quarter importantly, and you see it because our receivables improved $500 million,
       is from the third to fourth quarter of 2015, the benefit was $2.3 billion, the benefit
       going from this past third quarter to this quarter was $700 million.

       So it was actually down $1.6 billion year-to-year between third and fourth quarter
       each of those years. So there’s very good underlying performance here. It’s not
       just about, it’s actually very little to do with GE Capital factoring.

       382.    The foregoing statement that GE was not relying on factoring to generate CFOA

was materially false or misleading when made because, in fact, GE was heavily reliant on factoring

to monetize its Contract Assets and to generate CFOA to meet targets and pay its dividends, as

discussed in ¶ 380.




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              5.      February 22, 2017: Barclays Industrial Select Conference

       383.   On February 22, 2017, during the Barclays Industrial Select Conference, Bornstein

detailed GE’s reliance on cumulative catch-up adjustments on its LTSAs:

       The other is in our long-term service contract accounting. We have an enormous
       portfolio, many times bigger than anybody else in the space, both in power—
       principally in Power Systems and Aviation. And the rules around it are changing.
       And it’s complex, but there are several things that we do today that we account for
       on a cum[ulative]-catch basis. And I’ll explain that in a moment that now we’ll be
       accounted for on a prospective basis.

       So, for instance, if you have a contract with a customer today and you modify it,
       you add a bunch of new equipment to it, you extend the maturity, you change
       something around the operating conditions, and you reprice it. A lot of these
       things are priced on a per-utilization per-hour basis, if you will. In today’s model,
       that kind of a modification you would go back to the first day of the contract,
       recalculate based on the changes, what’s the margin rate for the contract now. If
       the margin rate went down, you go back to day one, and you’ll book a loss for
       restating time zero to the current date on the lower margin rate. If the margin
       rate is higher, you do the opposite. You get a cum[ulative]-catch gain, and you
       restate the margin rate of contract. So for things like modifications, termination
       clauses, et cetera, upgrades; all of that will be accounted for prospectively, as
       opposed to retrospectively. Things like productivity will continue to act like they
       do today, which is a cum[ulative]-catch.

       So, we’ll go through some of those details in the K. Our best estimate today, our
       expectation is that 2018 impact of all that is, we think, is going to be about a $0.05
       EPS decline. After 2018, that will get smaller and start to approach zero. And at
       some point a few years after that, it will actually be accretive to what otherwise we
       would have—in the old accounting model—reported as earnings. So there’s no
       cash associated with any of this accounting change. It doesn’t change anything
       about the economics of these contracts in any way. It’s just a point of where you’re
       recognizing revenue and where you’re recognizing cost.

       384.   The foregoing statements were materially false or misleading when made because

they did not disclose that GE had been generating billions of dollars in cumulative catch-up

adjustments during the Class Period through fraudulent, unsustainable, and unsound business

practices, as described in ¶¶ 250-97. Moreover, as GE admitted after the end of the Class Period,

its reliance on cumulative catch-up revenues accounted for far more than $0.05 in earnings. As

described in ¶ 311, GE’s use of these adjustments contributed $0.13 to GE’s EPS in 2016, $0.30


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in 2017, and was responsible for as much as 80% of GE’s reported quarterly EPS during the

Class Period.

                6.     First Quarter 2017

       385.     During the 1Q17 earnings call on April 21, 2017, an analyst from Credit Suisse

asked questions about GE’s Industrial CFOAs and Contract Assets. In response, Bornstein assured

investors that “the contract drag on cash flow” for 2017 would be the same as in 2016, and that

GE was “not pulling future profit forward” on the contracts, stating:

       [W]e expect the contract drag on cash flow for the year to be roughly the same,
       ’16 versus ’17. . . . I think you got a number of phenomena that’s going on. We’re
       investing like crazy in productivity and cost-out. . . . When we get lower cost, the
       cost to execute against our contracts improves. And when they improve, the
       accounting has to account for that and where it changes our view on the ultimate
       profitability of these contracts. That’s one mechanism, and we’re hugely focused
       on that. And I think you want us focused on that, that’s all future cash, future
       economics, et cetera, on a go-forward basis. We’re not pulling future profit
       forward. That is not what we’re doing. We’re just restating what—where we are
       in the contract from inception to date. The second part is where the long-term
       service agreements that protect our installed base, our penetration continues to
       improve.

       386.     The foregoing statements were materially false or misleading when made because

in direct response to an analyst’s question, Bornstein claimed that GE was “not pulling future profit

forward.” In fact, that was exactly what it was doing through its use of cumulative catch-up

adjustments, backed by the undisclosed, unsustainable, and unsound business practices described

in ¶¶ 250-97.

       387.     One analyst pressed Defendants for more clarity on the Company’s “noncash

earnings from contract assets.” In response, Bornstein explained what supposedly drove the

increase in Contract Assets for the quarter:

       CSA contracts in the quarter were up $1.4 billion year-over-year. $800 million of
       that increase was associated with contract updates, okay? And that’s versus $500
       million a year ago. So it’s higher by $266 million year-over-year. Of the about
       $300 million, it’s up year-over-year, a little more than half of that is in power.


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       And most of that is associated with updates of part costs when we change
       standards every year. So for the contracts that were under review in the first
       quarter, if we change the standard on the part cost and deliver against that
       contract in the future, we did that update. And then there’s a small update for
       escalation that’s mostly around our Aviation business. We update it once a year on
       escalation within the service contract. The—that part of long-term contracts that
       are revenues versus billing, so outside of contract updates was $600 million in the
       first quarter. And that’s really where we’ve incurred shop visits, outages. We’ve
       incurred cost against those service contracts ahead of actually billing the hours or
       the events associated with it. So that’s mostly timing. And some of that will come
       back over the course of the year, as we actually bill against the utilization or bill
       against an outage or a shop visit. So I would say that’s mostly timing. That’s the
       $1.4 billion increase that you see in contracts year-over-year.

       388.    The foregoing statements were materially false or misleading when made because

Bornstein claimed that the adjustments were attributed to “updates of part costs,” when in fact the

adjustments were due to the undisclosed, unsustainable business practices described in ¶¶ 250-97.

       H.      GE’s Accounting For Its Contract Assets And Cumulative Catch-Up
               Adjustments Violated GAAP

       389.    GE’s failure to perform reasonably dependable analyses of both the revenue and

related costs associated with Power’s LTSAs also violated GAAP. GE’s accounting for its

Contract Assets involved estimating both revenue and the related costs. As GE reported in its

2017 10-K, “[r]evenue recognition on long-term product services agreements requires estimates

of both customer payments expected to be received over the contract term as well as the costs to

perform required maintenance services.”

       390.    Under ASC 605-35 (Revenue Recognition, Construction-Type, and Production-

Type Contracts), use of this accounting method is dependent on the ability to make reasonably

dependable estimates, including, most specifically, estimates of progress towards completion,

contract revenues, and contract costs. ASC 605-35-05-11.

       391.    Estimated revenue from a contract is the amount of revenue the seller expects to

realize from the contract. ASC 605-35-25-16. The determination of estimated revenue requires



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“careful consideration.” Id. GAAP states that “a contractor’s estimating procedures should

provide reasonable assurance of a continuing ability to produce reasonably dependable estimates.”

ASC 605-35-25-62. In other words, GAAP requires an ongoing review of the contract to ensure

revenue and cost estimates continue to remain reasonable. GE failed to conduct these ongoing

reviews and/or made estimates that were unreasonable to support its cumulative catch-up

adjustments and, as a result, violated the foregoing GAAP provisions.

       392.    For its LTSAs, GE was paid based upon the utilization of assets (e.g., the amount

of hours a turbine was running) or on a milestone basis (e.g., when major equipment maintenance

or an entire overhaul was performed). GE’s estimate of asset utilization impacted both the amount

of customer payments and the costs to provide the service. This is because asset utilization

influences the timing and extent of service events such as overhauls.

       393.    During the Class Period, GE’s undisclosed, unsustainable and unsound practices,

which it did not account for in recognizing revenue or making cumulative catch-up adjustments,

was a violation of ASC 605-10-S99.

       394.    As with revenue, GAAP also requires that contract costs be identified, estimated,

and accumulated with a reasonable degree of accuracy and that total estimated costs of a project

include costs incurred to date and an estimate of the costs to complete the contract. ASC 605-35-

25-32. For costs incurred to date on a contract, GAAP at ASC 605-35-25-33 states:

       An entity should be able to determine costs incurred on a contract with a relatively
       high degree of precision, depending on the adequacy and effectiveness of its cost
       accounting system. . . . [A]n objective of each system or of each set of procedures
       should be to accumulate costs properly and consistently by contract with a
       sufficient degree of accuracy to assure a basis for the satisfactory measurement of
       earnings.

       395.    GAAP, at ASC 605-35-25-44, recognizes the estimate of costs to complete a

contract is a “significant variable” in determining profit on a contract. GAAP requires that



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estimates of future costs are determined using “systematic and consistent procedures” and that the

estimates of future costs include the same elements of costs that have been incurred on the contract

to-date. Further, GAAP requires that estimates of costs to complete a contract be reviewed

periodically and revised to reflect new information.

       396.    Pursuant to ASC 605-35-25-62, GE was required to employ procedures that

provided a “reasonable assurance of a continuing ability to produce reasonably dependable

estimates.” Further, GAAP at ASC 605-35-25-63 states:

       Ability to estimate covers more than the estimating and documentation of contract
       revenues and costs; it covers a contractor’s entire contract administration and
       management control system. The ability to produce reasonably dependable
       estimates depends on all the procedures and personnel that provide financial or
       production information on the status of contracts. It encompasses systems and
       personnel not only of the accounting department but of all areas of the entity that
       participate in production control, cost control, administrative control, or
       accountability for contracts.

       397.    In other words, GAAP requires that future costs estimates for long-term contracts

not be based simply on costs incurred to date and a projection of future costs, but a full complement

of procedures, internal controls, and personnel to produce dependable estimates.

       398.    GE’s failure to account for its unsound and unsustainable business practices in

recognizing revenue during the Class Period violates the GAAP provisions described above.

       I.      GE Violated Item 303(a)(1)-(3) By Failing To Disclose Known Trends,
               Demands, Commitments, And Uncertainties

       399.    GE’s annual and quarterly reports filed with the SEC are subject to the disclosure

requirements of, among other things, Item 303 of Regulation S-K, 17 C.F.R. § 229.303. Item

303(a)(1)-(3) generally requires companies to disclose in the MD&A section of its annual SEC

filings any known trends, demands, commitments, events, or uncertainties that are reasonably

likely to have a material impact on the company’s financial condition.




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        400.    With respect to liquidity, Item 303(a)(1) requires issues to “[i]dentify any known

trends or any known demands, commitments, events or uncertainties that will result in or that are

reasonably likely to result in the registrant’s liquidity increasing or decreasing in any material

way.”

        401.    With respect to capital resources, Item 303(a)(2) requires companies to, among

other things:

                a.     “Describe the registrant’s material commitments for capital expenditures as
                       of the end of the latest fiscal period, and indicate the general purpose of
                       such commitments and the anticipated source of funds needed to fulfill such
                       commitments”; and

                b.     “Describe any known material trends, favorable or unfavorable, in the
                       registrant’s capital resources. Indicate any expected material changes in the
                       mix and relative cost of such resources. The discussion shall consider
                       changes between equity, debt and any off-balance sheet financing
                       arrangements.”

        402.    Finally, with respect to results of operations, Item 303 requires companies to

“[d]escribe any known trends or uncertainties that have or that the registrant reasonably expects

will have a material favorable or unfavorable impact on net sales or revenue or income from

continuing operations.”

        403.    On May 18, 1989, the SEC issued an interpretive release concerning registrants’

disclosure obligations under to Item 303 (the “1989 Release”). The 1989 Release stated:

        Where a trend, demand, commitment, event or uncertainty is known, management
        must make two assessments:

        (1) Is the known trend, demand, commitment, event or uncertainty likely to come
        to fruition? If management determines that it is not reasonably likely to occur, no
        disclosure is required.

        (2) If management cannot make that determination, it must evaluate objectively the
        consequences of the known trend, demand, commitment, event or uncertainty, on
        the assumption that it will come to fruition. Disclosure is then required unless
        management determines that a material effect on the registrant’s financial condition
        or results of operations is not reasonably likely to occur.


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       404.    The purpose of the MD&A discussion, according to the SEC, is to provide investors

information “necessary to an understanding of a [company’s] financial condition, changes in

financial condition and results of operations.” In particular, there are three principal objectives of

the MD&A: (i) to provide an explanation of a company’s financial statements that enables

investors to see the company through management’s eyes; (ii) to enhance the overall financial

disclosure and provide the context within which financial information should be analyzed; and

(iii) to provide information about the quality of, and potential variability of, a company’s earnings

and cash flow, so that investors can judge the extent to which past performance predicts

future performance.

               1.      Omissions Concerning GE’s LTC Liabilities

       405.    Prior to and during the Class Period, the negative developments in the LTC

insurance industry, which led other companies with LTC exposure (like Genworth, Unum,

MetLife, and others) to increase reserves, raise premiums and—in many cases—exit the industry

altogether, see ¶¶ 87-90, 113-16, was a trend that was reasonably likely to—and did—have a

material impact on GE’s financial results, capital position, and liquidity. The negative trends with

GE’s own reinsurance portfolio, including, among other things, the widening gap between its

actual claims and expected claims, the increasing future liabilities, and growing insufficiency of

its LTC reserves, likewise were trends that were reasonably likely to impact the Company’s

financial results, capital position and liquidity. Further, GE’s portfolio of 300,000 high-risk LTC

insurance policies and the increasing liabilities GE was subject to under those policies, represented

a demand, commitment, and/or uncertainty that was reasonably likely to have a material impact

on GE’s financial results, capital position, or liquidity during the Class Period.

       406.    As discussed in ¶¶ 113-16, negative trends in the LTC industry led GE’s

competitors to record billions in reserve charges during the Class Period. During this same time


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period, GE’s own exposure to the LTC industry caused its insurance liabilities to dramatically

increase (an increase that was not disclosed to investors until the end of the Class Period) and

eventually caused the Company to belatedly record a $9 billion charge to earnings at the end of

fiscal year 2017. GE’s LTC exposure will also require it to contribute $15 billion in capital to

ERAC and UFLIC over seven years.

       407.    In light of the above, GE was required under Item 303 to disclose on February 26,

2013 and throughout the Class Period, inter alia, the negative trends occurring in the LTC market,

the expected impact of those trends—and of GE’s increasing LTC insurance liabilities (and any

potential uncertainties related to those liabilities)—on GE’s financial results, capital position, and

liquidity. More specifically, GE was required—but failed—to disclose information to investors

concerning the existence and extent of this demand, commitment, and/or uncertainty.

       408.    In light of the above, Item 303 required GE to disclose in its 10-Ks, among other

things, material facts concerning the negative trends that were ongoing in the LTC insurance

market generally and within its own LTC portfolio, the extent of GE’s (increasing) exposure to the

LTC market, and manner and extent to which those trends were expected to negatively impact

GE’s liquidity, capital position, and financial results. GE violated Item 303 on February 26, 2013

and throughout the Class Period by failing to provide investors with any meaningful disclosures

concerning the negative developments in the LTC industry, the nature or extent of GE’s LTC

exposure, or the risks or uncertainties created by such exposure. Indeed, rather than make these

required disclosures, as discussed herein, Defendants deliberately excluded GE’s LTC exposure

from its Disclosed Insurance Liabilities throughout the Class Period.




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               2.      Omissions Concerning GE’s Contract Assets, LTSAs, And Industrial
                       CFOA

       409.    GE additionally violated its Item 303 disclosure obligations by providing investors

with no (or misleading) information to assess the many assumptions embedded in GE’s Contract

Assets, including whether estimated levels of profitability could realistically be achieved. For

example, GE did not disclose that: (i) it was renegotiating LTSAs to its detriment, by eliminating

some lower margin revenues, in order to trigger cumulative catch-ups; (ii) it had extended out the

contract terms which gave customers additional time to make payment; (iii) its estimates relied on

historical, rather than reasonably dependable current estimates; (iv) it had underestimated the

credit risk of its customers, some of whom were now unable to pay; or (v) it was renegotiating its

LTSAs for the sole purpose of padding its earnings by booking cumulative catch-up revenue

adjustments.

       410.    To summarize, GE violated its Item 303(a)(3) disclosure obligations by failing to

disclose that: (i) the Company had been relying on unsustainable business practices to renegotiate

LTSAs with customers with no benefit to GE other than to generate positive cumulative catch-up

adjustments (or avoid negative cumulative catch-up adjustments) to meet revenue and earnings

projections, and to conceal that GE Power was struggling; (ii) to mask the growing discrepancy

between GE’s Contract Assets and Industrial CFOA, which resulted from GE’s abuse of

cumulative catch-up adjustments, GE Power generated CFOA by “monetizing” receivables—often

through LTSA contract renegotiations with terms that were more harmful to GE than the initial

terms; (iii) the Company was overstating revenues, margins and earnings on its LTSAs, through

its reports of inflated Contract Assets, in order to artificially manipulate the Company’s quarterly

and annual financial results; (iv) the Company failed to maintain adequate internal controls over

its financial reporting with respect to its Contract Assets; and (v) as a result of the foregoing, GE



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materially overstated its earnings and Contract Asset values during the Class Period, and GE’s

public statements were materially false or misleading at all relevant times by omitting the material

information discussed herein.

        J.      SOX Certifications And Representations Regarding GE’s Compliance With
                GAAP

        411.    GE’s 10-Ks filed on February 26, 2013 and throughout the Class Period represented

that “[o]ur financial statements are prepared in conformity with [GAAP].”

        412.    GE’s 10-Ks and 10-Qs contained certifications from GE’s CEO and CFO stating

that: (i) GE’s filing “does not contain any untrue statement of a material fact or omit to state a

material fact necessary to make the statements made, in light of the circumstances under which

such statements were made, not misleading”; (ii) GE’s “financial statements, and other financial

information . . . fairly present in all material respects the financial condition, results of operations

and cash flows of [GE] as of, and for, the periods presented”; and (iii) “[t]he information contained

in the report fairly presents, in all material respects, the financial condition and results of operations

of [GE].” Immelt and Sherin issued the foregoing certifications in connection with the 2012 10-

K and the 1Q13 10-Q. Immelt and Bornstein issued the foregoing representations in GE’s 2013

10-K, 2014 10-K, 2015 10-K, 2016 10-K, and its quarterly reports filed on 10-Qs covering each

of the periods from 2Q13 through 1Q17.

        413.    The foregoing statements were materially false or misleading when made because

GE’s financial statements did not comply with GAAP and did not, in all material respects, fairly

present the financial position of the Company during the periods reported. For the reasons

discussed in ¶¶ 360-67, 389-98, GE violated GAAP by, among other things, failing to adequately

disclose its material LTC risks and exposure or the material uncertainties surrounding the portfolio,

failing to hold sufficient reserve against its LTC liabilities, and overstating its earnings and



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Contract Asset values, in violation of GAAP. As such, the Defendants issuing SOX Certifications

had no reasonable basis to assert that GE’s financial statements complied with GAAP.

       K.      Statements Regarding GE’s Internal Controls Over Financial Reporting

       414.    In GE’s 2012 10-K and Class Period 10-Ks and 10-Qs, GE’s CEO and CFO

certified that they evaluated GE’s disclosure controls and procedures and internal controls over

financial reporting and concluded that both GE’s disclosure controls and internal controls over

financial reporting were effective. Immelt and Sherin issued the foregoing certifications in

connection with the 2012 10-K and the 1Q13 10-Q. Immelt and Bornstein issued the foregoing

certifications in GE’s 2013 10-K, 2014 10-K, 2015 10-K, 2016 10-K, and its quarterly reports filed

on 10-Qs covering each of the periods from 2Q13 through 1Q17.

       415.    Additionally, in GE’s 2012 10-K and each of its Class Period 10-Ks, KPMG stated

that, “in our opinion, the Company maintained, in all material respects, effective internal control

over financial reporting.”

       416.    The foregoing statements were materially false or misleading when made because,

as GE admitted at the end of the Class Period, and as confirmed by numerous former employees,

its disclosures controls and procedures and internal controls over financial reporting, including

with respect to its insurance reserves, earnings and Contract Asset values, were inadequate during

the Class Period. Indeed, in 2018—after the end of the Class Period—GE identified a number of

controls over its Contract Assets that it was only starting to implement, including with respect to

cost analysis and estimates.

       L.      Omissions Regarding The Critical Accounting Estimates Defendants Used
               To Calculate Its LTC Reserves

       417.    In SEC Release 33-8350, dated December 29, 2003 (the “2003 Release”), the SEC

stated that “management’s most important responsibilities include communicating with investors



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in a clear and straightforward manner” and that MD&A disclosures are “a critical component of

that communication.” The SEC stated in the 2003 Release that one of the three principal objectives

of MD&A disclosures is “to provide information about the quality of, and potential variability of,

a company’s earnings and cash flow, so that investors can ascertain the likelihood that past

performance is indicative of future performance.”

       418.    In the 2003 Release, the SEC stated that companies should provide disclosures

about critical accounting estimates where: (i) “the nature of the estimates or assumptions is

material due to the levels of subjectivity and judgment necessary to account for highly uncertain

matters or the susceptibility of such matters to change”; and (ii) “the impact of the estimates and

assumptions on financial condition or operating performance is material.” The disclosures,

according to the 2003 Release, “should provide greater insight into the quality and variability of

information regarding financial condition and operating performance” by disclosing how the

Company “arrived at the estimate, how accurate the estimate/assumption has been in the past, how

much the estimate/assumption has changed in the past, and whether the estimate/assumption is

reasonably likely to change in the future.” Further, the 2003 Release stated that “[q]uantitative

disclosure should be considered and may be required to the extent material if quantitative

information is reasonably available.”

       419.    That 2012 10-K and GE’s Class Period SEC filings failed to provide sufficient

information to investors regarding the critical accounting estimates that it was using to calculate

its LTC reserves. Specifically, GE failed to provide any meaningful disclosure regarding the

qualitative or quantitative impact that changes to critical LTC reserve assumptions—like mortality

rate, morbidity rate, and lapse rate—would have on GE’s reserve calculation. Nor did GE provide

investors with any discussion of how GE’s reported reserves would change if it were calculated




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using current assumptions rather than “assumptions at the time the policies were issued or

acquired.” Further, GE failed to provide any meaningful disclosure regarding its estimated future

payment obligations under its LTC policies, notwithstanding that it was required to calculate such

amounts in order to evaluate the adequacy of its reserves. Rather than disclose those future

payment obligations, as discussed above, GE deliberately omitted LTC liabilities from the

quantification of its Disclosed Insurance Liabilities in the MD&A section throughout the Class

Period.

          420.   Instead, with respect to its “[l]iabilities for traditional long-duration insurance

contracts,” which would include LTC policies, GE merely stated the following regarding its critical

accounting estimates in its 2012 10-K and Class Period 10-Ks, “[l]iabilities for traditional long-

duration insurance contracts represent the present value of such benefits less the present value of

future net premiums based on mortality, morbidity, interest and other assumptions at the time the

policies were issued or acquired.”

          421.   In stark contrast to GE’s prior SEC filings, and as discussed further in ¶¶ 492-96,

GE’s 2017 10-K—which it filed after belatedly disclosing its true LTC exposure—contained the

level of detail regarding the critical accounting estimates that GE used to calculate its LTC reserves

that GE was required to—but did not—provide to investors during the Class Period.

VIII. LOSS CAUSATION/ECONOMIC LOSS

          422.   Class members were damaged as a result of Defendants’ fraudulent conduct as

alleged herein. During the Class Period, Defendants engaged in a scheme to deceive investors by

issuing a series of material misrepresentations and omitting material facts relating to, inter alia,

the Company’s: (i) exposure to enormous, undisclosed, and under-reserved-for liabilities related

to LTC insurance; and (ii) reliance on revenues generated through the undisclosed and

unsustainable business practice of renegotiating LTSAs with GE customers for no true economic


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purpose other than to generate positive cumulative catch-up adjustments, and its related failure to

account for reduced utilization rates and other negative developments in the power market when

determining LTSA revenues and profits during the Class Period.

       423.     As a direct result of Defendants’ scheme, misrepresentations of material fact, and

omissions of material fact, the price of GE’s common stock was artificially inflated throughout the

Class Period.

       424.     Class members unknowingly and in reliance upon Defendants’ materially false or

misleading statements and/or omissions purchased GE stock at artificially inflated prices on the

NYSE. But for Defendants’ misrepresentations, omissions, and fraudulent scheme, Plaintiffs and

other Class members would not have purchased GE stock at the artificially inflated prices at which

it traded during the Class Period.

       425.     The truth regarding Defendants’ fraud was revealed in a series of partial corrective

disclosures and/or materializations of concealed risk that occurred between April 21, 2017 and

January 24, 2018. During this corrective disclosure period, GE’s stock fell precipitously as the

artificial inflation caused by Defendants’ unlawful conduct exited GE’s stock price. It was not

until the final partial corrective disclosure and/or materialization of concealed risk on January 24,

2018 that the full truth was known to the market such that there was no longer any artificial

inflation in GE’s stock price attributable to the fraud.

       426.     The declines in GE’s stock price during the corrective disclosure period, including,

inter alia, the declines summarized below, are directly attributable to the market absorbing

information that corrected and/or reflected the materialization of risks concealed by the

Defendants’ material misrepresentations or omissions.




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        427.    Plaintiffs and other members of the Class suffered economic losses as the price of

GE’s stock fell in response to partial corrective disclosures and/or the materializations of concealed

risks. The price declines on the partial corrective disclosure dates in GE stock were a direct result

of the materially false or misleading statements and omissions. It was foreseeable that such

disclosures would cause GE’s stock price to decline. Thus, Defendants’ wrongful conduct, as

alleged herein, directly and proximately caused the damages suffered by Plaintiffs and other

members of the Class.

        428.    The following partial corrective disclosures caused GE’s stock price to decline,

thereby damaging investors, and are representative, not exclusive, of the partial corrective

disclosures and/or materializations of concealed risks that led to Plaintiffs’ damages for which

relief is sought in this case.

        A.      April 21, 2017: Financial Results For 1Q 2017

        429.    On Friday, April 21, 2017, before the market opened, GE issued a press release and

filed it on an 8-K with the SEC, entitled “GE 1Q 2017 Earnings.” Among other things, the press

release reported that “Industrial operating cash flows[] were negative $1.6 billion driven primarily

by an increase in working capital and timing of billings on our long-term equipment and service

contracts.”

        430.    Also on Friday, April 21, 2017, before the market opened, GE held an earnings

conference call to discuss its 1Q 2017 results with analysts and investors. During the call, Immelt

reiterated the results reported in the April 21 press release, stating, “Industrial CFOA was a

negative $1.6 billion.” Bornstein elaborated on Immelt’s comments, stating, “our industrial CFOA

was at $1.6 billion usage of cash, about $1 billion below our expectations.” According to

Bornstein, the largest contributor to this negative CFOA was cash outflows on GE’s Contract




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Assets ($1.9 billion) and, more specifically, GE’s LTSA Contract Assets ($1.4 billion). As

Bornstein explained:

       Contract assets were a use of $1.9 billion. This was $300 million worse than
       expected. Of the $1.9 billion, $500 million was from our long-term equipment
       contracts, where the timing of our $1 billion revenue recognition milestones differ.
       This will catch-up throughout the year as we execute against the contract. The
       remaining $1.4 billion is our long-term service agreements. There were 2 pieces
       to this. $600 million is related to service contracts where we’ve incurred cost and
       booked the revenue, but haven’t yet billed the customer. We expect this to partly
       come back over the year as we see higher asset utilization in Power and Aviation.
       And we’ve seen these similar trends in the prior years. The other $800 million are
       contract adjustments driven by better cost performance and part life, primarily
       driven by Power and Aviation.

       431.    Defendants’ April 21, 2017 disclosure corrected and/or reflected the materialization

of risks concealed by the material misstatements and omissions alleged herein. On this news, GE’s

stock price declined from a close of $30.27 on April 20, 2017 to $29.55 on April 21, 2017, a drop

of $0.72 per share, or 2.4%, on heavy volume of 72,351,400 shares.

       432.    Analysts were surprised by the revelation of negative Industrial CFOA cash flow

and expressly stated that investors were reacting to this disappointing information, despite

otherwise favorable earnings results reported by GE. For example, an April 21, 2017 Morningstar

analyst report stated, “[s]hares of . . . General Electric slumped April 21 as investors reacted to

negative industrial cash flow in the first quarter, which largely overshadowed [other more

favorable results].” An April 21, 2017 Morgan Stanley report similarly noted, “we continue to be

disappointed by weak cash generation, with $1.6bn of negative CFOA . . . the contract asset

headwind clearly drops a flag on the quality of the quarter.” An April 23, 2017 RBC analyst

report entitled Cash Flow Shortfall Gives Investors a Reason Not to Like 1Q17 Beat expressly

stated under “Key points” that:

              “GE’s 1Q17 earnings call was hijacked by its disappointing cash flows
               from operating activities (CFOA)”; and



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               “the 1Q [2017 CFOA] shortfall and back-end-weighted ramp arguably
                drove most of the -2.4% stock reaction.”

       B.       July 21, 2017: Financial Results For 2Q 2017

       433.     On Friday, July 21, 2017, before the market opened, GE issued a press release and

filed it on an 8-K with the SEC, entitled “GE 2Q 2017 Earnings” that summarized earnings for the

second quarter ended June 30, 2017.

       434.     During a July 21, 2017 earnings conference call held before the market opened,

Bornstein updated investors on the $12 to $14 billion CFOA guidance for 2017 that the Company

had reiterated during the earnings call held in April 2017 (discussed above) by stating:

       For the year, we are trending to the bottom end of the $12 billion to $14 billion
       range on CFOA, driven by pressure, principally in Power and Oil & Gas.

       435.     In addition, Bornstein provided results for GE Capital and stated, “[w]e recently

have had adverse claims experience in a portion of our long-term care portfolio and we will

assess the adequacy of our premium reserves. We will update you in the fourth quarter.”

       436.     Defendants’ July 21, 2017 disclosures corrected and/or reflected the materialization

of risks concealed by the material misstatements and omissions alleged herein.

       437.     As investors absorbed this news, GE’s stock price fell $0.78 from a close of $26.69

on Thursday, July 20, 2017 to close at $25.91 on Friday, July 21, 2017, a drop of 2.92% on

unusually large volume of over 90 million shares. On the next following trading day, Monday,

July 24, 2017, the share price decline continued as the market continued to digest this news, and

GE shares dropped to close at $25.43 on July 24, 2017, on heavy volume of over 56 million shares,

a two-day drop of $1.26 per share, or nearly 5%.

       438.     Analysts noted the importance of the surprising news that Industrial CFOA was

being forecasted to come in at the low end of the $12 to $14 billion range. For example, RBC

issued a report on July 23, 2017 stating, “[o]n [the] last earnings call [on July 21, 2017] . . . GE


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‘ripped the band-aid’ by cutting its 2017 EPS and Industrial CFOA guidance ranges to their

respective low ends” and “Importantly, the company now expects full-year Industrial CFOA to

come in at the low-end of its $12-$14 billion guidance range . . . .”

          439.   Analysts were similarly surprised about the adverse claims experience in the LTC

book of business. For example, a J.P. Morgan analyst report dated July 24, 2017 noted that,

although the magnitude of the LTC reserve issue had not been revealed, the mere existence of the

issue presented a risk to GE Capital being able to sustain the dividends it had been “upstreaming”

to its parent company, GE, which, in turn, presented a risk to GE’s ability to continue to pay

dividends to GE shareholders. The J.P. Morgan report states:

          [T]he comment [on the 2Q17 earnings call] that [GE] will be evaluating Insurance
          for losses is a stark reminder that GECS is not just GECAS. Indeed, GECAS is
          $40B of assets out of a total $153B. In fact, Insurance is almost the same size at
          ~$36B, with roughly breakeven earnings contribution, and now prone to “adverse
          claims” in long term care, which according to our JPM Insurance analysts has in
          recent years been measured in “the billions” for others. This is a TBD, and we now
          see some risk to vertical earnings in 2H, as well as risk to potential for meaningful
          up streamed dividends in the years ahead.

          C.     October 20, 2017: Financial Results for 3Q 2017

          440.   On October 20, 2017, before the market opened, GE filed an 8-K with the SEC

attaching a “GE 3Q 2017 Earnings” summary. The summary reported GE’s CFOA for the quarter

(as discussed further below) and stated that although GE Capital had paid $4 billion in dividends

to GE through September 30, 2017, the Company was “deferring decision on additional dividends

until Insurance reserve review [related to LTC insurance] is completed.”

          441.   On October 20, 2017, before the market opened, GE held an earnings conference

call to discuss its results for the third quarter ended September 30, 2017. On the call, Bornstein

stated:

          Our reported CFOA was $500 million in the quarter. That represents GE cash flow
          . . . . Next on GE Capital [do see] we did not receive a dividend in the quarter. As


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 you know, we’re in the process of performing an actuarial analysis of claims
 reserves in our insurance business. Until that review has been completed, we have
 deferred the decision to pay GE Capital dividends to GE.

 Our industrial CFOA was $1.7 billion in the quarter, adjusted for $1.3 billion of US
 pension plan funding and deal taxes. This is down $1.2 billion from prior
 year. With BHGE, on a dividend basis and excluding oil and gas CFOA, our
 industrial CFOA was $2.1 billion.

                                  *       *      *

 Contract assets were a use of $800 million in the quarter. . . . $500 million is from
 our long-term service agreements due to better cost performance and parts life,
 primarily in power and transportation.

 442.   On the call, Miller further stated:

 On cash flow, we now expect industrial cash flow for the year to be about $7 billion
 . . . . This is well below the $12 billion estimate we provided at second-quarter
 earnings, and it’s principally driven by three businesses. Power is the biggest driver
 on lower volume, higher inventory, and the timing of payments on long-term
 equipment contracts. Oil and gas is about $1 billion off; about half of that being
 driven by lower volume and collections in the first half, and the rest driven by our
 methodology change to show them on the dividend basis for the second half of the
 year. And renewables is also about $500 million off on lower-than-expected
 volume impacting inventory and progress collections.

 443.   On the call, Flannery added:

 As Jamie [Miller] mentioned, cash will be approximately $7 billion for the year.
 Power alone will be lower than expected by $3 billion on lower earnings and higher
 inventory. . . .

 We expect substantially higher cash generation in 2018 driven by lower structural
 headwinds, things like tax and restructuring charges; a rigorous cost-out plan; and
 a substantial improvement in working capital. That said, obviously, $7 billion of
 cash is significantly lower than guidance, and this performance is simply not
 acceptable.

 444.   On the call, Bornstein further stated:

 GE Capital ended the quarter with $155 billion of assets, including $33 billion of
 liquidity, down $6 billion from the second quarter. As I mentioned on our last
 earnings call, we have recently observed elevated claims experience for a portion
 of the long-term care book at GE Capital’s legacy insurance business, which
 represents $12 billion or roughly 50% of our insurance reserves.




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        As a result, we began a comprehensive review in the third quarter of premium
        deficiency assumptions that are used in the annual claims reserve adequacy test.
        This is a very complex exercise, and the team is making good progress. We expect
        to complete this process by the end of the year. Until the review has been
        completed, we have deferred the decision to pay approximately $3 billion of
        additional GE Capital dividends. Year to date, GE Capital has paid $4 billion of
        dividends to GE.

        445.    During the call, Flannery also announced that the Company had “identified $20-

billion plus of assets that we will exit in the next 1 to 2 years.”

        446.    In reaction to the Company’s disclosures regarding LTC insurance reserves and

Industrial CFOA, which corrected and/or reflected the materialization of risks concealed and the

material misstatements and omission alleged herein, there was an immediate price decline in GE’s

stock, which opened on the NYSE trading on October 20, 2017 down more than 5.6% from the

closing price of $23.58 on the previous day, October 19, 2017. While the price rebounded

temporarily by the close of trading on Friday, October 20, 2017, by the close of the market on the

next trading day (Monday, October 23, 2017)—after investors had sufficient time to absorb the

impact of this news and after several analysts (including J.P. Morgan, Morgan Stanley and UBS

AG) downgraded GE’s stock in light of the disclosures—the stock closed at $22.32 on October

23, 2017, down $1.26, or 5.34%, from the close on Thursday, October 19, 2017 on extremely high

volume of 187,340,900 shares traded. As the market continued to absorb this news, GE’s stock

price continued its slide over the next few trading days, falling to $21.89 on October 24, 2017, and

then to $21.50 on October 25, 2017 and then to $21.32 on October 26, 2017. Thus, over the course

of this five-day period while the market digested the information disclosed on October 20, 2017,

GE’s stock price sank from a close of $23.58 on October 19, 2017 to a close of $21.32 on October

26, 2017, a cumulative drop of $2.26, or almost 10%.




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       447.    As discussed below, the changed views of analysts from the time the information

was initially disclosed on October 20, 2017 to the next trading day (October 23, 2017) demonstrate

that the market continued to digest the information after the initial disclosure on October 20, 2017.

       448.    For example, on October 20, 2017, when GE held its conference call, Morningstar

opined that the GE’s dividend was “at risk” based on the October 20, 2017 disclosures. But, by

Monday, October 23, 2017, after further digesting the information disclosed on October 20, 2017,

Morningstar then informed investors that the risk of a dividend cut was more likely. Specifically,

in an analyst report on Friday, October 20, 2017, Morningstar wrote, “[w]e plan to cut our fair

value estimate by as much as 10% following General Electric’s third-quarter earnings report,

which revealed deeper challenges in the power segment than we had anticipated.” The report

specifically pointed to GE “halv[ing] management’s original 2017 target of $12 billion-$14 billion

in industrial cash from operations,” and further wrote:

       More concerning is the suspension of GE Capital dividends, pending actuarial
       analysis of claims reserves in a long-term care insurance business. Absent these
       dividends to the parent, and with Flannery positioning 2018 as a trough or “reset”
       year, we think it would be irrational for GE to maintain its current dividend.
       Flannery did not explicitly confirm a cut but hinted that GE would be managed
       for total shareholder return going forward.

       449.    Thus, as the title of the report stated, Morningstar was initially of the view that the

“Dividend [Was] at Risk.” But, by the next trading day, Monday, October 23, 2017, Morningstar

actually acted on its plan to lower estimates for GE by 10% (lowering its price target for the stock

from $32 to $29) and stated:

       We’re lowering our fair value estimate to $29 from $32 on weaker-than-expected
       industrial cash flow generation. GE’s dismal third quarter revealed both financial
       and behavioral factors that also lead us to believe the risk of a dividend cut has
       increased. Originally, we had four conditions that caused us to believe GE would
       be able to maintain its $8 billion dividend. Two of those conditions broke down
       in the third quarter. Management indicated that industrial cash from operations
       would reach only $7 billion in 2017, far short of the original $12 billion-$14
       billion prior management targeted. Subtracting capital expenditures from this new


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        figure would leave only about $4 billion in industrial free cash flow, and that is
        before the $1.8 billion of pension contributions that GE is expected to make this
        year. Second, we had anticipated an additional $3 billion-$4 billion in GE Capital
        dividends to help bridge the gap if industrial free cash flow came in light. However,
        management revealed the suspension of GE Capital dividends pending review of
        reserves needed to support a long-term care insurance business. In our view,
        these were the two most important conditions needed to sustain the current
        dividend.

        450.    An RBC analyst report dated October 23, 2017 offered the following explanation

for why the stock rebounded on Friday, October 20, 2017, despite the negative news:

        New CEO John Flannery’s much-anticipated inaugural earnings call set off a
        rollercoaster day for GE stock. We believe that his brutal honesty about prior
        mismanagement and commitment to rethinking the entire business model resonated
        well with investors. The turning point that sparked the stock rally from down -6%
        Friday morning, in our view, was during Q&A when management crisply explained
        how the ~$7 bil 2017 CFOA level was not the “new normal”. . . .

        Biggest surprise: Despite guidance cuts, GE’s stock ends the day up 1%. Given the
        magnitude of the guidance cuts, the urgent question we fielded on Oct-20 was why
        the stock rallied from -6% at the open to up 1% at the close. Our take is that this
        rally was driven by two factors: (1) The bridge of cash usage items that will not
        repeat in 2018, demonstrating how $7 bil is not the “new normal”, eased some
        shock over the CFOA guidance cut. (2) John Flannery’s brutal honesty about GE’s
        prior failings, along with a heartfelt “falling on his sword” by outgoing CFO Jeff
        Bornstein. These factors helped investors conclude that a bottom could be at hand.

        451.    The RBC report then, like the October 23, 2017 Morningstar report, went on to

state, “[w]e expect GE to cut its dividend ahead of the Nov-13 analyst meeting,” and went on to:

(i) discuss what was learned from the earnings call; (ii) stress both CFOA and LTC concerns; and

(iii) actually lower its price target for GE’s stock, stating:

        The deterioration of GE’s cash generation and sustainability of its dividend remains
        one of the biggest topics of debate facing the company today. To address this, new
        CEO John Flannery was unequivocal about his focus and commitment to improving
        cash flows at the company. That said, GE was forced to once again cut its 2017
        Industrial CFOA target, moving from ~$12 billion down to ~$7 billion, implying
        a -40% decrease. In addition, the company had originally planned to orchestrate
        $6-$7 billion of total GE Capital (GECC) dividend back to the parent for the full-
        year. However, though it has only generated $4 billion YTD, management is
        deferring any decisions on additional GECC dividends until it completes an



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       actuarial review of the claims reserves in its insurance business to gauge the level
       of cash outlays that may become necessary.

Another area of the report states:

       GE is currently in the midst of reviewing the adequacy of its reserves on its long-
       term care reinsurance business within GE Capital, which is expected to conclude in
       4Q17. Given that this review may determine that roughly half of GE Capital’s
       reserves are insufficiently funded and that additional contributions must be
       committed, management has opted to defer any decision on transferring further
       dividends from GE Capital to the Industrial parent in 2H17. Year-to-date, the
       company has generated $4 billion of GE Capital dividends, vs. the prior target of
       $6-$7 billion for the year, which may no longer be feasible depending on the
       conclusion of the insurance reserve assessment.

       452.    In an October 23, 2017 analyst report, Deutsche Bank AG (“Deutsche Bank”)

similarly pointed to the surprising disclosures regarding GE’s likely LTC charges in issuing a

“sell” recommendation to investors, stating, inter alia:

       The fact that GE owes such a large bill for legacy insurance likely surprised a lot
       investors considering GE supposedly exited Genworth, ERC and GE’s other
       insurance businesses many years ago. In fact, of GE Capital’s [approximately]
       $155bn of assets at 3Q17, roughly $27bn are reportedly tied to insurance. . . . Why
       is GE still taking charges for its discontinued operations . . . .

       D.      November 13-14, 2017: Investor Update And Goldman Sachs Conference

       453.    On Monday, November 13, 2017, before the market opened, GE released to the

market the long-awaited “GE Investor Update” from its CEO, Flannery. Flannery had been

conducting a 100-days’ long “deep dive” into all of GE’s businesses and had earlier promised

investors that he would update them on GE’s plans for the future in November 2017, including an

update on the LTC insurance issue.

       454.    In the written “GE Investor Update,” GE announced that it was cutting its dividend

by 50% from the then-current level of $0.96 per share to $0.48 per share. The “GE Investor

Update” stated that this reduction meant that the all-important dividend yield was be reduced from

approximately 4.7% to approximately 2.3%. The “GE Investor Update” further stated that there



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would be a “[p]otential 4Q [2017] insurance reserve adjustment,” but did not specify the amount,

and further disclosed that while GE Capital had paid GE $4 billion in dividends thus far through

the year, the decision on whether GE Capital would pay any further dividends to GE in 2017 was

“deferred” and that GE was “[n]ot planning for dividend from GE Capital in 2018.”

       455.   This announcement was a highly significant event as the dividend cut was only the

second dividend cut GE had made since the Great Depression (the other one was during the

financial crisis in 2008), and was attributable to GE’s disappointing CFOA and forthcoming LTC

reserve charge.

       456.   Beginning at 9 a.m. New York time, and continuing after the market had opened,

GE held an “Investor Update” conference call with analysts and investors to discuss the written

update further. During the call, CEO Flannery stated:

       You saw this morning that we announced the reduction in our dividend. It’s in the
       context really of focusing on managing the company for total shareholder return.
       I’d just start by saying we understand this is an extremely painful action for our
       shareholders, our owners. We’re reducing the dividend by 50% to $0.48 a share.
       Not a decision we took lightly. It was after extreme deliberation and consideration
       what the alternatives were.

                                         *      *       *

       With respect to the dividend, again, I just want to reiterate, we understand how
       important the dividend is to our shareholders, especially the people who use it for
       current income. We’ve gone through exhaustive analysis of this, but I want to start,
       first and foremost, with a full recognition of the gravity of this decision and the
       effect it has on many people. That said, the reduction of this dividend to $0.48 is a
       product, really, of where we are as a company right now. So we had a $0.96
       dividend established. We had a path where we thought the industrial cash flow
       generation would grow, that would grow into the dividend, that we’d end up in
       2018 with a payout ratio that was quite comparable to what you’d see from our
       peers. The reality is that hasn’t unfolded that way. The cash profile has not
       unfolded that way, and we’ve been paying a dividend in excess of our free cash
       flow for a number of years now.

       457.   GE then went on to discuss reasons why its dividend was being cut—Industrial

CFOA shortfalls and the lack of an upstream dividend from GE Capital to GE for the remainder


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of 2017 and 2018 as a consequence of the LTC insurance issues. Defendant Flannery reiterated

the Company’s CFOA forecast reduction, in the following question and answer exchange during

the call:

        Unidentified Participant:

        [S]hortly after you were named CEO, it was widely quoted in the Journal and
        elsewhere that the dividend was safe. Surprised that you would make such a strong
        statement early on, which . . . has hurt your credibility right out of the gate. . . .
        When did you make the decision? . . .

        John L. Flannery—General Electric Company—Chairman & CEO:

        So I think there’s been major change in our cash flow forecast. So the time we
        went out with that first statement, we were having a $12 billion to $14 billion
        CFOA. And the day I started, there was a guide to the low end of that range. . . .
        So we’re now at a $7 billion number. . . . [F]undamentally, that dividend was
        predicated on us growing to a certain level that we just did not see happening in
        terms of industrial cash flow in the next couple of years . . . . So the single biggest
        delta, I think is obvious, which is what happened in the Power business.

        458.   On the call, regarding GE’s review of its LTC insurance reserves, Miller updated

investors as follows:

        One area, I’ll just pause and talk about for a minute, is GE Capital. And as many
        of you know, we’re in the middle of an ongoing reserve review at our insurance
        businesses there. This process is ongoing. It involves multiple third parties and
        it’s not done at this point. And I don’t have a number for you today. We’re on
        track to conclude that in December. And we mentioned to you before that we’re
        not taking a second half [2017] GE Capital dividend of about $3 billion. And as
        we go through this process, at this point, I do expect the charge to be more than
        that. But we do have capital plans in place and we don’t expect to have to put GE
        parent cash into GE Capital.

                                          *       *       *

        Probably the last thing I would just mention on this page is that we’re not planning
        a GE Capital dividend [to be paid to GE] for 2018.

        459.   On November 14, 2017, Miller appeared at a Goldman Sachs conference beginning

at 9:30 a.m. New York time (i.e., after the market had opened), during which one analyst noted

that in “[y]esterday’s presentation, GE Capital was noticeably absent in the discussion there.”



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Miller reiterated, “you saw that we cut the dividend yesterday by 50%” and provided further

information. In response to an analyst’s question, Miller further elaborated on the information

provided in the November 13, 2017 presentation the day before, stating:

       And then the second piece to your question was really around the insurance review
       we have ongoing. Many of you may know, we’re in the middle of a review of our
       insurance reserves. This is a book of largely reinsured long-term care businesses
       back from more than a decade ago. That review is ongoing, we’re right in the
       middle of it. It involves multiple third parties. It’s not done so we don’t have any
       answers to it today. It’s on track for completion in December. So when we know
       what that is, we’ll announce it. We had announced earlier that we had deferred the
       decision on a GE Capital dividend of about $3 billion in the second half of the year.
       At this point in the process, I’d tell you that I expect that charge to be more than
       that, but we also have capital plans in place and I don’t expect to have to put parent
       cash into GE Capital at this point. But look, when we know and when we
       understand this better, we will announce it and be sure everybody knows.

       460.    The enormous 50% dividend slash was more than analysts had been anticipating.

For example, after the October 20, 2017 disclosures (discussed above), in an October 23, 2017

analyst report, Morgan Stanley had forecasted a “higher probability of a dividend cut to

[approximately] $0.70 . . . .” Thus, the unanticipated halving of the dividend to a substantially

lower $0.48 per share, and the need for charges exceeding $3 billion for LTC reserves, caught

analysts and the market off guard and sent the stock price reeling. This news, which corrected

and/or reflected the materialization of risks concealed by the materially false or misleading

statements and omissions alleged here, caused GE’s stock price dropped from a close of $20.49

on Friday, November 10, 2017 to close at $19.02 on Monday, November 13, 2017, a drop of over

7%, on heavy volume of over 261 million shares. The share price decline continued on the next

trading day as the market continued to digest the shocking news about GE’s massive dividend cut

and need for larger-than-previously-disclosed LTC insurance reserves. On Tuesday, November

14, 2017, GE’s stock fell an additional $1.12 per share, or 5.8%, to close at $17.90 on even heavier

volume of 312,556,800 shares. The stunning news released by GE on November 13, 2017 and



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further discussed by GE at the November 14, 2017 Goldman Sachs conference resulted in a two-

day share price free fall of more than 12.5%.

       461.    As analysts explained, the dividend cut was particularly distressing news to GE’s

“retail investors” who placed great emphasis on GE’s attractive dividend yield. In a November

14, 2017 Deutsche Bank report, under the heading Negative surprises, Deutsche Bank wrote,

“[t]he dividend cut to 48 cents was steeper than we expected.” The Deutsche Bank report goes

on to note that “retail investors,” who own approximately 40% of GE’s shares, were particularly

apt to punish the stock because such investors had been heavily reliant on GE’s (formerly)

attractive dividend yield. The Deutsche Bank report states:

       Yesterday, GE’s analyst meeting surprised on several fronts.

       Steep dividend cut
       For the third time in its history, GE cut its dividend. Only this time, the cut wasn’t
       predominantly driven by macro forces as was the case in the past (ie, Great
       Depression, Great Recession) but instead was heavily attributable to circumstances
       that were created by GE itself—namely excessive earnings ramp/targets matched
       with a dividend payout ratio of 45-50%.

       The cut to 48 cents from 96 cents came in lower than consensus expectations of
       ~60 cents, in our opinion. . . .

       With >40% of GE’s common equity owned by retail investors, we believe
       substantial near term selling pressure on GE could further ensue as retail
       investors who previously counted on the GE dividend look elsewhere.

       462.    In a November 14, 2017 analyst report, Citigroup Global Markets, Inc. lowered its

price target from $27 to $25 and wrote that “[p]ower is a mess right now. GE Capital will likely

take a big insurance charge, and Cash/EPS could flat-line close to $1” and further that “the long

term care reserve in GE Capital will be bigger than we thought.”

       E.      January 16, 2018: GE’s “Insurance Update”

       463.    On Tuesday, January 16, 2018, before the market opened, GE issued a press release

announcing the results of its reserve testing related to its LTC portfolio and disclosed the shocking


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news that it will take an “after tax GAAP charge of $6.2 billion for the fourth quarter of 2017”

($8.9 billion pre-tax) and that “GE Capital expects to make statutory reserve contributions of ~

$15 billion over seven years.”

       464.     On January 16, 2018, before the market opened, GE also filed an 8-K with the SEC,

which stated:

       On January 16, 2018, GE provided an update on the previously reported review of
       premium deficiency assumptions related to GE Capital’s run-off insurance business
       (North American Life and Health (“NALH”)). With the completion of that review,
       and of NALH’s annual premium deficiency test, GE recorded an increase in future
       policy benefit reserves of $8.9 billion and $0.6 billion of related intangible asset
       write-off for the fourth quarter of 2017. This will result in a $6.2 billion charge
       ($7.5 billion upon remeasurement under tax reform) on an after-tax GAAP basis to
       GE’s earnings in the fourth quarter of 2017.

       As a regulated insurance business, NALH is subject to a statutory accounting
       framework for setting reserves that requires the modification of certain assumptions
       to reflect moderately adverse conditions and other differences from the reserve
       calculation under GAAP. Under that framework, we estimate that GE Capital will
       need to contribute approximately $15 billion of capital to NALH over the next
       seven years. GE Capital plans to make a first capital contribution of approximately
       $3 billion in the first quarter of 2018 and expects to make further contributions of
       approximately $2 billion per year in each of the six following years, subject to
       ongoing monitoring by NALH’s primary regulator, the Kansas Insurance
       Department. GE Capital plans to fund the capital contributions with its excess
       liquidity and other GE Capital portfolio actions and does not expect to make a
       common share dividend distribution to GE for the foreseeable future.

       465.     On January 16, 2018, before the market opened, GE held an “Insurance Update

Call” as a follow-up to the press release. During the call, Flannery stated:

       We’ve taken an after-tax GAAP charge of $6.2 billion, which is $7.5 billion at a
       21% tax rate. And you will see that reflected in our fourth quarter financials. GE
       Capital will make a $3 billion statutory cash contribution to its insurance subsidiary
       in the first quarter of 2018 and approximately $2 billion annually from 2019 to
       2024, for a total of approximately $15 billion.

       Needless to say, at a time when we are moving forward as a company, I’m deeply
       disappointed at the magnitude of the charge in this legacy portfolio.




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       Clearly, in hindsight, we underappreciated the risk in this book.

       466.      In contrast to Defendants’ repeated proclamations during the Class Period that GE

had “exited” the insurance business and that “all of the insurance business is gone,” Flannery

acknowledged on January 16, 2018 that GE had only “exit[ed] the majority of our insurance

businesses in the 2004 to 2006 timeframe.” He also conceded that, notwithstanding GE’s lack of

disclosures to investors regarding its LTC liabilities, GE had been focused internally on its LTC

portfolio throughout the Class Period. Flannery noted that executives “reviewed” GE’s LTC

exposure “[i]n 2015, as part of the GE Capital exit process” and further stating that GE’s LTC

book “has gone through a standard evaluation process and testing every year as is the standard in

the industry.”

       467.      During the January 16, 2018 conference call, Zanin noted that GE’s experience was

no different than those of other LTC insurers (many of which had increased their reserves long

before GE), stating, “the entire industry has experienced greater claims than originally anticipated

where more people go on claim and for longer than expected.”

       468.      In response to this disturbing news, which corrected and/or reflected the

materialization of risks concealed by the materially false or misleading statements and omissions

alleged here, caused GE’s share price sank from a close of $18.76 on Friday, January 12, 2018 to

$18.21 on Tuesday, January 16, 2018 (the next trading day), a drop of approximately 3% on heavy

trading volume of 205,657,000 shares. As investors continued to digest the news, the price drop

continued the following trading day when on January 17, 2018, GE’s stock fell to $17.35 from the

January 16 close of $18.21, a drop of an additional 4.7% on heavy trading volume of 185,781,800

shares. The share price decline continued for the next two days, closing at $16.77 on January 18,

2018 and then at $16.26 on January 19, 2018. Thus, as the market continued to digest the news,


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GE’s stock price declined over this four-day period from a close of $18.76 on Friday, January 12,

2018 to close at $16.26 on January 19, 2018, a cumulative drop of $2.50 per share or more than

13%.

        469.   Analysts were incredulous about the enormity of the LTC reserve charge. During

the January 16 call, analyst Jeffrey Todd Sprague, Founder and Managing Partner at Vertical

Research Partners, LLC, remarked that “[i]t is hard to imagine a $15 billion problem materialized

in the course of a year, like there was not enough rigor behind this process.”

        470.   Numerous analysts also remarked that the LTC reserve charge was greater than

what the market had expected. In an analyst report dated January 16, 2018, entitled Insurance

woes hit GE hard, Deutsche Bank stated its surprise regarding GE’s enormous charge to earnings

related to LTC insurance especially since LTC reserve issues had been revealed to the market by

other companies with LTC exposure (but not by GE) at least as early as 2014:

        This morning, GE announced that it would take $6.2bn of 4Q17 after-tax charges
        to shore up reserves for GE Capital’s long term care reinsurance book ($7.5bn at
        21% US tax rate), or more than twice the original estimate last year of ~$3bn,
        which we had presumed was a pretax number—this was not publicly specified. The
        charges come well after Genworth first flagged long term care issues in late 2014.
        The company also called out a considerable cash funding requirement of $15bn
        over the next 7 years. . . .

        Overall, the charges and scope of the problem are significantly worse than we had
        anticipated.

        471.   In an analyst report dated January 16, 2018, entitled, GE—Insurance Reserve Much

Worse Than Anticipated; $15 Bil of Contributions Over 7 Years, RBC wrote:

        Our view: Although we had been previously warned that Sector Perform-rated GE’s
        insurance portfolio reserve charge would be substantial, the initial amount
        announced on Jan-16 was far more severe than the market had
        been anticipating, and exceeded expectations in early November of a +$3 billion
        charge. Specifically, GE now expects to record a $6.2 billion after-tax GAAP
        initial charge in 4Q17 and confer over $15 billion of total statutory capital
        contributions (cash) over the next seven years based on a “comprehensive bottom-
        up rebuild” of all claim curves and assumptions.


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       Long-awaited insurance portfolio reserve charge was higher than expected; $6.2
       billion after-tax charge in 4Q17 and $15 billion of contributions over seven years.
       On Jan-16, GE finally announced the results of its comprehensive review of GE
       Capital’s run-off insurance portfolio. Specifically, management sized the pre-tax
       GAAP charge at $9.5 billion (or $6.2 billion after-tax), to be booked in 4Q17, and
       estimates a total statutory capital contribution of $15 billion over the next seven
       years. Recall that GE had previously estimated that the charge would be over +$3
       billion and that it would announce these results in Dec-2017; clearly, the severity
       of the reserve shortfall was more dire than anticipated. . . . Management stated
       that these new charges are based on a “comprehensive bottom-up rebuild” of all
       claim curves, projections, and assumptions, which suggests to us that the prior
       standards for the actuarial reviews had been inadequate.

       472.    In an analyst report dated January 16, 2018, entitled GE Capital Charge

Problematic on Many Levels, Cowen wrote:

       GE Capital’s Woes A Problematic Development—GE announced a $6.2B after-tax
       charge ($9.5B pretax) related to its review of the insurance portfolio (i.e. GE North
       American Life & Health; “NALH”) it divested over 10 years ago. The $6.2B is
       2x+ larger than GE had originally guided . . . . GE Capital plans to make $15B
       of “statutory reserve contributions” (i.e., cash contributions) over the next seven
       years, with $3B to be paid in Q1:18 and $2B/year to be paid over 2019-2024.

       473.    The negative coverage continued the next day as analysts continued to digest the

completely unanticipated news GE revealed the day before. On January 17, 2018, Deutsche Bank

reemphasized the dire effect of the failure to properly reserve in the LTC business, stating:

       GE needs cash. Separating out Aviation and Healthcare (relatively robust cash
       generators) could strand substantial liabilities with the Power business that could
       face years of long term fundamental pressures. Power itself requires substantial
       cash to fund its downsizing and new product development. Moreover, GE Capital
       now requires cash to pay the $15bn of Insurance reserve funding (over 7 years),
       which would end up $9bn short once the $28bn of cash available pays off ~$25bn
       of run-off debt over the next 3 years (excluding the contribution from annual
       Capital earnings, which may also shrink as EPS and the Industrial Finance books
       are meaningfully taken down).

       474.    Similarly, in a January 17, 2018 analyst report, J.P. Morgan analyst Tusa continued

to digest the implications the January 16, 2018 disclosures would have for GE’s future earnings

and wrote, “[y]esterday’s charge from GE was materially larger than expected, and the


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implications of dealing with it are dilutive to earnings, FCF [free cash flow] and ultimately value.”

(emphasis in original). Tusa went on to note that the charge was so large that it implicates the

financial strength of “the consolidated company now, and is not a ring fenced [GE Capital] issue.”

          475.   In fact, in a January 17, 2018 article titled GE Capital Drags Down its Parent and

CEO, reporters at The New York Times noted that Flannery himself admitted, “I share your

surprise and disappointment of this coming out of a legacy business.”

          476.   The market continued to digest this news on January 18, 2018. For example, a

January 18, 2018 article in The Economist titled, After a huge loss on old reinsurance contracts,

GE contemplates a break-up, stated, “[t]hat in the 12 years since [the Genworth and Swiss Re

deals], the firm appears to have done little about this residual portfolio seems an odd omission.

The risk, after all, was well known. Other firms had problems with policyholders living longer

and incurring higher medical costs than insurers had built into their initial assumptions; the long-

term care market as a whole in America has run into trouble.”

          F.     January 24, 2018: Disclosure Of Fourth Quarter 2017 Financial Results And
                 SEC Investigations Into GE’s LTC Reserves And Revenue Recognition
                 Practices Related To LTSAs

          477.   On January 24, 2018, before the market opened, GE issued a press release, filed

with the SEC on an 8-K, announcing its 4Q 2017 results. The press release stated that GE suffered

a net loss of $9.8 billion for 4Q 2017, which included a $6.2 billion after-tax charge to increase

LTC insurance reserves and substantial profit shortfalls in its Power unit. The press release further

stated:

          GE Chairman and CEO John Flannery said, “In the fourth quarter, EPS was at the
          low-end of guidance, excluding insurance-related items, U.S. tax reform, and
          industrial portfolio actions. . . . Power was down significantly and we expect
          market challenges to continue.”




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       478.    The press release further stated, “GE Capital ended the quarter with $157 billion of

assets, including $31 billion of liquidity. On a reported basis, the Verticals generated a loss of

$(7.6) billion, which is down from last year driven by the effects of the charges in the Insurance

business” and that:

       GE announced last week that the comprehensive review and reserve testing for GE
       Capital’s run-off insurance portfolio, North American Life & Health (NALH),
       resulted in an after-tax GAAP charge of $6.2 billion for the fourth quarter of
       2017, and GE Capital expects to make statutory reserve contributions of
       approximately $15 billion over 7 years.

       479.    Also on January 24, 2018, during an earnings conference call held before the market

opened, GE disclosed that it has “been notified by the SEC that they are investigating the process

leading to the [LTC] insurance reserve increase and the fourth-quarter charge as well as GE’s

revenue recognition and controls for long term-service agreements.”

       480.    In response to these disclosures regarding the SEC investigations, which corrected

and/or reflected the materialization of risks concealed by the materially false or misleading

statements and omissions alleged here, caused GE’s stock price declined from a close of $16.89

on January 23, 2018 to $16.44 on January 24, 2018, a 2.66% decrease on heavy volume of over

167 million shares. The share decline continued the next day as the price continued to drop to

close at $16.18 on January 25, 2018, again on heavy volume of over 95 million shares. Thus, as

the market continued to digest the news over this two-day period, GE’s stock price declined from

a close of $16.89 on January 23, 2018 to $16.18 on January 25, 2018, a cumulative drop of $0.71

or more than 4%.

       481.    Analysts cited the disclosure of the SEC investigations as a reason for the decline

in GE’s stock. For example, in an RBC analyst report dated January 25, 2018, RBC lowered its

price target for GE’s stock and wrote that any positive developments in GE’s financial results:




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       [W]ere quickly made irrelevant when management unexpectedly disclosed during
       the earnings call that the SEC had opened two separate investigations: one into
       GE’s insurance reserve charge and the other into its contract asset accounting
       practices. The stock reaction to this negative news was swift, reversing a +4%
       relief rally into a 2%-3% decline. While it is difficult to handicap the risks
       associated with these SEC reviews in their early stages, this overhang will likely
       continue to dog GE over the near-term and present any bottom-fishing investors
       with a reason to stay on the sidelines. We are lowering our 2019 EPS by -4c and
       our price target to $17.

       Biggest surprise: Discloses two separate SEC investigations. GE’s stock sell-
       off on Jan-24 was seemingly prompted by the unsettling revelation of two SEC
       investigations. Recall that it announced on Jan-16 that GE Capital’s insurance
       reserves were found to be inadequate, requiring $15 bil of capital contributions over
       the next seven years. This development apparently elicited the interest of the SEC,
       which may be looking into how a liability of this magnitude had been permitted to
       languish unnoticed for so long. Separately, GE revealed that the SEC had opened
       an investigation into its contract asset accounting practices in late-2017.

       482.    Market commentators also pointed to the disclosure of the SEC investigations as a

reason for the decline in GE’s stock. For example, a January 25, 2018 CBS MarketWatch article

entitled, GE stock swings lower after disclosure of SEC investigation, states:

       General Electric Co’s stock was soaring after the company reported fourth-quarter
       results, then the industrial conglomerate’s bombshell about a government
       accounting probe triggered a sharp pullback that erased all the gains.

                                         *       *      *

       The stock . . . had traded up as much as 5.8% in premarket trade, after GE reported
       fourth-quarter results, and after the start of the post-earnings conference call.

                                         *       *      *

       But after the SEC probe [was announced on the earnings call], the stock took a
       sharp dive. It tumbled 2.7% in active trade Wednesday, enough to pace the Dow
       Jones Industrial Average[] . . . decliners. Volume spike to 167 million shares,
       making the stock the most actively traded on major U.S. exchanges.

       483.    The declines in GE’s stock following the revelations during the corrective

disclosure period (April 21, 2017 through January 24, 2018) and the resulting losses suffered by




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Plaintiffs and members of the Class were proximately caused by the misstatements and omissions

of material fact alleged herein.

IX.    ADDITIONAL POST-CLASS PERIOD EVENTS

       A.      Investors Express Shock Over GE’s LTC Reserve Charge And Identify A
               “Credibility Gap” With Management

       484.    In a report dated January 29, 2018 titled SEC Enforcement investigation elevates

GE risks, Deutsche Bank analyst John G. Inch (“Inch”) stated:

       In turn, the high magnitude of the $9.5bn charge and $15bn cash bill (substantially
       beyond expectations for a business likely few were even aware retained such
       elevated risks) shocked the market and helped to drive GE’s share price lower while
       widening its credit spreads.

       In addition, recall that GE didn’t begin to flag long-term care insurance issues until
       mid-2017, well after its former insurance subsidiary Genworth first identified
       problems with its long-term care portfolio in late 2014.

       485.    Just three weeks earlier, on January 5, 2018, Inch similarly noted, in a report titled

GE Insurance risks:

       From GE’s latest 10-Q 3Q2017 filing, the company retains insurance and
       investment contract liabilities of ~$27bn. Long-term care exposures were pegged
       at $12bn or roughly half of the company’s insurance reserves. It is undoubtedly
       surprising to many that GE maintains $ billions of “run-off” insurance exposure
       even though the Genworth IPO occurred nearly 14 years ago while GE also sold its
       Insurance Solutions businesses including [ERC] to Swiss Re in 2005.

                                         *       *       *

       Even though Genworth first publicly identified problems with its long-term care
       portfolio in late 2014, GE didn’t begin to flag the issue until the second quarter
       2017 conference call.

                                         *       *       *

       [W]e find it odd that it has taken GE so long to get a handle on its potential long-
       term care reserve deficiencies. As we understand it, most companies perform these
       reviews in 4Q on a regular basis. Considering the highly regulated (and automated)
       nature of the insurance business, it isn’t clear what would have been causing the
       lengthy GE process review.




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       [W]ith the insurance bill now potentially topping $4bn, where exactly is the
       ceiling? In our opinion, GE’s track record at forecasting losses for “run off” or
       “discontinued operations” isn’t exactly stellar—think WMC and Lake Financial
       that required recurring top-up charges long after the businesses were reportedly
       sold/discontinued.

       486.    On January 25, 2018, Bloomberg published an article commenting on the

mysterious timing of GE’s disclosure of the LTC reserve charge, entitled, GE’s Surprise $15

Billion Shortfall Was 14 Years in the Making, which stated, in part:

       The trouble at General Electric Co. began decades ago when a hole started to form
       inside its sprawling financial unit.

       The hole became a $15 billion shortfall in insurance reserves, disclosed last week.
       It’s prompted a Securities and Exchange Commission investigation, called into
       question the oversight of GE leadership, pushed down the share price, and shocked
       investors who were asking Wednesday how this icon of American capitalism could
       allow the situation to deteriorate to this point.

       “It sure seems that previous management had a rosy view,” said Scott Davis, an
       analyst with Melius Research in New York. “There seemed to be no effort on their
       part to get ahead of the liability. I find it very hard to believe that mysteriously
       overnight GE found problems they didn’t know existed.”

                                         *      *        *

       Some employees were aware that long-term-care insurance was in bad shape. And
       even as it sold the bulk of its finance business, executives resisted selling
       reinsurance assets, even when bankers encouraged them.

       Doing so would have forced GE to book a huge charge to reflect a drop in value,
       according to people with familiar with [sic] the situation who asked for anonymity
       because they weren’t authorized to speak. That was an indication that the business
       was worth less than what GE reported to investors, the people said.

       487.    On February 1, 2018, Audit Analytics issued a report titled Could We Have

Predicted the General Electric Insurance Charge?, which noted that the “magnitude of the $6.2

billion [after-tax] charge is far more staggering than . . . the market anticipated.” The Audit

Analytics report went on to note that, since 2004, no less than 30 insurance companies have

modified their LTC reserves on 60 different occasions.




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        488.     In a February 21, 2018 article in The Wall Street Journal titled How Jeffrey Immelt’s

‘Success Theater’ Masked the Rot at GE, Thomas Gryta remarked:

        “The history of GE is to selectively only provide positive information,” said
        Deutsche Bank analyst John Inch, who has a “sell” rating on the stock. “There is a
        credibility gap between what they say and the reality of what is to come.”

        Said Sandra Davis, who knows several GE executives as the founder of MDA
        Leadership Consulting: “GE itself has never been a culture where people can say,
        ‘I can’t.’”

        489.     Gryta’s article went on to note that “Mr. Immelt’s optimism was part of the

problem, according to some people close to the situation. They said he told the board that

management had identified risks in the power business, yet downplayed them.”

        490.     Similarly, in a February 22, 2018 article by Michelle Fox of CNBC entitled GE has

been ‘brushing things under the rug’ for decades, Deutsche Bank analyst says, Fox reported that,

according to Deutsche Bank analyst Inch, GE has been “brushing things under the rug and

leveraging aggressive accounting” for several decades. “One could infer the prior management

basically did this to drive the . . . adjusted EPS [] up as much as possible to pay themselves as

much as possible,” Inch said in an interview with CNBC’s Power Lunch. Inch also stated that GE

“made it overly complicated to dissect the financials. They compounded the complexity on

purpose so people wouldn’t look at the details.” Inch added, “Now unfortunately they’re paying

a bit of a price for it.”

        491.     On March 19, 2018, in a blog post titled No. 258: Long-Term Care Insurance—The

Kansas Insurance Department’s Bailout of General Electric, noted industry expert and Indiana

University professor emeritus Joseph M. Belth, Ph.D. recognized that GE’s LTC exposure “was

not widely known until recently.”

        B.       GE Files Its 2017 10-K

        492.     On February 23, 2018, GE filed with the SEC its 2017 10-K.


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       493.    With respect to GE’s “Critical Accounting Estimates” related to its insurance

liabilities, the 2017 10-K dramatically expanded upon the Company’s disclosures on this topic

during the Class Period, stating:

       INSURANCE AND INVESTMENT CONTRACT LIABILITIES

       Insurance and investment contract liabilities amounted to $38.1 billion and $26.1
       billion at December 31, 2017 and 2016, respectively. These primarily comprise a
       liability for future policy benefits for those claims not yet incurred and claim
       reserves for claims that have been incurred or are estimated to have been incurred
       but not yet reported.

       Future policy benefit reserves amounted to $30.6 billion and $18.7 billion primarily
       comprising $16.5 billion and $7.6 billion related to long-term care insurance
       contracts and $9.4 billion and $9.3 billion related to structured settlement annuities
       and other life and disability insurance products at December 31, 2017 and 2016,
       respectively. Long-term care insurance provides defined benefit levels of
       protection against the cost of long-term care services provided in the insured’s
       home, in assisted living or nursing home facilities. Structured settlement annuities
       typically provide fixed monthly or annual annuity payments through death of the
       policyholder (with some specifying a minimum duration of payments) while
       traditional life and disability insurance triggers a payment in the event of death or
       disability of the policyholder.

       Future policy benefit reserves represent the present value of future policy benefits
       less the present value of future net premiums and were first established based on
       actuarial assumptions at the time the policies were issued or acquired plus a margin
       for adverse deviation. These assumptions include, but are not limited to, interest
       rates, health care experience (including type and cost of care), morbidity, mortality,
       the length of time a policy will remain in force and anticipated future premium
       increases from future in-force rate actions. Assumptions are locked-in throughout
       the life of a contract unless a premium deficiency develops. Our annual premium
       deficiency testing assesses the adequacy of future policy benefit reserves, net of
       capitalized acquisition costs, using current assumptions. The results of historic
       premium deficiency testing were mostly driven by changes in assumptions, results
       from line of business experience studies and the impact from changes in estimated
       reinvestment rates on investment securities. We have not originated new policies
       since 2006.

       During 2017, in response to elevated claim experience for a portion of our long-
       term care insurance contracts that was most pronounced for policyholders with
       higher attained ages, we initiated a comprehensive review of premium deficiency
       assumptions across all insurance products, which included reconstructing our future
       claim cost assumptions for long-term care contracts utilizing trends observed in our
       emerging experience for older claimant ages and later duration policies. Certain of


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       our long-term care policyholders only recently started to reach the prime claim
       paying period and our new claim cost assumptions considered the emerging
       credibility of this claim data. In addition to the adverse impact from the revised
       future claim cost assumptions over a long-term horizon, our premium deficiency
       assumptions considered mortality, length of time a policy will remain in force and
       both near-term and longer-term investment return expectations. Future investment
       yields estimated in 2017 were lower than in previous premium deficiency tests,
       primarily due to the effect of near term yields on approximately $15 billion of future
       expected capital contributions. The test indicated a premium deficiency resulting
       in the unlocking of reserves and resetting of actuarial assumptions to current
       assumptions. This resulted in a $9.5 billion charge to earnings, which included a
       $0.4 billion impairment of deferred acquisition costs, a $0.2 billion impairment of
       present value of future profits, and an $8.9 billion increase in future policy benefit
       reserves. We commenced integrating these new assumptions into our systems and
       processes embedded in our framework of internal controls over financial reporting
       and expect to continue the integration in 2018.

       494.    Regarding the assumptions it uses to calculate its reserves, GE expanded upon its

Class Period disclosures, stating the following in the 2017 10-K:

       The primary assumptions used in the premium deficiency tests include:

       Morbidity. Morbidity assumptions used in estimating future policy benefit reserves
       are based on estimates of expected incidences of disability and claim costs, and
       include consideration of antiselection and estimates of expected future morbidity
       improvement. Historical premium deficiency assumptions considered the risk of
       antiselection by including issue age adjustments to morbidity based on an actuarial
       assumption that long-term care policies issued to younger individuals have
       exhibited lower expected incidences and claim costs than those issued to older
       policyholders. Recent claim experience and the development of reconstructed
       claim cost curves indicated minimal issue age adjustments impacting claim cost
       projections and accordingly, in 2017 issue age adjustments were no longer assumed
       in developing morbidity assumptions.

       Mortality. Mortality assumptions used in estimating future policy benefit reserves
       are based on published mortality tables as adjusted for the results of our experience
       studies and estimates of expected future mortality improvement. For life insurance
       products, higher mortality increases our future policy benefit reserves, while for
       annuity and long-term care insurance contracts, higher mortality decreases our
       future policy benefit reserves.

       Discount rate. Interest rate assumptions used in estimating future policy benefit
       reserves are based on expected investment yields, net of related investment
       expenses. In estimating future yields, we consider the actual yields on our current
       investment securities held by our run-off insurance operations, the future rates at
       which we expect to reinvest any proceeds from investment security maturities, and


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       the average long-term yield we expect from the proceeds of estimated future capital
       contributions into our run-off insurance operations. Such contribution may
       comprise cash that will be used to purchase investment securities or other
       qualifying investments from GE Capital’s portfolio. The adverse impact on our
       statutory reserves arising from our revised assumptions, including the collectability
       of reinsurance recoverables, is expected to require GE Capital to contribute
       approximately $15 billion additional capital to its run-off insurance operations in
       2018-2024, subject to ongoing monitoring by the Kansas Insurance Department.
       GE is required to maintain specified capital levels at these insurance subsidiaries
       under a capital maintenance agreement. The cash component of the capital
       contribution will be invested at the current market yields at the time of contribution,
       which has the impact of lowering the average long-term investment yield used to
       calculate the discount rate and, as such, further adversely impacted the estimated
       premium deficiency. Our discount rate assumptions for purposes of performing
       premium deficiency assessments ranged from 2.6%-6.0% in 2017 with a weighted-
       average rate of 5.7% across different tenors and 5.3%-6.7% in 2016 with a
       weighted-average rate of 6.2%.

       Future long-term care premium rate increases. We consider recent experience
       with rate increases in establishing our current expectations. As a reinsurer, we rely
       upon the primary insurers that underwrite the underlying policies to propose rate
       increases to the relevant state insurance regulator as we have no ability to institute
       premium rate increases on the policyholders themselves.

       495.    Additionally, as discussed herein, in the 2017 10-K, GE reverted to its pre-Class

Period practice of including LTC liabilities within its Disclosed Insurance Liabilities. This change

had the effect of increasing GE’s Disclosed Insurance Liabilities from $11.1 billion as of

December 31, 2016 to $38.0 billion as of December 31, 2017.

       496.    GE also significantly revamped the presentation of Note 11 to its financial

statements. Specifically, GE dramatically enhanced the quality of its disclosures regarding the

Company’s “Investment contracts, insurance liabilities and insurance annuity benefits.” Among

other things, GE stopped referring to its Benefit Reserves as “Life insurance benefits,” separately

identified GE’s Claims Reserves, and expressly disclosed the size of GE’s LTC Benefit Reserves

and Claims Reserves:




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       497.   GE’s 2017 10-K also provided, for the first time, data on its LTC claims-related

activity. This new data is summarized in the following table, and belies any assertion by GE that

adverse LTC experience developed in 2017:

                          Year         Claims Incurred      Claims Paid
                          2015              $1.8B              $1.7B
                          2016              $2.0B              $1.7B
                          2017              $2.0B              $1.7B

       498.   Separately, with respect to GE’s Contract Assets, the 2017 10-K stated:

       In certain circumstances, GE provides customers primarily within our Power,
       Renewable Energy and Aviation businesses with extended payment terms for the
       purchase of new equipment, purchases of significant upgrades and for fixed billings
       within our long-term service contracts. Similar to current receivables, GE may sell
       these long-term receivables to GE Capital to manage short-term liquidity and fund
       growth. These transactions are made on arm’s length terms and any fair value
       adjustments, primarily related to time value of money, are recognized within the


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       Industrial business in the period these receivables are sold to GE Capital. GE
       Capital accretes interest and factoring fee income over the life of the receivables.
       Factoring fee income is eliminated in our consolidated results. In addition, the
       long-term portion of any remaining outstanding receivables as of the end of the
       period are reflected in All other assets within our consolidated statement of
       financial position. GE Capital had approximately $ 2.1 billion, $ 1.9 billion and $
       0.1 billion of financing receivables related to GE long-term customer receivables
       outstanding, net of deferred income of approximately $ 0.3 billion, $ 0.3 billion and
       an insignificant amount recorded in its balance sheet as of December 31, 2017,
       2016, and 2015, respectively. The effect of cash generated from the sale of these
       long-term receivables with GE Capital increased GE’s CFOA by $0.3 billion, $1.6
       billion and $ 0.1 billion in 2017, 2016 and 2015, respectively.

       499.    On February 25, 2018, an analyst from RBC noted that the Company’s 2017 10-K

included, “[m]ore transparency on Contract Asset balances. Likely as a result of the criticism over

the lack of transparency in its contract asset reporting (including an ongoing investigation by the

SEC), for the first time, GE has now broken out its disclosures by individual segment on Page 149,

vs. its prior practice of only providing it on a total company basis.” (emphasis in original).

       500.    On February 26, 2018, J.P. Morgan issued an analyst report entitled, Takeaways

from the 10-K, which analyzed GE’s 2017 10-K. The report states, in part:

       The evidence here now points to the systemic use of GE Capital as the grease for
       the machine. Receivables factoring, among other instruments, is a key building
       block, which management added helps to “manage short term liquidity,” not just
       credit exposure as in the past. Here, while current receivables factoring is being
       wound down, the enhanced disclosure around “long term receivables” factoring
       was most interesting, in which management fully acknowledges they extend terms
       across their businesses to compete. . . . We continue to see that receivables activity
       inflated cash in 2016 even more than we had previously expected, for which 2017
       is beginning to come down, but is far from “normal” (factoring activities increased
       cash by >$10B since 2011).

                                          *      *       *

       The bottom line is that the incremental details paint the picture of the structural box
       of high leverage, weak FCF [free cash flow] and increasingly limited pockets to
       pull from to change that narrative, a mosaic that we think is not reflected at the
       current stock price, highlighting the negative skew on risks, with greater visibility
       on the factors that bring the SOTP to our downside scenario of ~$10-12.




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       501.    Finally, on March 25, 2018, The Wall Street Journal published an article titled The

Long Shadow of GE Capital Looms Over GE, in which Neuberger Berman Group LLC analyst

Martin Sankey recognized the inadequacy of GE’s disclosures regarding GE Capital’s run-off

businesses. Sankey stated, “[i]t is not fully known what residual risks GE retained when it

dismantled GE Capital.”

X.     PLAINTIFFS ARE ENTITLED TO A PRESUMPTION OF RELIANCE

       502.    At all relevant times, the market for GE common stock was open and efficient for

the following reasons, among others: (i) GE common stock met the requirements for listing, and

was listed and actively traded on the NYSE under the ticker symbol “GE”; (ii) as a registered and

regulated issuer of securities, GE filed periodic public reports with the SEC, in addition to the

Company’s frequent voluntary dissemination of information; (iii) GE regularly communicated

with investors via established market communication mechanisms, including through regular

disseminations of press releases on the national circuits of major newswire services and through

other wide-ranging public disclosures, such as communications with the financial press, securities

analysts, and other similar reporting services; (iv) GE was followed by numerous securities

analysts employed by major brokerage firms, including J.P. Morgan, Deutsche Bank, RBC, Credit

Suisse, Barclays, Morgan Stanley, and UBS, who wrote reports that were distributed to the sales

force and customers of their respective brokerage firms; (v) the material misrepresentations and

omissions alleged herein would tend to induce a reasonable investor to misjudge the value of GE’s

common stock; and (vi) without knowledge of the misrepresented or omitted facts, Plaintiffs and

members of the Class purchased or otherwise acquired GE common stock between the time GE

made the material misrepresentations and omissions and the time the truth was revealed, during

which period the price of GE’s common stock was artificially inflated by Defendants’ material

misrepresentations and omissions.


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       503.    As a result of the foregoing, the market for GE common stock promptly digested

current information regarding GE from all publicly available sources and the price of GE’s stock

reflected such information.    Based upon the materially false or misleading statements and

omissions of material fact alleged herein, GE common stock traded at prices in excess of the true

value of GE common stock during the Class Period. Plaintiffs and other members of the Class

purchased or otherwise acquired GE common stock relying upon the integrity of the market price

of GE common stock and other market information relating to GE.

       504.    Under these circumstances, Plaintiffs and other members of the Class, as purchasers

or acquirers of GE common stock at artificially-inflated prices during the Class Period, suffered

similar injuries, and a presumption of reliance under the fraud-on-the-market doctrine applies.

       505.    Further, at all relevant times, Plaintiffs and other members of the Class relied on

Defendants to disclose material information as required by law. Plaintiffs and other members of

the Class would not have purchased or otherwise acquired GE common stock at artificially inflated

prices if Defendants disclosed all material information as required by law. Thus, to the extent that

Defendants concealed or improperly failed to disclose material facts concerning the Company and

its business, Plaintiffs and other members of the Class are entitled to a presumption of reliance in

accordance with Affiliated Ute Citizens v. United States, 406 U.S. 128, 153 (1972).

XI.    THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTRINE
       ARE INAPPLICABLE

       506.    The Private Securities Litigation Reform Act’s statutory safe harbor and the

“bespeaks caution doctrine” applicable to forward-looking statements under certain circumstances

do not apply to any of the materially false or misleading statements alleged herein.




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        507.   None of the statements complained of herein were forward-looking statements.

Rather, each was a historical statement or statement of purportedly current facts and conditions at

the time each statement was made.

        508.   To the extent that any materially false or misleading statement alleged herein, or

any portion thereof, can be construed as forward-looking, such statement was not accompanied by

meaningful cautionary language identifying important facts that could cause actual results to differ

materially from those in the statement or portion thereof. As set forth above, given the then-

existing facts contradicting Defendants’ statements, any generalized risk disclosures made by

Defendants do not insulate Defendants from liability for their materially false or misleading

statements or omissions.

        509.   To the extent that the statutory safe harbor applies to any materially false or

misleading statement alleged herein, or any portion thereof, Defendants are liable for any such

materially false or misleading forward-looking statement because at the time such statement was

made the speaker knew the statement was materially false or misleading, or the statement was

authorized and approved by an executive officer of GE who knew that the forward-looking

statement was materially false or misleading.

XII.    CLASS ACTION ALLEGATIONS

        510.   Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) individually and on behalf of a Class consisting of all persons and

entities that purchased or otherwise acquired the publicly traded common stock of GE between

February 27, 2013 and January 23, 2018.

        511.   Excluded from the Class are: (i) Defendants; (ii) present or former executive

officers of GE, members of GE’s Board of Directors, and members of their immediate families (as

defined in 17 C.F.R. § 229.404, Instructions (1)(a)(iii) and (1)(b)(ii)); (iii) any of the foregoing


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persons’ legal representatives, heirs, successors, or assigns; and (iv) any entity in which

Defendants have or had a controlling interest or any affiliate of GE.

       512.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, GE’s securities were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiffs at this time and can only be

ascertained through appropriate discovery from Defendants, Plaintiffs believe that there are at least

hundreds, if not thousands, of members in the proposed Class. Class members may be identified

from records maintained by GE or its transfer agent, and may be notified of the pendency of this

action by mail using a form of notice customarily used in securities class actions.

       513.    Plaintiffs’ claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of the

federal securities laws that is complained of herein.

       514.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

and have retained counsel competent and experienced in class and securities litigation.

       515.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual Class members. Among the questions

of law and fact common to the Class are: (i) whether Defendants’ acts and omissions as alleged

herein violated the federal securities laws; (ii) whether Defendants’ statements to the investing

public during the Class Period misrepresented or omitted material facts about GE’s business,

operations, and management; (iii) to what extent Class members have sustained damages; and (iv)

the proper measure of damages.

       516.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all Class members is impracticable. Furthermore,




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as the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to redress individually

the wrongs done to them. There will be no difficulty in the management of this action as a class

action.

XIII. CAUSES OF ACTION

                                            COUNT I
                 Violation Of Section 10(b) Of The Exchange Act And Rule 10b-5
                         Promulgated Thereunder Against All Defendants

          517.   Plaintiffs incorporate by reference and reallege all preceding paragraphs as if fully

set forth herein. This claim is brought against Defendants pursuant to Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R.

§ 240.10b-5.

          518.   During the Class Period, Defendants used the means and instrumentalities of

interstate commerce, the U.S. mails, and the facilities of the national securities exchanges to make

materially false or misleading statements and omissions of material fact alleged herein to: (i)

deceive the investing public, including Plaintiffs; (ii) cause the market price of GE common stock

to trade above its true value; and (iii) cause Plaintiffs and other members of the Class to purchase

or otherwise acquire GE common stock at artificially inflated prices that did not reflect the stock’s

true value during the Class Period. In furtherance of their unlawful scheme, plan, or course of

conduct, Defendants took the actions alleged herein.

          519.   While in possession of material adverse, non-public information, Defendants,

individually and in concert, directly or indirectly, by the use of means and instrumentalities of

interstate commerce, the U.S. mails, and the facilities of a national securities exchange: (i)

employed devices, schemes, and artifices to defraud; (ii) made false or misleading statements of

material fact and/or failed to disclose material facts necessary in order to make the statements


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made, in light of the circumstances under which they were made, not misleading; and (iii) engaged

in acts, practices, and a course of business that operated as a fraud or deceit upon the purchasers

of the Company’s common stock in an effort to maintain artificially high market prices for GE

common stock, in violation of Section 10(b) and Rule 10b-5. Defendants are alleged as primary

participants in the wrongful conduct alleged herein.

       520.    Defendants acted with knowledge or a reckless disregard for the truth of the

materially misrepresented and omitted facts alleged herein, in that they failed to disclose such

facts, even though such facts were readily available to them, if not known. Defendants’ material

misrepresentations and omissions were made knowingly and/or recklessly for the purpose and

effect of concealing the truth regarding GE’s operations, business, performance, and prospects

from the investing public and supporting the artificially inflated price of its common stock.

       521.    As set forth above, the dissemination of the materially false or misleading

information and failure to disclose material facts artificially inflated or maintained artificial

inflation already in the market price of GE common stock during the Class Period. Relying directly

or indirectly upon the materially false or misleading statements made by Defendants and on the

efficiency and integrity of the market in which the Company’s common stock trades, and upon the

absence of material adverse information that was known to or recklessly disregarded by

Defendants but not disclosed by Defendants, Plaintiffs and other members of the Class purchased

or otherwise acquired GE common stock during the Class Period at artificially inflated prices. As

the previously misrepresented and/or concealed material facts eventually emerged, the price of GE

common stock substantially declined, causing losses to Plaintiffs and other members of the Class.

These declines and the preceding disclosures are set forth above in Section VIII.




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       522.    At the time of the material misrepresentations and omissions alleged herein,

Plaintiffs and other members of the Class were not aware of their falsity and believed them to be

true. Had Plaintiffs and other members of the Class known the relevant truth regarding GE’s

financial results, operations, business, and prospects, which was misrepresented and/or concealed

by Defendants, Plaintiffs and other members of the Class would not have purchased or otherwise

acquired GE common stock at artificially-inflated prices.

       523.    By virtue of the foregoing, Defendants have violated Section 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder. As a direct and proximate result of Defendants’

wrongful conduct, Plaintiffs and other members of the Class suffered damages in connection with

their transactions in the Company’s common stock during the Class Period.

                                          COUNT II
                       Violation Of Section 20(a) Of The Exchange Act
                              Against The Individual Defendants

       524.    Plaintiffs incorporate by reference and reallege all preceding paragraphs as if fully

set forth herein. This claim is brought against the Individual Defendants pursuant to Section 20(a)

of the Exchange Act, 15 U.S.C. § 78t(a).

       525.    Prior to and during the Class Period, the Individual Defendants, by virtue of their

high-level positions, were privy to, and monitored, confidential and proprietary information

concerning GE, its business, operations, performance, and future prospects, including its

compliance with applicable federal, state, and local laws and regulations.

       526.    In their respective roles, the Individual Defendants had regular access to non-public

information about GE’s business, operations, performance, and future prospects through access to

internal corporate documents and information, conversations, and connections with other of GE’s

corporate officers and employees, attendance at management meetings and meetings of the




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Company’s Board of Directors and committees thereof, as well as reports and other information

provided to them in connection therewith.

       527.    Each of the Individual Defendants was a controlling person of GE within the

meaning of Section 20(a), as alleged herein. By virtue of their high-level positions, and their

participation in or awareness of the Company’s day-to-day operations and finances, and/or

knowledge of the statements filed by the Company with the SEC and disseminated to the investing

public, the Individual Defendants each had the power and authority to influence and control, and

did influence and control, directly or indirectly, the day-to-day decision-making of the Company,

including the content and dissemination of the statements Plaintiffs allege were materially false or

misleading.

       528.    Each of the Individual Defendants is liable as a primary participant in a wrongful

scheme and course of business that operated as a fraud and deceit on purchasers of GE common

stock during the Class Period, which included the dissemination of materially false or misleading

financial statements and statements (both affirmative statements and statements rendered

misleading because of material omissions) set forth above in Section VII. The scheme: (i) deceived

the investing public regarding GE’s operations and the true value of GE’s common stock; and (ii)

caused Plaintiffs and other members of the Class to purchase GE common stock at artificially

inflated prices, which plummeted in value as the truth concerning the magnitude of GE’s LTC

exposure and the manipulation of costs and profitability of GE’s LTSAs was revealed.

       529.    The Individual Defendants were provided with, or had unlimited access to, copies

of the Company’s reports, press releases, public filings, and other statements Plaintiffs allege were

materially misleading prior to and/or shortly after these statements were issued and had the ability

and ultimate authority to prevent the issuance of these statements or cause these statements to be




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corrected. In particular, the Individual Defendants maintained direct and supervisory involvement

in the day-to-day operations of the Company and therefore had, or are presumed to have had, the

power to control or influence the particular public statements or omissions giving rise to the

securities violations as alleged herein, and exercised the same.

          530.   As set forth above, Defendants violated Section 10(b) and Rule 10b-5, by their acts

and omissions as alleged herein. By virtue of the Individual Defendants’ status as controlling

persons and their respective participation in the underlying violations of Section 10(b) and Rule

10b-5, the Individual Defendants are liable pursuant to Section 20(a). As a direct and proximate

result of the Individual Defendants’ culpable conduct, Plaintiffs and other members of the Class

suffered damages in connection with their transactions in GE’s common stock during the Class

Period.

XIV. PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for relief and judgment, including:

          1.     Awarding compensatory damages against all Defendants, jointly and severally,
                 for all damages sustained as a result of Defendants’ wrongdoing, in an amount to
                 be proven at trial, including interest thereon, as allowed by law;

          2.     Awarding extraordinary, equitable, and/or injunctive relief as permitted by law
                 (including, but not limited to, rescission);

          3.     Awarding Plaintiffs their costs and expenses incurred in this Action, including
                 reasonable counsel fees and expert fees; and

          4.     Awarding such other and further relief as may be just and proper.

XV.       JURY TRIAL DEMANDED

          Plaintiffs hereby demand a trial by jury.




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DATED: October 17, 2018             Respectfully submitted,

                                    KESSLER TOPAZ
                                    MELTZER & CHECK, LLP

                                    /s/ Sharan Nirmul
                                    David Kessler
                                    Gregory M. Castaldo
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                                Counsel for Additional Plaintiff Cleveland Bakers
                                and Teamsters Pension Fund and Local Counsel for
                                the Class




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                                  APPENDIX A

                      DEEFENDANT GE’S SEC FILINGS

                                   SEC Filings
       Term                         Definition                     Signed by:
2012 10-K          Form 10-K for the year-ended December        Keith S. Sherin
                   31, 2012 (filed 02/26/2013)                  Jamie S. Miller
                                                               Jeffrey R. Immelt
2013 10-K          Form 10-K for the year-ended December      Jeffrey S. Bornstein
                   31, 2013 (filed 02/27/2014)                   Jan. R. Hauser
                                                               Jeffrey R. Immelt
2014 10-K          Form 10-K for the year-ended December      Jeffrey S. Bornstein
                   31, 2014 (filed 02/27/2015)                   Jan. R. Hauser
                                                               Jeffrey R. Immelt
2015 10-K          Form 10-K for the year-ended December      Jeffrey S. Bornstein
                   31, 2015 (filed 02/26/2016)                   Jan. R. Hauser
                                                               Jeffrey R. Immelt
2016 10-K          Form 10-K for the year-ended December      Jeffrey S. Bornstein
                   31, 2016 (filed 02/24/2017)                   Jan. R. Hauser
                                                               Jeffrey R. Immelt
2017 10-K          Form 10-K for the year-ended December        Jamie S. Miller
                   31, 2017 (filed 02/23/2018)                   Jan R. Hauser
                                                               John L. Flannery
1Q13 10-Q          Form 10-Q for the Period Ending March
                   31, 2013 (filed 05/08/2013)                  Keith S. Sherin
2Q13 10-Q          Form 10-Q for the Period Ending June 30,
                   2013 (filed 07/26/2013)                      Jan R. Hauser
3Q13 10-Q          Form 10-Q for the Period Ending
                   September 30, 2013 (filed 11/01/2013)        Jan R. Hauser
1Q14 10-Q          Form 10-Q for the Period Ending March
                                                                Jan R. Hauser
                   31, 2014 (filed 05/12/2014)
2Q14 10-Q          Form 10-Q for the Period Ending June 30,
                                                                Jan R. Hauser
                   2014 (filed 07/31/2014)
3Q14 10-Q          Form 10-Q for the Period Ending
                                                                Jan R. Hauser
                   September 30, 2014 (filed 11/04/2014)
1Q15 10-Q          Form 10-Q for the Period Ending March
                                                                Jan R. Hauser
                   31, 2015 (filed 05/04/2015)
1Q15 10-QA         Form 10-Q/A for the Period Ending March
                                                                Jan R. Hauser
                   31, 2015 (filed 05/15/2015)
2Q15 10-Q          Form 10-Q for the Period Ending June 30,
                                                                Jan R. Hauser
                   2015 (filed 07/30/2015)
3Q15 10-Q          Form 10-Q for the Period Ending
                                                                Jan R. Hauser
                   September 30, 2015 (filed 11/02/2015)



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                                   SEC Filings
      Term                          Definition                     Signed by:
1Q16 10-Q          Form 10-Q for the Period Ending March
                                                                 Jan R. Hauser
                   31, 2016 (filed 05/04/2016)
2Q16 10-Q          Form 10-Q for the Period Ending June 30,
                                                                 Jan R. Hauser
                   2016 (filed 08/01/2016)
3Q16 10-Q          Form 10-Q for the Period Ending
                                                                 Jan R. Hauser
                   September 30, 2016 (filed 11/02/2016)
3Q16 10-QA         Form 10-Q/A for the Period Ending
                                                                 Jan R. Hauser
                   September 30, 2016 (filed 11/09/2016)
1Q17 10-Q          Form 10-Q for the Period Ending March         Jan R. Hauser
                   31, 2017 (filed 05/05/2017)
2Q17 10-Q          Form 10-Q for the Period Ending June 30,      Jan R. Hauser
                   2017 (filed 07/28/2017)
3Q17 10-Q          Form 10-Q for the Period Ending               Jan R. Hauser
                   September 30, 2017 (filed 10/30/2017)
4/19/13 8-K        Form 8-K for the Period Ending 4/19/13     Brackett B. Denniston
                   (filed 4/19/13)                                     III
7/19/13 8-K        Form 8-K for the Period Ending 7/19/13         Jan R. Hauser
                   (filed 7/19/13)
10/18/13 8-K       Form 8-K for the Period Ending 10/18/13       Jan R. Hauser
                   (filed 10/18/13)
1/17/14 8-K        Form 8-K for the Period Ending 1/17/14        Jan R. Hauser
                   (filed 1/17/14)
4/17/14 8-K        Form 8-K for the Period Ending 4/17/14        Jan R. Hauser
                   (filed 4/17/14)
7/18/14 8-K        Form 8-K for the Period Ending 7/8/14         Jan R. Hauser
                   (filed 7/18/14)
10/17/14 8-K       Form 8-K for the Period Ending 10/17/14       Jan R. Hauser
                   (filed 10/17/14)
1/23/15 8-K        Form 8-K for the Period Ending 1/23/15        Jan R. Hauser
                   (filed 1/23/15)
5/8/15 8-K         Form 8-K for the Period Ending 3/31/15        Jan R. Hauser
                   (filed 5/8/15)
8/7/15 8-K         Form 8-K for the Period Ending 6/30/15        Jan R. Hauser
                   (filed 8/7/15)
10/16/15 8-K       Form 8-K for the Period Ending 10/16/15       Jan R. Hauser
                   (filed 10/16/15)
1/22/16 8-K        Form 8-K for the Period Ending 12/31/15       Jan R. Hauser
                   (filed 1/22/16)
4/22/16 8-K        Form 8-K for the Period Ending 3/31/16        Jan R. Hauser
                   (filed 4/22/16)
7/22/16 8-K        Form 8-K for the Period Ending 6/30/16        Jan R. Hauser
                   (filed 7/22/16)



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       Term                         Definition                Signed by:
10/21/16 8-K       Form 8-K for the Period Ending 10/21/16   Jan R. Hauser
                   (filed 10/21/16)
1/20/17 8-K        Form 8-K for the Period Ending 1/20/17    Jan R. Hauser
                   (filed 1/20/17)
4/21/17 8-K        Form 8-K for the Period Ending 4/20/17    Jan R. Hauser
                   (filed 4/21/17)
1/24/18 8-K        Form 8-K for the Period Ending 1/24/18    Jan R. Hauser
                   (filed 1/24/18)
4/13/18 8-K        Form 8-K for the Period Ending 4/13/18    Jan R. Hauser
                   (filed 4/13/18)




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